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             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT


                         APPEAL NO. 18-11183-JJ

                        UNITED STATES OF AMERICA
                            Plaintiff-Appellee,
                                     v.
                          ANDREW RYAN LESLIE
                           Defendant-Appellant.

             APPEAL FROM THE UNITED STATES DISTRICT
            COURT FOR THE MIDDLE DISTRICT OF FLORIDA

                                 APPENDIX

                                   Donna Lee Elm
                                   Federal Defender

                                   Adeel Bashir
                                   Assistant Federal Public Defender
                                   Appellate Division
                                   D.C. Bar Number 1000201
                                   400 N. Tampa Street, Suite 2700
                                   Tampa, FL 33602
                                   Telephone: 813-228-2715
                                   Facsimile: 813-228-2562
                                   E-mail: adeel_bashir@fd.org
                                   Counsel for Appellant
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                                      U.S. District Court
                            Middle District of Florida (Jacksonville)
                    CRIMINAL DOCKET FOR CASE #: 3:16-cr-00154-BJD-JBT-1


Case title: USA v. Leslie                                                   Date Filed: 10/27/2016
Magistrate judge case number: 3:16-mj-01265-MCR                             Date Terminated: 03/07/2018


Assigned to: Judge Brian J. Davis
Referred to: Magistrate Judge Joel B. Toomey
Appeals court case number: 18-11183-J

Defendant (1)
Andrew Ryan Leslie                                         represented by Adeel Bashir
CUSTODY                                                                   Federal Public Defender's Office
TERMINATED: 03/07/2018                                                    Suite 2700
                                                                          400 N Tampa St
                                                                          Tampa, FL 33602-4726
                                                                          813/228-2715
                                                                          Fax: 813/228-2562
                                                                          Email: adeel_bashir@fd.org
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Public Defender or Community
                                                                          Defender Appointment

                                                                            Mark Rosenblum
                                                                            Federal Public Defender's Office
                                                                            Suite 1240
                                                                            200 W Forsyth St
                                                                            Jacksonville, FL 32202
                                                                            904/232-3039
                                                                            Fax: 904/232-1937
                                                                            Email: Mark_Rosenblum@fd.org
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: Public Defender or Community
                                                                            Defender Appointment

Pending Counts                                                              Disposition
18:2251.F SEXUAL EXPLOITATION OF                                            Imprisonment: 720 months, this term consists
CHILDREN                                                                    of 360 months on each of Counts One and
(1)                                                                         Two of the Indictment, all such terms to run
                                                                            consecutively.; Supervised Release: Life-
                                                                            Term, this term consists of Life-Terms as to
                                                                            Counts One and Two of the Indictment, all
                                                                            such terms to run concurrently.; Special
                                                                            Assessment: $100.00, Restitution: the victims'

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                                                                          losses are undetermined and the Court shall set
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                                                                          a date for the final determination of the
                                                                          victims' losses within 90 days of the date of
                                                                          the sentencing.
                                                                            Imprisonment: 720 months, this term consists
                                                                            of 360 months on each of Counts One and
                                                                            Two of the Indictment, all such terms to run
                                                                            consecutively.; Supervised Release: Life-
                                                                            Term, this term consists of Life-Terms as to
18:2251.F SEXUAL EXPLOITATION OF
                                                                            Counts One and Two of the Indictment, all
CHILDREN
                                                                            such terms to run concurrently.; Special
(2)
                                                                            Assessment: $100.00, Restitution: the victims'
                                                                            losses are undetermined and the Court shall set
                                                                            a date for the final determination of the
                                                                            victims' losses within 90 days of the date of
                                                                            the sentencing.

Highest Offense Level (Opening)
Felony

Terminated Counts                                                           Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                                  Disposition
18:2252A.F ACTIVITIES RE MATERIAL
CONSTITUTING/CONTAINING CHILD
PORNO



Plaintiff
USA                                                        represented by David Rodney Brown
                                                                          US Attorney's Office - FLM
                                                                          Suite 700
                                                                          300 N Hogan St
                                                                          Jacksonville, FL 32202
                                                                          904/301-6300
                                                                          Email: rodney.brown@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Retained

                                                                            Lauren Elizabeth Britsch
                                                                            US Department of Justice
                                                                            1400 New York Ave NW
                                                                            Washington, DC 20530
                                                                            202/514-2220

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Electronic Case Filing | U.S. District Court - Middle District of Florida                                   Page 3 of 8
                                                                          Email: lauren.britsch@usdoj.gov
              USCA11 Case: 18-11183          Document: 17        Date Filed: 06/08/2018 Page: 6 of 205
                                                                          ATTORNEY TO BE NOTICED


 Date Filed        #   Docket Text
 10/18/2016        1 COMPLAINT (FILED IN OPEN COURT) as to Andrew Ryan Leslie (1). (SHS) [3:16-mj-
                     01265-MCR] (Entered: 10/19/2016)
 10/18/2016            Arrest of Andrew Ryan Leslie on 10/18/2016 (SHS) [3:16-mj-01265-MCR] (Entered:
                       10/19/2016)
 10/18/2016        2 Minute Entry for proceedings held before Magistrate Judge Monte C. Richardson: Initial
                     Appearance as to Andrew Ryan Leslie held on 10/18/2016. (Digital) (SHS) [3:16-mj-01265-
                     MCR] (Entered: 10/19/2016)
 10/18/2016        3 ORAL MOTION to Appoint Counsel by Andrew Ryan Leslie. (SHS) [3:16-mj-01265-MCR]
                     (Entered: 10/19/2016)
 10/18/2016        4 ***CJA 23 Financial Affidavit (FILED IN OPEN COURT) by Andrew Ryan Leslie (SHS)
                     [3:16-mj-01265-MCR] (Entered: 10/19/2016)
 10/18/2016        5 ORAL MOTION for detention, ORAL MOTION to Continue Detention Hearing by USA as to
                     Andrew Ryan Leslie. (SHS) [3:16-mj-01265-MCR] (Entered: 10/19/2016)
 10/18/2016        8 Assertion of Fifth and Sixth Amendment Right (FILED IN OPEN COURT) by Andrew Ryan
                     Leslie (SHS) [3:16-mj-01265-MCR] (Entered: 10/19/2016)
 10/19/2016        6 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Andrew Ryan Leslie
                     Mark Rosenblum for Andrew Ryan Leslie appointed. Signed by Magistrate Judge Monte
                     C. Richardson on 10/18/2016. (SHS) [3:16-mj-01265-MCR] (Entered: 10/19/2016)
 10/19/2016        7 ORDER OF TEMPORARY DETENTION as to Andrew Ryan Leslie( Detention Hearing
                     set for 10/21/2016 at 11:00 AM in Jacksonville Courtroom 5 C before Magistrate Judge
                     Monte C. Richardson.) Signed by Magistrate Judge Monte C. Richardson on 10/18/2016.
                     (SHS) [3:16-mj-01265-MCR] (Entered: 10/19/2016)
 10/20/2016        9 NOTICE OF ATTORNEY APPEARANCE Lauren Elizabeth Britsch appearing for USA.
                     (Britsch, Lauren) [3:16-mj-01265-MCR] (Entered: 10/20/2016)
 10/21/2016       10 Minute Entry for proceedings held before Magistrate Judge Monte C. Richardson: Detention
                     Hearing as to Andrew Ryan Leslie held on 10/21/2016. (Digital) (SHS) [3:16-mj-01265-MCR]
                     (Entered: 10/21/2016)
 10/21/2016       11 NOTICE OF HEARING as to Andrew Ryan Leslie: Preliminary Hearing set for 10/31/2016 at
                     02:30 PM in Jacksonville Courtroom 5 C before Magistrate Judge Monte C. Richardson. (SHS)
                     [3:16-mj-01265-MCR] (Entered: 10/21/2016)
 10/27/2016       12 NOTICE canceling Preliminary Hearing hearing scheduled for 10/31/2016 as to Andrew Ryan
                     Leslie (SHS) [3:16-mj-01265-MCR] (Entered: 10/27/2016)
 10/27/2016       13 INDICTMENT returned in open court as to Andrew Ryan Leslie (1) count(s) 1. (RH) (Entered:
                     10/27/2016)
 10/27/2016            Counts added: Andrew Ryan Leslie (1) count(s) 2. (NAS) (Entered: 10/28/2016)
 10/28/2016       14 NOTICE OF HEARING as to Andrew Ryan Leslie: Arraignment set for 11/1/2016 at 03:00 PM
                     in Jacksonville Courtroom 5 A before Magistrate Judge Joel B. Toomey. (TSP) (Entered:
                     10/28/2016)
 10/31/2016       15

https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?665975492187169-L_1_0-1                                       6/7/2018
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                   NOTICE OF ATTORNEY APPEARANCE Lauren Elizabeth Britsch appearing for USA.
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                   (Britsch, Lauren) Modified on 10/31/2016 contacted counsel in regards to using the correct case
                   number on all pleadings (TSW). (Entered: 10/31/2016)
 11/01/2016       16 Minute Entry for proceedings held before Magistrate Judge Joel B. Toomey: ARRAIGNMENT
                     as to Andrew Ryan Leslie (1) Count 1, 2 held on 11/1/2016 Defendant(s) pled not guilty.
                     (Digital) (TSP) (Entered: 11/01/2016)
 11/01/2016       17 NOTICE of acceptance of general discovery by Andrew Ryan Leslie (Filed in Open Court)
                     (TSP) (Entered: 11/01/2016)
 11/01/2016       18 SCHEDULING ORDER as to Andrew Ryan Leslie: Status Conference set for 11/14/2016
                     at 03:30 PM in Jacksonville Courtroom 12 C before Judge Brian J. Davis, Jury Trial set
                     for trial term commencing on 12/5/2016 at 09:00 AM in Jacksonville Courtroom 12 C
                     before Judge Brian J. Davis., Discovery motions due by 11/21/2016, Dispositive motions
                     due by 11/21/2016. Signed by Deputy Clerk on 11/1/2016. (TSP) (Entered: 11/01/2016)
 11/14/2016       19 ORAL MOTION to continue trial by Andrew Ryan Leslie. (CKS) (Entered: 11/15/2016)
 11/14/2016       20 Minute Entry for proceedings held before Judge Brian J. Davis: STATUS Conference as to
                     Andrew Ryan Leslie held on 11/14/2016; granting 19 Oral Motion to continue trial as to Andrew
                     Ryan Leslie (1). Status Conference set for 1/23/2017 at 03:30 PM in Jacksonville Courtroom 12
                     C before Judge Brian J. Davis. Jury Trial set for trial term commencing on 2/6/2017 at 09:00
                     AM in Jacksonville Courtroom 12 C before Judge Brian J. Davis. Court Reporter: Kathy
                     Healey/Cornerstone (CKS) (Entered: 11/15/2016)
 11/16/2016       24 Unopposed MOTION to extend time to Motion Filing Date by Andrew Ryan Leslie.
                     (Rosenblum, Mark) (Entered: 11/16/2016)
 11/16/2016            Sealed Document- S-21, S-22, S-23. (DLC) (Entered: 11/16/2016)
 11/16/2016       25 ORDER OF DETENTION PENDING TRIAL as to Andrew Ryan Leslie Signed by
                     Magistrate Judge Monte C. Richardson on 11/16/2016. (SHS) (Entered: 11/16/2016)
 11/16/2016       26 ORDER granting 24 Unopposed Motion to Extend Motion Filing Date as to Andrew Ryan
                     Leslie. Defendant shall have up to and including December 22, 2016, to file discovery
                     motions, dispositive motions and motions to suppress (1). Signed by Magistrate Judge Joel
                     B. Toomey on 11/16/2016. (TSP) (Entered: 11/16/2016)
 11/17/2016            Set/Reset Deadlines as to Andrew Ryan Leslie: Discovery due by 12/22/2016 (DLC) (Entered:
                       11/17/2016)
 01/23/2017       27 ORAL MOTION to continue trial by Andrew Ryan Leslie. (CKS) (Entered: 01/26/2017)
 01/23/2017       28 Minute Entry for proceedings held before Judge Brian J. Davis: STATUS Conference as to
                     Andrew Ryan Leslie held on 1/23/2017; granting 27 Oral Motion to continue trial as to Andrew
                     Ryan Leslie (1). Status Conference set for 4/17/2017 at 3:30 PM in Jacksonville Courtroom 12 C
                     before Judge Brian J. Davis. Jury Trial set for trial term commencing on 5/1/2017 at 9:00 AM in
                     Jacksonville Courtroom 12 C before Judge Brian J. Davis. Court Reporter: Shelli Kozachenko
                     (CKS) (Entered: 01/26/2017)
 04/17/2017       29 ORAL MOTION to continue trial by Andrew Ryan Leslie. (CKS) (Entered: 04/24/2017)
 04/17/2017       30 Minute Entry for proceedings held before Judge Brian J. Davis: STATUS Conference as to
                     Andrew Ryan Leslie held on 4/17/2017; granting 29 Oral Motion to continue trial as to Andrew
                     Ryan Leslie (1). Status Conference set for 7/24/2017 at 3:30 PM in Jacksonville Courtroom 12 C
                     before Judge Brian J. Davis. Jury Trial set for trial term commencing on 8/7/2017 at 9:00 AM in
                     Jacksonville Courtroom 12 C before Judge Brian J. Davis. Court Reporter: Shelli Kozachenko
                     (CKS) (Entered: 04/24/2017)


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 05/22/2017   31 NOTICE OF RESCHEDULING HEARING: The Status Conference previously scheduled for
           USCA11 Case: 18-11183 Document: 17 Date Filed: 06/08/2018 Page: 8 of 205
                 7/24/2017 is rescheduled as to Andrew Ryan Leslie. New hearing date and time: Status
                 Conference set for 7/17/2017 at 3:30 PM in Jacksonville Courtroom 12 C before Judge Brian J.
                 Davis (CKS) (Entered: 05/22/2017)
 07/17/2017       32 JOINT ORAL MOTION to continue trial. (CKS) (Entered: 07/18/2017)
 07/17/2017       33 Minute Entry for proceedings held before Judge Brian J. Davis: STATUS Conference as to
                     Andrew Ryan Leslie held on 7/17/2017; granting 32 Joint Oral Motion to continue trial as to
                     Andrew Ryan Leslie (1). Status Conference set for 9/18/2017 at 3:30 PM in Jacksonville
                     Courtroom 12 C before Judge Brian J. Davis. Jury Trial set for trial term commencing on
                     10/2/2017 at 9:00 AM in Jacksonville Courtroom 12 C before Judge Brian J. Davis. Court
                     Reporter: Shelli Kozachenko (CKS) (Entered: 07/18/2017)
 09/18/2017       34 ORAL MOTION to continue trial by Andrew Ryan Leslie. (CKS) (Entered: 09/19/2017)
 09/18/2017       35 Minute Entry for proceedings held before Judge Brian J. Davis: STATUS Conference as to
                     Andrew Ryan Leslie held on 9/18/2017; granting 34 ORAL Motion to continue trial as to
                     Andrew Ryan Leslie (1). Status Conference set for 10/23/2017 at 3:30 PM in Jacksonville
                     Courtroom 12 C before Judge Brian J. Davis. Jury Trial set for trial term commencing on
                     11/6/2017 at 9:00 AM in Jacksonville Courtroom 12 C before Judge Brian J. Davis. Court
                     Reporter: Shelli Kozachenko (CKS) (Entered: 09/19/2017)
 10/02/2017       36 NOTICE OF HEARING as to Andrew Ryan Leslie: Change of Plea Hearing set for 10/6/2017 at
                     02:00 PM in Jacksonville Courtroom 5 A before Magistrate Judge Joel B. Toomey. (TSP)
                     (Entered: 10/02/2017)
 10/06/2017       37 Minute Entry for proceedings held before Magistrate Judge Joel B. Toomey: Change of Plea
                     Hearing as to Andrew Ryan Leslie held on 10/6/2017. (Digital) (TSP) (Entered: 10/06/2017)
 10/06/2017       38 CONSENT regarding entry of a plea of guilty as to Andrew Ryan Leslie (Filed in Open Court)
                     (TSP) (Entered: 10/06/2017)
 10/06/2017       39 PLEA AGREEMENT re: count(s) One and Two of the Indictment as to Andrew Ryan Leslie
                     (Filed in Open Court) (Original Plea Agreement returned to AUSA) (TSP) (Entered:
                     10/06/2017)
 10/06/2017       40 REPORT AND RECOMMENDATIONS concerning Plea of Guilty re: count(s) One and
                     Two of the Indictment as to Andrew Ryan Leslie. Signed by Magistrate Judge Joel B.
                     Toomey on 10/6/2017. (TSP) (Entered: 10/06/2017)
 10/31/2017       42 ACCEPTANCE OF PLEA of guilty and adjudication of guilt re: Count(s) One and Two of the
                     Indictment as to Andrew Ryan Leslie. Sentencing set for 1/30/2018 at 10:00AM in Jacksonville
                     Courtroom 12 C before Judge Brian J. Davis. Signed by Judge Brian J. Davis on 10/30/2017.
                     (CKS) (Entered: 10/31/2017)
 01/17/2018       44 Unopposed MOTION to Continue Sentencing by Andrew Ryan Leslie. (Rosenblum, Mark)
                     (Entered: 01/17/2018)
 01/22/2018       45 ORDER granting 44 Defendant's Unopposed Motion to Continue Sentencing as to Andrew
                     Ryan Leslie (1). The sentencing in this matter is continued to March 1, 2018 at 2:00 p.m.
                     before the undersigned in Courtroom 12C. Signed by Judge Brian J. Davis on 1/19/2018.
                     (CKS) (Entered: 01/22/2018)
 01/22/2018       46 NOTICE OF RESCHEDULING HEARING: The Sentencing hearing previously scheduled for
                     01/30/2018 is rescheduled as to Andrew Ryan Leslie. New hearing date and time: Sentencing set
                     for 3/1/2018 at 02:00PM in Jacksonville Courtroom 12 C before Judge Brian J. Davis. (CKS)
                     (Entered: 01/22/2018)
 02/22/2018       49

https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?665975492187169-L_1_0-1                                      6/7/2018
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                   SENTENCING MEMORANDUM by Andrew Ryan Leslie (Attachments: # 1 Exhibit, # 2
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                   Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit)(Rosenblum,
                   Mark) (Entered: 02/22/2018)
 03/01/2018       52 Minute Entry for proceedings held before Judge Brian J. Davis: SENTENCING held on
                     3/1/2018 for Andrew Ryan Leslie (1), Count(s) 1, 2, Imprisonment: 720 months, this term
                     consists of 360 months on each of Counts One and Two of the Indictment, all such terms to run
                     consecutively.; Supervised Release: Life-Term, this term consists of Life-Terms as to Counts
                     One and Two of the Indictment, all such terms to run concurrently.; Special Assessment:
                     $200.00, Restitution: the victims' losses are undetermined and the Court shall set a date for the
                     final determination of the victims' losses within 90 days of the date of the sentencing. Defendant
                     is remanded to the custody of the USM. Court Reporter: Shelli Kozachenko (CKS) (Entered:
                     03/07/2018)
 03/01/2018            Sealed Document S-55 (CKS) (Entered: 03/07/2018)
 03/05/2018       51 Unopposed MOTION for miscellaneous relief, specifically recommend prison designation by
                     Andrew Ryan Leslie. (Rosenblum, Mark) (Entered: 03/05/2018)
 03/07/2018       53 JUDGMENT as to Andrew Ryan Leslie (1), Count(s) 1, 2, Imprisonment: 720 months, this
                     term consists of 360 months on each of Counts One and Two of the Indictment, all such
                     terms to run consecutively.; Supervised Release: Life-Term, this term consists of Life-
                     Terms as to Counts One and Two of the Indictment, all such terms to run concurrently.;
                     Special Assessment: $200.00, Restitution: the victims' losses are undetermined and the
                     Court shall set a date for the final determination of the victims' losses within 90 days of the
                     date of the sentencing. Signed by Judge Brian J. Davis on 03/05/2018. (CKS) (Entered:
                     03/07/2018)
 03/08/2018       56 ORDER granting 51 Defendant's Unopposed Motion Asking the Court to Recommend
                     Designation to FCC Butner or FCC Coleman as to Andrew Ryan Leslie (1). Signed by
                     Judge Brian J. Davis on 3/8/2018. (CKS) (Entered: 03/08/2018)
 03/21/2018       57 NOTICE OF APPEAL by Andrew Ryan Leslie re 53 Judgment Filing fee not paid. (Rosenblum,
                     Mark) (Entered: 03/21/2018)
 03/22/2018       58 TRANSMITTAL of initial appeal package as to Andrew Ryan Leslie to USCA consisting of
                     copies of notice of appeal, docket sheet, order/judgment being appealed, and motion, if
                     applicable to USCA re 57 Notice of Appeal. Eleventh Circuit Transcript information form
                     available to counsel at www.flmd.uscourts.gov under Forms and Publications/General.
                     (Attachments: # 1 Docket Sheet, # 2 Notice of Appeal, # 3 USDC Criminal Judgment)(EAM)
                     (Entered: 03/22/2018)
 03/29/2018            ACKNOWLEDGMENT by USCA of receiving Notice of Appeal on 3/29/2018 re 57 Notice of
                       Appeal. USCA number: 18-11183-J. (EAM) (Entered: 03/30/2018)
 03/29/2018            USCA Case Number as to Andrew Ryan Leslie. USCA Number: 18-11183-J for 57 Notice of
                       Appeal filed by Andrew Ryan Leslie. (EAM) (Entered: 03/30/2018)
 04/02/2018       59 NOTICE OF ATTORNEY APPEARANCE: Adeel Bashir appearing for Andrew Ryan Leslie
                     for appellate purposes only (Bashir, Adeel) (Entered: 04/02/2018)
 04/04/2018       60 NOTICE OF HEARING as to Andrew Ryan Leslie: Restitution Hearing set for 5/25/2018 at
                     10:00 AM in Jacksonville Courtroom 12 C before Judge Brian J. Davis. (CKS) (Entered:
                     04/04/2018)
 04/05/2018       61 TRANSCRIPT information form filed by Andrew Ryan Leslie for proceedings held on
                     10/06/2017 (Change of Plea) before Judge Joel B. Toomey re 57 Notice of Appeal. USCA
                     number: 18-11183-J (Bashir, Adeel) (Entered: 04/05/2018)
 04/05/2018       62
https://ecf.flmd.uscourts.gov/cgi-bin/DktRpt.pl?665975492187169-L_1_0-1                                         6/7/2018
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                   TRANSCRIPT information form filed by Andrew Ryan Leslie for proceedings held on
            USCA11 Case: 18-11183 Document: 17 Date Filed: 06/08/2018 Page: 10 of 205
                   03/01/2018 (Sentence) before Judge Brian J. Davis re 57 Notice of Appeal. USCA number: 18-
                   11183-J (Bashir, Adeel) (Entered: 04/05/2018)
 04/06/2018       63 COURT REPORTER ACKNOWLEDGEMENT by Shelli Kozachenko re 57 Notice of Appeal
                     as to Andrew Ryan Leslie. Estimated transcript filing date: 5/6/18. USCA number: 18-11183-J.
                     (SMK) (Entered: 04/06/2018)
 04/06/2018       64 COURT REPORTER ACKNOWLEDGEMENT by Shelli Kozachenko re 57 Notice of Appeal
                     as to Andrew Ryan Leslie. Estimated transcript filing date: 5/6/18. USCA number: 18-11183-J.
                     (SMK) (Entered: 04/06/2018)
 05/02/2018       65 TRANSCRIPT of Digitally Recorded Change of Plea for dates of 10/6/17 held before Judge Joel
                     B. Toomey, re: 57 Notice of Appeal as to Andrew Ryan Leslie. Court Reporter/Transcriber
                     Shelli Kozachenko, Telephone number 904.301.6842. Transcript may be viewed at the court
                     public terminal or purchased through the Court Reporter/Transcriber before the deadline for
                     Release of Transcript Restriction. After that date it may be obtained through PACER or
                     purchased through the Court Reporter. Redaction Request due 5/23/2018, Redacted Transcript
                     Deadline set for 6/4/2018, Release of Transcript Restriction set for 7/31/2018. (SMK) (Entered:
                     05/02/2018)
 05/02/2018       66 TRANSCRIPT of Sentencing for dates of 3/1/18 held before Judge Brian J. Davis, re: 57 Notice
                     of Appeal as to Andrew Ryan Leslie. Court Reporter/Transcriber Shelli Kozachenko, Telephone
                     number 904.301.6842. Transcript may be viewed at the court public terminal or purchased
                     through the Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                     After that date it may be obtained through PACER or purchased through the Court Reporter.
                     Redaction Request due 5/23/2018, Redacted Transcript Deadline set for 6/4/2018, Release of
                     Transcript Restriction set for 7/31/2018. (SMK) (Entered: 05/02/2018)
 05/02/2018       67 NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have seven (7) calendar
                     days to file with the court a Notice of Intent to Request Redaction of this transcript. If no such
                     Notice is filed, the transcript may be made remotely electronically available to the public without
                     redaction after 90 calendar days. Any party needing a copy of the transcript to review for
                     redaction purposes may purchase a copy from the court reporter or view the document at the
                     clerk's office public terminal as to Andrew Ryan Leslie. Court Reporter: Shelli Kozachenko
                     (SMK) (Entered: 05/02/2018)
 05/02/2018       68 NOTIFICATION that transcript has been filed by Shelli Kozachenko re: 57 Notice of Appeal as
                     to Andrew Ryan Leslie USCA number: 18-11183-J (SMK) (Entered: 05/02/2018)
 05/02/2018       69 NOTIFICATION that transcript has been filed by Shelli Kozachenko re: 57 Notice of Appeal as
                     to Andrew Ryan Leslie USCA number: 18-11183-J (SMK) (Entered: 05/02/2018)
 05/18/2018       70 Unopposed MOTION for miscellaneous relief, specifically Cancel Restitution Hearing re 60
                     Notice of Hearing by USA as to Andrew Ryan Leslie. (Brown, David) (Entered: 05/18/2018)
 05/18/2018       71 ORDER GRANTING 70 United States' Unopposed Motion to Cancel Restitution Hearing.
                     Signed by Judge Brian J. Davis on 5/18/2018. (AMP) (Entered: 05/18/2018)
 05/18/2018       72 NOTICE CANCELLING HEARING: The Restitution Hearing scheduled for May 25, 2018, at
                     10:00 a.m. has been CANCELLED. (AMP) (Entered: 05/18/2018)



                                               PACER Service Center
                                                   Transaction Receipt
                                                     06/07/2018 14:38:02
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                                                                        FILED IN OPEN COURT
                              UNITED STATES DISTRICT COURT
                                                                              ro /bl 2017
                               MIDDLE DISTRICT OF FLORIDA                 CLERK. U S DISTRICT COURT
                                  JACKSONVILLE DIVISION                   MIDDLE DISTRICT OF FLORIDA
                                                                            JACKSONVILLE. FLORIDA
   UNITED STATES OF AMERICA

   vs.                                                       CASE NO.: 3:16-cr-154-J-39JBT

   ANDREW RYAN LESLIE


                                  NOTICE REGARDING ENTRY
                                    OF A PLEA OF GUilTY

          In the event the defendant decides at any time before trial to enter a plea of guilty,

   the United States Magistrate Judge is authorized by Local Rule 6.01(c)(12), United States

   District Court, Middle District of Florida, with the consent of the defendant, to conduct the

   proceedings required by Rule 11, Fed.R.Crim.P. incident to the making of the plea. If, after

   conducting such proceedings, the Magistrate Judge recommends that the plea of guilty be

   accepted, a presentence investigation and report will be ordered pursuant to Rule 32,

   Fed.R.Crim.P. The assigned United States District Judge will then act on the Magistrate

   Judge's Report and Recommendation; and, if the plea of guilty is accepted, will adjudicate

   guilt and schedule a sentencing hearing at which the District Judge will decide whether to

   accept or reject any associated plea agreement, and will determine and impose sentence.

                                             CONSENT

           I hereby declare my intention to enter a plea of guilty in the above case, and I request
   and consent to the United States Magistrate Judge conducting the proceedings required by
   Rule 11, Fed.R.Crim.P., incident to the making of such plea. I understand that if my plea
   of guilty is then accepted by the District Judge, the District Judge will decide whether to
   accept or reject any plea agreement I may have with the United States, and will adjudicate
   guilt and impose sentence.

   Date: Octobe1~2017

    ~µr
   Defendant
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                                                              FILED IN OPEN COURT
                                                                       l{)- 6-2011
                                                                CLERK. U. S. DISTRICT COURT
                     UNITED STATES DISTRICT COURT               MIDDLE DISTRICT OF FLORIDA
                      MIDDLE DISTRICT OF FLORIDA                  JACKSONVILLE. FLORIDA
                        JACKSONVILLE DIVISION


   UNITED STATES OF AMERICA

   V.                                     CASE NO. 3:16-cr-154-J-39JBT

   ANDREW RYAN LESLIE


                               PLEA AGREEMENT

        Pursuant to Fed. R. Crim. P. l l{c), the United States of America, by W.

  Stephen Muldrow, Acting United States Attorney for the Middle District of

  Florida, and the defendant, ANDREW RYAN LESLIE, and the attorney for

  the defendant, Mark J. Rosenblum, Esq., mutually agree as follows:

  A.    Particularized Terms

        1.     Counts Pleading To

              The defendant shall enter a plea of guilty to Counts One and Two

  of the Indictment. Counts One and Two each charge the defendant with

  production of child pornography, in violation of 18 U.S.C. §§ 225l(a) &

  2251(e).

        2.    Minimum and Maximum Penalties

              Counts One and Two of the Indictment are each punishable by a

  mandatory minimum term of imprisonment of not less than 15 years and not



  Defendant's Initials~-~--                              AF Approval      63 A:
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  more than 30 years, a fine of $250,000, or both, a term of supervised release of

  any term of years not less than 5, or life, and a special assessment of $100, said

  special assessment to be due on the date of sentencing. In addition, pursuant to

  Title 18, United States Code, Section 3014(a)(3), the Court shall assess an

  amount of$5,000 on any non-indigent defendant. If the Court sentenced the

  defendant on each count consecutively, the aggregate minimum and maximum

  penalties would be a minimum mandatory term of imprisonment of not less

  than 30 years and not more than 60 years, fines totaling $500,000, or both, a

  term of supervised release of any term of years not less than 5 years, or life, and

  special assessments totaling $200 and $10,000. Pursuant to Title 18, United

  States Code, Section 3583(k), if the defendant is required to register under the

  Sex Offender Registration and Notification Act and commits any criminal

  felony offense under Title 18, United States Code, Chapters 109A, 110 or 117,

  or Sections 1201 or 1591, the Court shall revoke the term of supervised release

  and require the defendant to serve a term of imprisonment of not less than 5

  years and up to life per count. Any other violation of the terms and conditions

  of supervised release is punishable by a term of imprisonment of up to 3 years

  per count. With respect to these offenses and pursuant to Title 18, United

  States Code, Sections 2259, 3663A and 3664, the Court shall order the

  defendant to make restitution to any victim of the offense(s), and with respect to




  Defendant's Initials   L                   2
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  other offenses, the Court may order the defendant to make restitution to any

  victim of the offense(s), or to the community.

         3.    Elements of the Offense(s)

         The defendant acknowledges understanding the nature and elements of

  the offense(s) with which defendant has been charged and to which defendant is

  pleading guilty. The elements of Counts One and Two of the Indictment are:

                      First:        That an actual minor, that is, a real person
                                    who was less than 18 years old, was depicted;

                      Second:       That the defendant employed, used, persuaded,
                                    induced, enticed or coerced a minor to engage
                                    in sexually explicit conduct for the purpose of
                                    producing visual depictions of the conduct; and

                      Third:        That such visual depictions were produced
                                    using materials that had been mailed, shipped,
                                    or transported in interstate or foreign
                                    commerce.

        4.     No Further Charges

               If the Court accepts this plea agreement, the United States

  Attorney's Office for the Middle District of Florida agrees not to charge

  defendant with committing any other federal criminal offenses known to the

  United States Attorney's Office at the time of the execution of this agreement,

  related to the conduct giving rise to this plea agreement.




  Defendant's Initials~                      3
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         5.    Restitution to Any Minor Victims of Offenses Committed by
               Defendant, Whether Charged or Uncharged

               Pursuant to 18 U.S.C. §§ 3663A(a) & (b), 18 U.S.C. § 3664, 18

  U.S.C. § 2248, and 18 U.S.C. § 2259, the defendant agrees to make full

  restitution to all minor victims of his offenses as to all counts charged, whether

  or not the defendant enters a plea of guilty to such counts and whether or not

  such counts are dismissed pursuant to this agreement. Further, the defendant

  agrees to pay restitution to any of his minor victims, for the entire scope of his

  criminal conduct, including but not limited to all matters included as relevant

  conduct. The defendant acknowledges and agrees that this criminal conduct (or

  relevant conduct) includes any minor victim of any child pornography offenses,

  charged or uncharged, und~r Chapter 110, United States Code, and any minor

  victim of any violation of federal and/ or state law committed by the defendant,

  including any contact sexual offense. Further, pursuant to 18 U.S.C.

  § 3664(d)(5), the defendant agrees not to oppose bifurcation of the sentencing

  hearing if the victims' losses are not ascertainable prior to sentencing.

        6.     Acceptance of Responsibility - Three Levels

               At the time of sentencing, and in the event that no adverse

  information is received suggesting such a recommendation to be unwarranted,

  the United States will recommend to the Court that the defendant receive a two-

  level downward adjustment for acceptance of responsibility, pursuant to USSG



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  §3El.l(a). The defendant understands that this recommendation or request is

  not binding on the Court, and if not accepted by the Court, the defendant will

  not be allowed to withdraw from the plea.

                  Further, at the time of sentencing, if the defendant's offense level

  prior to operation of subsection (a) is level 16 or greater, and if the defendant

  complies with the provisions ofUSSG §3El.l(b) and all terms of this Plea

  Agreement, including but not limited to, the timely submission of the financial

  affidavit referenced in Paragraph B.5., the United States agrees to file a motion

  pursuant to USSG §3E 1.1 (b) for a downward adjustment of one additional

  level. The defendant understands that the determination as to whether the

  defendant has qualified for a downward adjustment of a third level for

  acceptance of responsibility rests solely with the United States Attorney for the

  Middle District of Florida, and the defendant agrees that the defendant cannot

  and will not challenge that determination, whether by appeal, collateral attack,

  or otherwise.

        7.        Cooperation - Substantial Assistance to be Considered

                  Defendant agrees to cooperate fully with the United States in the

  investigation and prosecution of other persons, and to testify, subject to a

  prosecution for perjury or making a false statement, fully and truthfully before

  any federal court proceeding or federal grand jury in connection with the




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  charges in this case and other matters, such cooperation to further include a full

  and complete disclosure of all relevant information, including production of any

  and all books, papers, documents, and other objects in defendant's possession or

  control, and to be reasonably available for interviews which the United States

  may require. If the cooperation is completed prior to sentencing, the

  government agrees to consider whether such cooperation qualifies as

  "substantial assistance" in accordance with the policy of the United States

  Attorney for the Middle District of Florida, warranting the filing of a motion at

  the time of sentencing recommending ( 1) a downward departure from the

  applicable guideline range pursuant to USSG §SKI. I, or (2) the imposition of a

  sentence below a statutory minimum, if any, pursuant to 18 U.S.C. § 3553(e), or

  (3) both. If the cooperation is completed subsequent to sentencing, the

  government agrees to consider whether such cooperation qualifies as

  "substantial assistance" in accordance with the policy of the United States

  Attorney for the Middle District of Florida, warranting the filing of a motion for

  a reduction of sentence within one year of the imposition of sentence pursuant

  to Fed. R. Crim. P. 35(b). In any case, the defendant understands that the

  determination as to whether "substantial assistance" has been provided or what

  type of motion related thereto will be filed, if any, rests solely with the United

  States Attorney for the Middle District of Florida, and the defendant agrees that




  Defendant's Initials~                       6
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  defendant cannot and will not challenge that determination, whether by appeal,

  collateral attack, or otherwise.

        8.     Forfeiture of Assets

               The defendant agrees to forfeit to the United States immediately

  and voluntarily any and all assets and property, or portions thereof, subject to

  forfeiture, pursuant to 18 U.S.C. § 2253, whether in the possession or control of

  the United States, the defendant or defendant's nominees. The defendant

  specifically agrees and consents to the administrative forfeiture of the following:

               a.     Gateway Laptop, SN N186A61005160;

               b.     Thermaltake CPU, SN CA1A800M1NNOOE1000657;

               c.     Glite CPU, SN RC330UKKR3501121500070;

               d.     Thermaltake, SN VJ400GIN201004005536;

               e.     ASUS Laptop; SN D5NOCY56039221A;

               f.     ACER Aspire One, SN LUS050Bl 1184359EE22535,
                      W/CORD;

               g.     Cyber Power Supply, SN CPMDU2002334;

               h.     lnatec External HD, SN WXl 1A5369636;

               1.     9" Mid Android Tablet, SN JHS2CJHA1110AH;

               J.     Seagate Barracuda Internal HDD, SN Z1F12JJM;

               k.     Seagate Barracuda Internal HDD, SN 9VS2250M;




  Defendant's Initials~                      7
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               1.        Seagate Barracuda Internal HDD; SN SQMILBIN;

               m.        Seagate Barracuda Internal HDD, SN 5XWIN7R6;

               n.        (no name) Internal HDD, SN E79085KHH;

               o.        Seagate Momentus Internal HDD, SN 5SHOHD40;

               p.        Seagate Momentus Internal HDD, SN 55VIHXXB;

               q.        Western Digital Black Internal HDD,
                         SN WXZIE64CPA87;

               r.        Samsung Internal HDD; SN 525WJ9FZ006527;

               s.        Seagate Ultrathin Internal HDD, SN W3NOAY05;

               t.        Seagate Freeplay Internal HDD, SN Zl022K49;

               u.        Canon Powershot Camera, SN 4628106690;

               v.        Canon A3400 Powershot Camera, SN 432061614849;

               w.        HTC Cell Phone, SN FA44J5900518;

               x.        Samsung Phone, SN SCH1545FKVPS;

               y.        Samsung Phone, SN A3LSMG935us;

               z.        HTC Cell Phone, IMEi 990000326143433;

               aa.       (5) ACER Monitors;

               bb.       Monitor Stand w / misc. cords;

               cc.       WII w/ controllers, SN KU10259575907;

               dd.       XBOX w/ cord, SN 12577674307;

               ee.             IPOD 32GB, No SN;



  Defendant's Initials   .jL__                8
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                ff. (5) Thumb Drives;

                gg.    (5) SD Cards;

                hh.    (2) SIM Cards;

                11.    (2) Spindles w I CD'S;

               JJ.     CD Wallet w/ Disks;

                kk.    Amazon Kindle Fire Tablet; and

                11.    HTC Cell Phone, SN T54GSV01963,

  seized from the defendant by the Department of Homeland Security, U.S.

  Immigration and Customs Enforcement, on October 18, 2016.

         If the administrative forfeiture proceeding is not completed prior to

  sentencing, the defendant agrees and consents to the forfeiture of these assets

  pursuant to any federal criminal or civil judicial forfeiture action.

        The defendant also hereby agrees that the forfeiture described herein is

  not excessive and, in any event, the defendant waives any constitutional claims

  that the defendant may have that the forfeiture constitutes an excessive fine.

  Forfeiture of the defendant's assets shall not be treated as satisfaction of any

  fine, restitution, cost of imprisonment, or any other penalty this Court may

  impose upon the defendant in addition to forfeiture.




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          9.    Sex Offender Registration and Notification

                The defendant has been advised and understands, that under the

   Sex Offender Registration and Notification Act, a federal law, the defendant

   must register and keep the registration current in each of the following

  jurisdictions: the location of the defendant's residence, the location of the

   defendant's employment; and, if the defendant is a student, the location of the

   defendant's school. Registration will require that the defendant provide

   information that includes name, residence address, and the names and

   addresses of any places at which the defendant is or will be an employee or a

   student. The defendant understands that he must update his registrations not

   later than three business days after any change of name, residence, employment,

   or student status. The defendant understands that failure to comply with these

   obligations subjects the defendant to prosecution for failure to register under

   federal law, 18 U.S.C. § 2250, which is punishable by a fine or imprisonment, or

  both.

  B.      Standard Terms and Conditions

          I.    Restitution, Special Assessment and Fine

                The defendant understands and agrees that the Court, in addition

  to or in lieu of any other penalty, shall order the defendant to make restitution

  to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses




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   described in 18 U.S.C. § 3663A(c)(l); and the Court may order the defendant to

   make restitution to any victim of the offense(s), pursuant to 18 U.S.C. § 3663,

   including restitution as to all counts charged, whether or not the defendant

   enters a plea of guilty to such counts, and whether or not such counts are

   dismissed pursuant to this agreement. The defendant further understands that

  compliance with any restitution payment plan imposed by the Court in no way

  precludes the United States from simultaneously pursuing other statutory

  remedies for collecting restitution (18 U.S.C. § 3003(b)(2)), including, but not

  limited to, garnishment and execution, pursuant to the Mandatory Victims

  Restitution Act, in order to ensure that the defendant's restitution obligation is

  satisfied.

                On each count to which a plea of guilty is entered, the Court shall

  impose a special assessment pursuant to 18 U.S.C. § 3013 and if applicable, 18

  U.S.C. § 3014(a)(3). The special assessments are due on the date of sentencing.

  The defendant understands that this agreement imposes no limitation as to fine.

         2.     Supervised Release

                The defendant understands that the offense(s) to which the

  defendant is pleading provide(s) for imposition of a term of supervised release

  upon release from imprisonment, and that, if the defendant should violate the




  Defendant's Initials   _&_                 11
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   conditions of release, the defendant would be subject to a further term of

  imprisonment.

         3.     Immigration Consequences of Pleading Guilty

                The defendant has been advised and understands that, upon

  conviction, a defendant who is not a United States citizen may be removed

  from the United States, denied citizenship, and denied admission to the United

  States in the future.

         4.     Sentencing Information

                The United States reserves its right and obligation to report to the

  Court and the United States Probation Office all information concerning the

  background, character, and conduct of the defendant, to provide relevant factual

  information, including the totality of the defendant's criminal activities, if any,

  not limited to the count(s) to which defendant pleads, to respond to comments

  made by the defendant or defendant's counsel, and to correct any misstatements

  or inaccuracies. The United States further reserves its right to make any

  recommendations it deems appropriate regarding the disposition of this case,

  subject to any limitations set forth herein, if any.

         5.     Financial Disclosures

                Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.

  32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United




  Defendant's Initials    k_                  12
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   States Attorney's Office within 30 days of execution of this agreement an

   affidavit reflecting the defendant's financial condition. The defendant promises

   that his financial statement and disclosures will be complete, accurate and

   truthful and will include all assets in which he has any interest or over which the

   defendant exercises control, directly or indirectly, including those held by a

  spouse, dependent, nominee or other third party. The defendant further agrees

  to execute any documents requested by the United States needed to obtain from

   any third parties any records of assets owned by the defendant, directly or

  through a nominee, and, by the execution of this Plea Agreement, consents to

  the release of the defendant's tax returns for the previous five years. The

  defendant similarly agrees and authorizes the United States Attorney's Office to

  provide to, and obtain from, the United States Probation Office, the financial

  affidavit, any of the defendant's federal, state, and local tax returns, bank

  records and any other financial information concerning the defendant, for the

  purpose of making any recommendations to the Court and for collecting any

  assessments, fines, restitution, or forfeiture ordered by the Court. The

  defendant expressly authorizes the United States Attorney's Office to obtain

  current credit reports in order to evaluate the defendant's ability to satisfy any

  financial obligation imposed by the Court.




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        6.     Sentencing Recommendations

               It is understood by the parties that the Court is neither a party to

  nor bound by this agreement. The Court may accept or reject the agreement, or

  defer a decision until it has had an opportunity to consider the presentence

  report prepared by the United States Probation Office. The defendant

  understands and acknowledges that, although the parties are permitted to make

  recommendations and present arguments to the Court, the sentence will be

  determined solely by the Court, with the assistance of the United States

  Probation Office. Defendant further understands and acknowledges that any

  discussions between defendant or defendant's attorney and the attorney or other

  agents for the government regarding any recommendations by the government

  are not binding on the Court and that, should any recommendations be rejected,

  defendant will not be permitted to withdraw defendant's plea pursuant to this

  plea agreement. The government expressly reserves the right to support and

  defend any decision that the Court may make with regard to the defendant's

  sentence, whether or not such decision is consistent with the government's

  recommendations contained herein.

        7.     Defendant's Waiver of Right to Appeal the Sentence

               The defendant agrees that this Court has jurisdiction and authority

  to impose any sentence up to the statutory maximum and expressly waives the




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   right to appeal defendant's sentence on any ground, including the ground that

   the Court erred in determining the applicable guidelines range pursuant to the

   United States Sentencing Guidelines, except (a) the ground that the sentence

   exceeds the defendant's applicable guidelines range as determined by the Court

   pursuant to the United States Sentencing Guidelines; (b) the ground that the

   sentence exceeds the statutory maximum penalty; or (c) the ground that the

  sentence violates the Eighth Amendment to the Constitution; provided,

  however, that if the government exercises its right to appeal the sentence

   imposed, as authorized by 18 U.S.C. § 3742(b), then the defendant is released

   from his waiver and may appeal the sentence as authorized by 18 U.S.C. §

   3742(a).

         8.     Middle District of Florida Agreement

                It is further understood that this agreement is limited to the Office

  of the United States Attorney for the Middle District of Florida and cannot bind

  other federal, state, or local prosecuting authorities, although this office will

  bring defendant's cooperation, if any, to the attention of other prosecuting

  officers or others, if requested.




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         9.     Filing of Agreement

                This agreement shall be presented to the Court, in open court or in

   camera, in whole or in part, upon a showing of good cause, and filed in this

   cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

          10.   Voluntariness

                The defendant acknowledges that defendant is entering into this

   agreement and is pleading guilty freely and voluntarily without reliance upon

   any discussions between the attorney for the government and the defendant and

  defendant's attorney and without promise of benefit of any kind (other than the

  concessions contained herein), and without threats, force, intimidation, or

  coercion of any kind. The defendant further acknowledges defendant's

  understanding of the nature of the offense or offenses to which defendant is

  pleading guilty and the elements thereof, including the penalties provided by

  law, and defendant's complete satisfaction with the representation and advice

  received from defendant's undersigned counsel (if any). The defendant also

  understands that defendant has the right to plead not guilty or to persist in that

  plea if it has already been made, and that defendant has the right to be tried by a

  jury with the assistance of counsel, the right to confront and cross-examine the

  witnesses against defendant, the right against compulsory self-incrimination,

  and the right to compulsory process for the attendance of witnesses to testify in




  Defendant's Initials   L                    16
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   defendant's defense; but, by pleading guilty, defendant waives or gives up those

   rights and there will be no trial. The defendant further understands that if

   defendant pleads guilty, the Court may ask defendant questions about the

   offense or offenses to which defendant pleaded, and if defendant answers those

   questions under oath, on the record, and in the presence of counsel (if any),

   defendant's answers may later be used against defendant in a prosecution for

   perjury or false statement. The defendant also understands that defendant will

  be adjudicated guilty of the offenses to which defendant has pleaded and, if any

   of such offenses are felonies, may thereby be deprived of certain rights, such as

   the right to vote, to hold public office, to serve on a jury, or to have possession

   of firearms.

          11.     Factual Basis

                  Defendant is pleading guilty because defendant is in fact guilty.

   The defendant certifies that defendant does hereby admit that the facts set forth

   in the attached "Factual Basis," which is incorporated herein by reference, are

   true, and were this case to go to trial, the United States would be able to prove

   those specific facts and others beyond a reasonable doubt.

          12.     Entire Agreement

                  This plea agreement constitutes the entire agreement between the

  government and the defendant with respect to the aforementioned guilty plea




  Defendant's InitialsL                        17
Case 3:16-cr-00154-BJD-JBT Document 39 Filed 10/06/17 Page 18 of 23 PageID 65
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   and no other promises, agreements, or representations exist or have been made

   to the defendant or defendant's attorney with regard to such guilty plea.

         13.    Certification

                The defendant and defendant's counsel certify that this plea

   agreement has been read in its entirety by (or has been read to) the defendant

   and that defendant fully understands its te    s.

         DATED this 1-S--day of.=~.::"___;_._~-

                                                   W. STEPHEN MULDROW
                                                   Acting United States Attorney



  ANDREW RYAN LESLIE
  Defendant


 MAM~~
  MARK J. ROSENBLUM
                                                                  AO.SA
                                                              E. BRITSCH
                                                                          t.r
  Attorney for Defendant                                    rney
                                                   United States Department of Justice
                                                   Criminal Division
                                                   Child Exploitation & Obscenity Section



                                                   ~~
                                                   Assistant United States Attorney
                                                   Deputy Chief, Jacksonville Division




  Defendant's Initials   L                   18
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


    UNITED STATES OF AMERICA

    V.                                         CASE NO. 3:16-cr-154-J-39JBT

    ANDREW RYAN LESLIE



                       PERSONALIZATION OF ELEMENTS

   As to Count One

          I.    Do you admit that an actual minor, that is, a real person who was

   less than 18 years old, was depicted?

         2.     In or about October 14, 2016, in the Middle District of Florida, did

   you employ and use a Child I, to engage in sexually explicit conduct, that is,

   genital to genital and oral to genital sexual intercourse, for the purpose of

   producing visual depictions of such conduct?

         3.     Do you admit that you produced such visual depictions using

   materials that had been mailed, shipped, and transported in interstate and

   foreign commerce, that is, a Canon PCl 737 Powershot A3400 IS digital camera

  being serial number 432061019849 that was manufactured in China, and a

  Toshiba 8GB HC Micro SD card bearing serial number 1403RP4801P that was

  manufactured in Taiwan?



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   As to Count Two

          I.    Do you admit that an actual minor, that is, a real person who was

   less than 18 years old, was depicted?

         2.     On or about October 14, 2016, in the Middle District of Florida,

   did you employ and use Child 2, to engage in sexually explicit conduct, that is,

   the lascivious exhibition of the minor's genitals, for the purpose of producing

   visual depictions of such conduct?

         3.     Do you admit that you produced such visual depictions using

   materials that had been mailed, shipped, and transported in interstate and

   foreign commerce, that is, a Canon PCl 737 Powershot A3400 IS digital camera

  ·being serial number 432061019849 that was manufactured in China, and a

  Toshiba 8GB HC Micro SD card bearing serial number 1403RP4801P that was

   manufactured in Taiwan?




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,


                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DMSION


       UNITED STATES OF AMERICA

       V.                                           CASE NO. 3:16-cr-154-J-39JBT

       ANDREW RYAN LESLIE



                                    FACTUAL BASIS

             In 201_5, agents with the U.S. Department of Homeland Security,

      Homeland Security Investigations (HSI) began an investigation into certain

      websites known to host images and videos depicting child p·omography. This

      investigation targeted individuals who were users of such websites where child

      pornography was exchanged. In 2016, defendant, Andrew Ryan Leslie, was

      identified as a member of one of these websites. Further investigation revealed

      that Leslie resided in Middleburg, Florida.

            On October 18, 2016, HSI agents ~d other law enforcement

      Officers executed a federal search warrant at Leslie's residence in Middleburg,

      Florida. Upon entry into the residence, agents observed as Leslie emerged from

      the master bedroom. Leslie stated in substance ·that a minor female child,

      referred to by Leslie as a "toddler," had been in the bed with Leslie when the

      agents arrived.


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         During the execution of the search warrant, HSI agents located, on a

   nightstand located next to Leslie's bed in the master bedroom, a Canon PCI 737

   Powershot A3400 IS digital camera bearing serial number 432061019849 that

   was manufactured in China. Contained within the camera was an SD adapter

   and a micro SD card. This micro SD card was a Toshiba 8GB HC Micro SD

   card bearing serial number 1403RP4801P that was manufactured in Taiwan.

   This camera and this SD card were each shipped and transported in or affecting

   interstate and foreign commerce.

         During a forensic preview, agents discovered that the SD card contained

   a series of pornographic images depicting Leslie with two different minor female

   children. In several images, the same prepubescent minor female child (Child 1,

   who was approximately 2 years old at that time) who was in the bed with Leslie

   that morning was depicted. Other images depicted a different infant female

   child (Child 2, who was approximately 7 months old at that time). These

   images depicted, among other things, Child 1 being vaginally and orally

   penetrated by Leslie's penis. There were also images depicting the lascivious

  exhibition of Child 2's genitalia. In several images, Leslie is depicted gripping

  his own penis and contacting the genitalia of Child 1 with it. All the images on

  the Toshiba SD card (42 in total) were produced by Leslie on October 14, 2016

  using the Canon Powershot digital camera.




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            HSI agents also seized numerous items of computer media from Leslie's

   residence, including several laptop computers, computer hard disk drives,

   tablets, cell phones, and cameras. Forensic analysis of these items revealed that

   Leslie had produced, received, disµibuted, and possessed numerous images and

   videos depicting child pornography. Moreover, logs of online conversations

   between Leslie and other individuals were recovered that demonstrate, among

   other things, that Leslie had discussed engaging in sexual activity with several

   minor children.

            Leslie acknowledges that there exists a sufficient nexus for purposes of

   forfeiture between the items specified herein and the criminal conduct set forth

   above.




  Defendant's Initials   L                     3
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                        Tab 40
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                       CASE NO. 3:16-cr-154-J-39JBT

ANDREW RYAN LESLIE


                          REPORT AND RECOMMENDATION1
                           CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R.

Crim. P. and Rule 6.01(c)(12), M. D. Fla. Rules, and has entered a plea of guilty to Counts

One and Two of the Indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was

knowledgeable and voluntary, and that the offenses charged is supported by an

independent basis in fact containing each of the essential elements of such offenses. I

therefore recommend that the plea of guilty be accepted and that the Defendant be

adjudged guilty and have sentence imposed accordingly.

       DONE AND ENTERED at Jacksonville, Florida, this 6th day of October, 2017.




Copies to:
Honorable Brian J. Davis
United States District Judge
Assistant United States Attorney (Brown)
Asst. Federal Public Defender (Rosenblum)
U.S. Pretrial
United States Probation

       1
        “Within 14 days after being served with a copy of the recommended disposition [of
a plea of guilty], . . . a party may serve and file specific written objections to the proposed
findings and recommendations.” Fed. R. Crim. P. 59(b)(2). “Failure to object in
accordance with this rule waives a party’s right to review.” Id.; see also 28 U.S.C. §
636(b)(1)(B); 11th Cir. R. 3-1; Local Rule 6.02.
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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                    CASE NO. 3:16-cr-154-J-39JBT

ANDREW RYAN LESLIE
- - - - - - - - - - - - -I
                        ACCEPTANCE OF PLEA OF GUilTY,
                          ADJUDICATION OF GUilT, AND
                            NOTICE OF SENTENCING

      The Court adopts the Report and Recommendation Concerning Plea of Guilty

(Doc. 40) entered by the Honorable Joel B. Toomey, United States Magistrate Judge, to

which the fourteen day objection period was waived. Thus, the Court accepts Defendant's

plea of guilty to Counts One and Two of the Indictment, and Defendant is adjudged guilty

of such offenses.

      SENTENCING for the Defendant is hereby scheduled for January 30, 2018, 10:00

AM, before the undersigned in the United States Courthouse, Courtroom No. 12C,

Twelfth Floor, 300 North Hogan Street, Jacksonville, Florida 32202. The Court notifies

any defendant currently on pretrial release that pursuant to 18U.S.C. § 3143(a)(2),

the Court is required to remand a defendant into custody at sentencing in drug

cases and cases involving crimes of violence. However, notwithstanding this

provision, pursuant to 18 U.S.C. § 3145(c), the Court may allow an otherwise

qualified defendant to voluntarily surrender for "exceptional reasons."

      IF THE PARTIES WANT THE COURT TO CONSIDER ANY MOTION FOR

DEPARTURE OR OTHER WRITTEN MATERIAL OTHER THAN THE PRE-SENTENCE

INVESTIGATION REPORT, IT MUST BE SUBMITTED NO LATER THAN TEN (10)
  Case 3:16-cr-00154-BJD-JBT Document 42 Filed 10/31/17 Page 2 of 2 PageID 74
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BUSINESS DAYS PRIOR TO THE DATE OF SENTENCING. ANY RESPONSES TO

MOTIONS OR OTHER WRITTEN MATERIALS SHALL BE SUBMITTED NO LATER

THAN FIVE (5} BUSINESS DAYS PRIOR TO THE DATE OF SENTENCING.                                  IN

ADDITION, IF ANY PARTY BELIEVES THAT THE SENTENCING MAY TAKE LONGER

THAN       ONE    HOUR,     PLEASE     NOTIFY     THE    UNDERSIGNED'S              CHAMBERS

IMMEDIATELY.

       NOTE:          All persons entering the Courthouse must present photo

identification to Court Security Officers. Although cell phones, laptop computers,

and similar electronic devices generally are not permitted in the building, attorneys

may bring those items with them upon presentation to Court Security Officers of a

Fforida     Bar card (presentation of the Duval            County Courthouse lawyer

identification card will suffice) or Order of special admission pro hac vice. 1
                                                                    ti\
       DONE and ORDERED in Jacksonville, Florida this        30           day of October, 2017.




                                                  BRIAN J. DAVIS
                                                  United States District Judge


cs
Copies to:

Asst. U.S. Attorney (Brown)
Asst. Federal Public Defender (Rosenblum)
United States Marshals Service
United States Probation Office
United States Pretrial Services




       1   Cell phones must be turned off while in the courtroom.



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                        Tab 49
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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

  UNITED STATES OF AMERICA

                v.                                  Case No. 3:16-cr-154-J-39JBT

  ANDREW RYAN LESLIE
  ________________________________/

             DEFENDANT’S SENTENCING MEMORANDUM

        Andrew Ryan Leslie, through counsel, files his Sentencing

  Memorandum for the Court’s consideration in connection with his upcoming

  sentencing.

  I.    Introduction

        This is a difficult case for all concerned. It is difficult for the victims

  and their families, it is difficult for the prosecution and defense teams, it is

  difficult for Mr. Leslie, it is difficult for Mr. Leslie’s family. And no doubt, at

  what is expected to be an unusually emotional and dramatic sentencing

  hearing, it will be difficult for the Court.

        Mr. Leslie is exposed to not less than 15 and not more than 60 years in

  prison. The defense does not intend to ask for a specific sentence within that

  range, but rather simply to ask the Court to impose a sentence that will give

  Mr. Leslie, who just turned 23, an opportunity to see the light at the end of the

                                      Page 1 of 8
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  tunnel, while incentivizing him to seek and maintain the therapy he so

  desperately needs and desires.

  II.    History and Characteristics

         Andrew Leslie was just 10 years old when he realized he was a

  pedophile. To say he was and is horrified and sickened by that discovery and

  its resultant behavior would be a gross understatement.

         At 10, he was old enough to grasp that he was a “monster” in society’s

  eyes, yet too young to know what to do about it.1 He longed to be normal.

  He contemplated suicide. He fought his awful urges for years. He tried to

  ignore them. He tried blocking tempting Internet sites and ridding himself of

  tempting material.        Later, he tried to find satisfaction through child

  pornography, considering it more harmless than the alternative. At the time

  of his arrest in this case, he had begun inquiring about changing his gender,

  according to his mother. Maybe that might work to change his behavior.

  But nothing did.

         The one thing Mr. Leslie did not do was seek help. He desperately

  wanted it but simply did not know how or where to find it. Not at age 10,

  when he first realized the horror of who he was. Not at age 16, when his self-


  1 Mr. Leslie has written a letter to the court detailing his shame and deep remorse about
  who he is and what he has done. He uses the word monster to describe himself. The
  letter is attached as Exhibit 1.
                                            Page 2 of 8
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  loathing led him to contemplate suicide a second time and his doctor

  prescribed Prozac for severe depression.2 And not at age 21, right before his

  long-held fears of arrest and a lengthy prison sentence became his reality. He

  kept his secret shame hidden from his family, his classmates and his doctor,

  fearing that telling anyone would result in stigmatization and prison.

         This is a common phenomenon and barrier to prevention among men

  who realize they are attracted to children and do not know where to turn,

  according to sociologist Jill Levenson, an associate professor at Barry

  University, who surveyed offenders about why they did not seek help before

  it was too late. Unlike other addictions, there are no advertised helplines for

  pedophiles. There is a fear factor as well. “Even if they’ve never acted on

  them, men who are concerned about their attractions are reluctant to seek

  counseling because they’re afraid they’re going to be reported,” Dr. Levenson

  said in a 2015 Psychology Today article. 3

         Since his arrest in 2016, Mr. Leslie has been steadfast in his desire to

  know why he is the way he is and, more importantly, getting help to change.

  It has come up in nearly every conversation the undersigned and his staff have


  2 Records referencing this prescription from Mr. Leslie’s primary physician, Dr. Bala
  Munipalli, are attached as Exhibit 2.

  3 Sympathy for the Deviant, Psychology Today, November/December 2015. The
  article, which explores the double-edged stigma of pedophilia, is attached as Exhibit 3.
                                         Page 3 of 8
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  had with him. Mr. Leslie was thrilled when he learned that his defense team

  had contracted neuropsychologist Robert Cohen to evaluate him because he

  hoped it would give him insight into his behavior and become a catalyst to

  change. Mr. Leslie wants intensive sex offender treatment while in prison,

  and Dr. Cohen recommends that it be part of his sentence, along with

  continued psychiatric care. 4

         Mr. Leslie also has been steadfast in his cooperation with authorities

  since his arrest. He has had several meetings with law enforcement and

  provided information whenever asked.               He provided passwords to his

  electronic devices. At times, he reached out to the undersigned’s office about

  contacting law enforcement whenever he thought of something that might be

  helpful. Although his assistance will not be rewarded through the filing of a

  motion for downward departure under USSG § 5K1.1 since no arrests have

  been made to date, the government has represented that his cooperation has

  been extremely valuable to law enforcement and that the Court will be asked

  to consider it in the sentencing equation.

         Mr. Leslie readily accepted responsibility for his criminal offense and

  continues to do so. He has never attempted to minimize or justify his




  4 A copy of Dr. Cohen’s evaluation is attached as Exhibit 4.
                                        Page 4 of 8
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  behavior. He understands that his actions merit a serious prison sentence.

  He feels incredible remorse for his victims. He wants to pay whatever

  restitution the Court orders, though he realizes that will be a pittance

  compared to the damage he has done.                He hopes one day to start an

  organization to help pedophiles get help before they act on their attractions.

  As unrealistic as that sounds in light of Mr. Leslie’s foreseeable future, it is

  reflective of his sincere remorse.

           As he states in his letter to the Court, “I wish I could undo everything,

  but I can’t. However, I can try to make everything … at least as right as

  possible.”

           Mr. Leslie was born in Jacksonville following a one-time encounter

  between his mother and biological father. He grew up in Clay County. He

  did not meet and form a relationship with his father until he was 12.

           Mr. Leslie does not attribute any of his aberrant behavior to his

  childhood, which he recalls as basically positive. His mother, Sharon Leslie,

  could not recall any episodes of physical trauma or abuse. She does recall

  his female cousins dressing him up as a girl when he was about five years old

  and her son verbalizing around the same age that he did not like having a

  penis.


                                       Page 5 of 8
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         By all accounts, Mr. Leslie was a contributing member of society

  throughout high school and into adulthood. He did not use drugs or commit

  even petty crimes. Letters from family and friends describe his helpfulness,

  compassion and attentiveness toward the needs of others.5 They are shocked

  that the polite and respectful young man, who assisted them or stood by them

  through various ordeals, committed these crimes. They are saddened they

  did not notice any red flags that might have alerted them to Andrew’s internal

  struggles or even prevented his behavior from escalating to the point that it

  did. Yet, as true friends and family members do, they are standing by him

  even while acknowledging their horror at his behavior.

         Family photos provided by Sharon Leslie show a healthy, typical young

  boy. Tellingly, however, very few of them after early childhood show him

  smiling. 6

         He was a good student and graduated on time from Middleburg High

  School in 2013 with a 3.412 grade point average.7 A month after graduation,

  he started work as a software engineer, a job he held until his arrest. 8 The


  5 Letters are attached as Exhibit 5.

  6 Photos are attached as Exhibit 6.

  7 A copy of his transcript is attached as Exhibit 7.

  8 Verification of Mr. Leslie’s employment with Focus School Software is attached as
                                        Page 6 of 8
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  position paid well enough that Mr. Leslie was able to buy his own home when

  he was 19 years old.

         All of this masked the internal struggles and self-loathing lurking deep

  in Mr. Leslie’s soul and the resultant criminal behavior that brings him before

  the Court. In keeping with Dr. Cohen’s recommendations, Mr. Leslie requests

  that his sentence include intensive psychosexual counseling and sex offender

  treatment.

  III.   Conclusion

         Andrew Leslie is begging for help in order to vanquish the demon that

  has plagued his life. While in prison he intends to take advantage of all

  counseling and sex offender treatment opportunities he can get. It is his hope

  that he can continue to assist the authorities with their ongoing investigation

  of other pedophiles. All that Mr. Leslie asks is that the Court view him as a

  person who sincerely wants to change and will make every effort to do so.




  Exhibit 8. The company is based in St. Petersburg, and Mr. Leslie worked from home.
  The job did not involve any contact with students.
                                         Page 7 of 8
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                                           Respectfully submitted,

                                           Donna Lee Elm
                                           Federal Defender


                                           s/ Mark Rosenblum
                                           Mark Rosenblum
                                           Assistant Federal Defender
                                           Florida Bar No. 289175
                                           200 West Forsyth Street, Suite 1240
                                           Jacksonville, Florida 32202
                                           Telephone: 904-232-3039
                                           Fax: 904-232-1937
                                           E-Mail: mark_rosenblum@fd.org
                                           Attorney for defendant




                         CERTIFICATE OF SERVICE

        I certify that on February 22, 2018 I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system, which will send a

  notice of electronic filing to all counsel of record.

                                          s/ Mark Rosenblum
                                         Assistant Federal Defender




                                     Page 8 of 8
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                        United States v. Andrew Ryan Leslie

                          Case No. 3:16-cr-154-J-39JBT




                      Exhibit 1
                Letter to the Court
              from Andrew Leslie
                                                                                               •
                3:16-cr-00154-BJD-JBT Document 49-1 Filed ·02/22/18 Page 2 of 4 PagelD 794                                                            ~-
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                        United States v. Andrew Ryan Leslie

                          Case No. 3:16-cr-154-J-39JBT




                      Exhibit 2
                      Records from
               Dr. Bala Munipalli
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LESLIE, ANDREW (id #201066242, dob: 01/16/1995)

                                                                  Last amended by BALAS MUNIPALLI, MD on 05/11/2016 at 10:25am
PaUant.
Name                        LESLIE, ANDREW (21yo, M) ID#               Appt. Date/Time                05/11/2016 09:00AM

DOB                                                                    Service Dept.                  SVPE_PRIMARY_CCMOB 320
Provider
Insurance                   Med Primary:
                              Insurance#:
                                         Mill-
                            BALAS MUNIPALLI, MD


                              Policy/Group
                            Prescription: OPTUMCOM - Member is eligible.
                            Prescription: PRIMFL - Member is eligible.
 Patient's Pharmacies
.• WALGREENS DRUG STORE 06744 (ERX): 2675 BLANDING BLVD, MIDDLEBURG FL 32068, Ph (904) 291-4375, Fax
·• (904) 291-9344

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 Establish care/ pain in hands right mostly
 Problems
. Reviewe<:LProblems
  • Chronic back pain
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• Ala.v1;1rl: 1{l mg disintegrating ta.b!i~t                                                                0511 ii1B entered
  Take ·1 tablet(s} every day by oral route as needed .

 .A.llE_)rgies ...
  Reviewed Allergies
  NKDA

 Past Medical History
  Discussed Past Medical History
. allergies: Y
 SuqJlcai History
 Reviewed Surgical History
 no prior surgeries
 f)rn,Hy History .
· Discussed Family History
  Maternal Grandfather                                     - Malignant neoplastic disease
                                                           - Type 1 diabetes mellitus
                                                           - Heart disease
  Mother                                                   - Diabetes mellitus
                                                           - Essential hypertension

 Soda! History
 Discussed Social History
 Internal Medicine
 Alcohol intake: Occasional
 Smoking Status: Never smoker
 Vitals

                     Ht: 5 ft 6 in (167.64 cm)                 Wt: 108 lbs 9 oz (49.24                          BMI: 17.5:'i:',;,,,<:,,i.i':!:.
                                                                     kg):.\•,;, 1;;f,)':f; :.h\'f>.


                     BP: 120/60 sitting L arm     BP Cuff Size: adult iX.·', 1/:::rJ: ,.=;                    Pulse: 69 bpm ,:;=.ii, ;<:U ,(,
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LESLIE, ANDREW ( i d ~ . dob: - )

            02Sat: 98%!.1'/:'<f2D·16                      RR:   18:;:.i!1'L'?.,:,,jz~iJ9::B            T: 98.7 F (37.06 C)
                                                                                                                    0



                                                                i.W:'1                                    \)S!'i l r;?.Oit3 f:·)::34   ;=:.:it


 HP!
  21 year old here to new patient physical. He reports intermittent allergies and uses Alavert. He reports he is a software
  engineer and reports pain in right first three fingers with radiation of pain right forearm x 4 weeks Says has been going on for
  2-3 years. He has been using his hands daily. Has tingling in hands throughout the day but does not wake him up at night.
. 2011 diagnosed with depression- gets bouts off and on but took himself off Prozac and feels better off the meds not suicidal or
  homicidal. ROS + for generalized weakness, fatigue ( from lack of sleep), major weight change, depression when he was living
  with a girlfriend that had a child- was not a good relationship over 6 month period- ended March 26 - symptoms have resolved.
  Gained weight back after losing it during stressful period. Fever, chills, bronchitis, cough, chest congestion when he had 3 day
  flu 2-3 weeks ago and took cough medication and that resolved the symptoms . Ear aches, postnasal drainage, hoarseness,
  runny nose, when allergies flare Chest pain, anxiety, depression on and off since age 9 Chest pain last 10 seconds to 2
  minutes and hurts when he moves in bed or when stands. Ringing in ears since age 6 - wakes up with it sometimes and then
  resolves - comes and goes throughout the day. Hearing test was normal. Takes Ibuprofen -used to take Aspirin when he gets a
  headache about once a month. Muscle pain with the right hand pain Chronic back pain dull 3/10 and manageable, when gets
  7/1 O uses Ibuprofen- gels this severe about every 3 months. Says related to posture but does not do the exercises to help his
  back pain. He is interested in PT for the back pain. When gets headache - diffuse, throbbing, aching and Ibuprofen helps the
  headaches. Memory difficulties -gets forgetful about plans he arranges like going out with friends and sometimes forgets what
  day of the week it is - stays up to 2 AM and thinks the memory issues are related to poor sleep habits. Says night owl and
  forgets about going to sleep When goes to bed stays asleep Sometimes notices tingling in left hand
 ROS
 Additionally reports: ROS discussed - see HPI All other ROS negative
 Wen Child ROS
  Patient is a 21-year-old male.
  Reported by patient.
  Diet and Nutrition:
  • Dietary: 3 meals/day, appropriate dairy intake, appropriate Calcium intake, normal portions.diet not well balanced.
  Dental:
  • Dental: regular dental visits, brushes teeth 2 times/day, flosses teeth.
  Sleep:
  • Sleep: sleeps through the night, no difficulty falling asleep, no trouble getting up.
· Elimination:
  • Elimination: normal bowel movement frequency, normal consistency.
  Genitourinary:
  • Male Genitourinary: testicular self exams.
   Safety/Lifestyle:
  • Injury prevention: wears seatbelt, understands sun protection, understands conflict resolution/violence prevention.
  • Risk Taking: denies drug use, denies tobacco use.
  • Sexual History: occasional alcohol use.
  School/Behavior:
  • School/Behavior: no behavior problems, he is working as a software engineer.
  • Exercise: does not get regular exercise.
  • Other: normal mood, denies suicidal ideations, healthy peer relationships.currently without depression.
 Pr1ysica! F.:xarn
 Patient is a 21-year-old male.

 Constitutional: General Appearance: well-nourished and well-developed. Level of Distress: NAO. Ambulation: ambulating
 normally.

 Psychiatric: Mental Status: normal mood and affect and active and alert. Orientation: to time, place, and person.

 Head: Head: normocephalic and atraumatic.

 Eyes: Lids and Conjunctivae: no discharge or pallor and non-injected. Pupils: PERRLA. Corneas: grossly intact. EOM: EOMI.
 Lens: clear. Sclerae: non-icteric.

 ENMT: Ears: no lesions on external ear, EACs clear, and TMs clear. Nose: no lesions on external nose, sinus tenderness, or
 nasal discharge and nares patent and nasal passages clear. Lips, Teeth, and Gums: no mouth or lip ulcers or bleeding gums.
 Oropharynx: no erythema or exudates and moist mucous membranes and tonsils not enlarged.

 Neck: Neck: supple, FROM, trachea midline, and no masses. Lymph Nodes: no cervical LAD or supraclavicular LAD. Thyroid:
 no enlargement or nodules and non-tender.

 Lungs: Respiratory effort: no dyspnea. Percussion: no dullness, flatness, or hyperresonance. Auscultation: no wheezing,
 rales/crackles, or rhonchi and breath sounds normal and good air movement.
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LESLIE, ANDREW ( i d - 1 dob: - )

• Cardiovascular: Heart Auscultation: normal S1 and S2; no murmurs, rubs, or gallops; and RRR. Pulses: normal throughout.

 Abdomen: Bowel Sounds: normal. Inspection and Palpation: no tenderness, guarding, masses, rebound tenderness, or CVA
 tenderness and soft and non-distended. Liver: non-tender and no hepatomegaly. Spleen: non-tender and no splenomegaly.
 Hernia: none palpable.

 • Musculoskeletal:: Motor Strength and Tone: normal and normal tone. Joints, Bones, and Muscles: no contractures,
·• malalignment, or tenderness and normal movement of all extremities; mild decreased grip strength right hand + Tine( left
. hand. Extremities: no cyanosis or edema .

. Neurologic: Gait and Station: normal gait and station. Cranial Nerves: grossly intact. Sensation: grossly intact. Reflexes: DTRs
. 2+ bilaterally throughout. Coordination and Cerebellum: no tremor.

  Skin: Inspection and palpation: no rash, ulcer, induration, nodules, or jaundice and good turgor;mild facial acne benign
. hyperpigmented lesions on chest, neck, back, arms, legs.

· Back: Thoracolumbar Appearance: normal curvature.
 Screening
• None recorded.
 Assessment f Plan
•.1. Adult health examination .,.Advised .self testicular exams pm..
      sunscreen when outdoors
      avoid alcohol, drugs, tobacco
      exercise, healthy diet lean protein, fruits/vegetables, adequate water intake
      requested vaccine records -update Tdap but has to check with insurance to make sure covered
      200.01: Encounter for general adult medical examination with abnormal findings

 2. Hand pain - overuse vs carpal tunnel EMG/NCS discussed
     f/u 1 week after test completed
     M79.641: Pain in right hand
   • ELECTROMYOGRAM/NERVE CONDUCTION STUDY - Note to Imaging Facility: right hand pain, numbness, pain
     radiates into forearm

• 3. Examination of blood pressure - BP 120/60 Monitor BP closely
      201.30: Encounter for examination of blood pressure without abnormal findings

• 4. Body mass index less than 20- Monitor weight Says this is his baseline
      268.1: Body mass index (BMI) 19 or less, adult

·• 5. Chronic back pain - discussed with patient about physical therapy evaluation for the chronic back pain and he is agreeable
       with the referral
       G89.29: Other chronic pain
     • PHYSICAL THERAPY REFERRAL- Schedule Within: provider's discretion


  Hetum to    ornce
  None recorded.
 Amendment Sign-Off
 Encounter signed-off by BALAS MUNIPALLI, MD, 05/11/2016.

  Encounter performed and documented by BALAS MUNIPALLI, MD
  Encounter reviewed & signed by BALAS MUNIPALLI, MD on 05/11/2016 at 10:15am
  Amendment closed by BALAS MUNIPALLI, MD on 05/11/2016 at 10:25am
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                            United States v. Andrew Ryan Leslie

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4



                          Exhibit 3
              Article from
            Psychology Today

4




4
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         THE INTENSE STIGMA SURROUNDING CHILD SEXUAL ABUSE
       CLOUDS AN ALREADY MISUNDERSTOOD SUBJECT AND MAY EVEN
        PREVENT PEOPLE FROM GETTING HELP BEFORE THEY COMMIT
           HARM. ONE CONVICTED OFFENDER SHARES HIS STORY.
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                                                                                                    ng him flightlessons and treating
                                                                                                    ft, and Evelyn started to wail.

of a middle-school gym teacher named Evelyn* and asked to
speak with her husband, Eugene. A soft-spoken woman with             CROSSING THE LINE
rosy cheeks and tidy bangs, Evelyn told them he was at the small           "I KNEWWHY the police were there as soon as I saw them,"
airport three miles away where he worked as a part-time flight       Eugene told me six years later. "I was devastated, but a part ofme
instructor. Theywouldn'tsaywhattheirinquirywas about, and            was also enormously relieved to just be done with this."
they asked her not to call him. Always deferential to authority,          After leaving the ministry, he had begun to notice an attrac-
she invited them to wait inside.                                     tion to early adolescents that was "totally uncomfortable," he
     Sitting in awkward silence, Evelyn strained to imagine why      said. It was a feeling that had x:iagged at the edge of his conscious-
they were there. Eugene was a respected member ofthe commu-          ness before, a kind of nebulous allure that had .never led to any
nity-"-a former U.S. Navy navigator who, after his enlistment,       improper behavior. Suddenly, he found himselfspendingmore
had become a Methodist minister. He was, by all accounts, a          and more time with certain young teenagers, feeling obsessed
compassionate counselor to parishioners going through rocky·         with them, andinchingtoward a line he knew he shouldn't cross.
times, a generous mentor to young people, a supportive ally of             "It was progressive," he told me. "It went from skinny dip-
his colleagues, and a caring father to his and Evelyn's twins,       ping, to sleeping nude, to embracing and searching for a full-
then in their 20s. He was self-effacing and humble-it could          blown 'relationship.' I did not at the time identify what was
take years ofacquaintance before he                                                                 going on, but I knew deep down
would mention that he once led wor-                                                                 inside that something was wrong.
ship services for President Reagan at                                                               I can't tell you the number of times
Camp David.                                                                                         I told myself, 'Eugene, you're 64.
     Evelyn felt a knot of dread in                                                                 What are you doing looking for a
her stomach. She wondered if this                                                                   relationship with a 13-year-old?' But
had something to do with a strange                                                                  it was like being an alcoholic where
brush with the law Eugene had had                                                                   the drive for pleasure becomes over-
two years earlier, after he retired                                                                 riding. And where could I go for
from the ministry and returned to                                                                   help? Whom could I trust? I knew
his earliest passion, flying airplanes.                                                             how societyviews pedophiles. I was
Acomplaint had been lodged about                                                                    already full of shame, and those
inappropriate conduct with one of                                                                   kinds of stories only fueled my
his flight students, a 14-year-old                                                                  shame more.''
boy. The boy had told police that                                                                         When Eugene showed up at the
when they were flying, Eugene had                                                                   police station, the accusations were
touched his thigh and, another                                                                      enumerated: The boy in question
time, had tried to kiss him. The com-                                                               had told authorities that on several
plaint was referred to the district                                                                 occasions when the two were "camp-
attorney's office, which declined                                                                   ing" inside a tent in a hangar at the
to pursue it due to insufficient evi-                                                               airport, they had slept beside each
dence. Eugene had told Evelyn that                                                                  other while Eugene was completely
it was a misunderstanding-a single-engine propeller airplane         nude, and Eugene had touched the boy's buttocks. The boy also
is extremely tight quarters and he was just trying to help the       said that Eugene had taken photographs ofhim in just his under-
boy, who said he had a leg cramp, Still, he was devastated by        wear and a shirt-'-pictures that were discovered on the thumb
the accusation and agreed with Evelyn to seek help through a         drive. After confirming the allegations, Eugene was arrested and
Christian counseling service. Hespokevaguelywith a counselor         charged with indecent assault, indecent exposure, and corrup-
about feeling anxious and depressed.                                 tion ofaminor.
     Evelyn heard a car pull up outside. Trim and silver-haired at         Reports of his arrest were soon all over the local news.
64, Eugene strode in through the garage. He froze when he saw        His friends and colleagues at the airport were stunned, as was
the detectives, whom he recognized from hisworkas a volunteer        everyone at his church, where he was a Sunday service regular
chaplain for the police department. The detectives announced         and an active member ofa Bible study group. Released on bail,
that they had a search warrant: and collected his cell phone,        he shuttered himself in his house and descended into nearly
digital camera, computers, and thumb drive. They asked him           suicidal despair. Evelyn also became depressed. She anguished
to come down to the police station; he opted to go right away.        over why she hadn't more clearly recognized that something
Before leaving, he stood with Evelyn for a fraught moment and        was amiss and intervened. "I saw that he was spending more and
told her point-blank that he had had inappropriate contact with      more time with particular young people, and in some ways it
a family friend's 13-year-old son, whom he had taken under his       seemed like an obsession," she told me. "But I had no clue what it
·The couple are referred to by their middle names.

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     was. You think the best ofpeople until you find out differently."     hundreds ofstudies has confirmed that once they are detected,
          The police, meanwhile, reopened the investigation sparked        most convicted offenders never sexually reoffend.
     by the first boy, which resulted in an additional corruption                There is no simple explanation for what triggers such
     charge. Authorities also pressed the second boy for more              behaviors. Pedophilia is part of the answer, although only about
     information, which turned up new accusations of oral sex and          40 percent ofconvicted sex offenders meet the diagnostic criteria
     masturbation, bringing even more serious criminal charges.            for the disorder, which is characterized by an intense, recurrent,
     In December, the district attorney held a televised press confer-     and involuntary sexual attraction to children, and which may
     ence asking for anybody else whose child may have had contact         have biological origins in some cases. Pedophiles have been
     with Eugene to come forward. "It's a sobering warning to all          shown to be shorter on average and are more likely to be lefl:-
     parents in our community," he said. "Knowwho your children            handed, aswell as to have lower IQs than the general population.
     are with, because. predators like this are out there."                Brain scans indicate that they have less white matter, the con-
                                                                           nective circuitry in the brain, and at least one study has shown
                                                                           theyare more likely to have suffered childhood head injuries
                                                                           than non-pedophiles.
                                                                                 Whatever its source, researchers emphasize that pedo-
     a use. ong s rou e m s1 ence, 1t egan to emerge rom the               philia refers only to an attraction to minors, not to a behavior.
     shadows in the 1980s, as an increasingly confessional culture         "There are people who have the disorder of pedophilia but do
     spurred survivors to speak out. For the first time, both its preva-   not molest children," says Jill Levenson, an associate professor
     lence and its adverse effects became                                                                 ofsocial work at Barry University in
     apparent. The pendulum of public                                                                     Florida who treats and studies sex
     concern swung hard in the direc-                                                                     offenders. "I've certainly met people
     tion ofindignation, as sexual abuse                                                                  who have resisted acting on these
     went from being largely ignored to                                                                   sexual interests because they know
     intensely condemned.                                                                                 it's wrong, they don't want to harm
           A series of sex-offender man-                                                                  children, and they understand how
     agement policies were instituted                                                                     it will affect their own families and
     across the country, mostly in                                                                        the families ofvictims."
     response to a few grisly, sexually                                                                         For most sex: offenders, the
     motivated child abductions and                                                                       impulse to abuse emerges from a
     murders that captured headlines                                                                      murky tangle of environmental,
     and terrorized parents. Such crimes                                                                  social, and psychological threads
     are exceedingly rare, yet the extreme                                                                rather than, or in addition to, pedo-
     fear they provoke made it easy for                                                                   philia. Levenson points to alcohol
     policy makers to create public sex                                                                   abuseasameansofcomparison. "We
     offender registries and pass ever-                                                                   know that not every person convicted
     tightening restrictions on offend-                                                                   of drunk driving meets the criteria
     ers in the hope that these strategies                                                                for alcoholism," she says. "There are
     would make children safe.                                                                            people who might have a lapse in
           Critics contend that such poli-                                                                judgmentormaybe a discrete period
     cies have fueled a mostly unwarrant--                                                                in their life where they were using
     ed fear of strangers, and obscured the visibility of sexual abuse      too much alcohol to deal with their problems. The same is true
     where it primarily occurs: in95 percentofidentified cases, at the     with sex crimes. There area variety ofreasons why they happen,
      hands ofsomeone trusted and well known to the victim; a third         and not all of them are about sexually deviant interests."
      of the time, by a member of the child's own family. "Sex offend-            One such reason is that many abusers suffered sexual abuse
      ers are in fact people all around us," says Elizabeth Letourneau,     themselves as children, which can act as a conditioning experi-
      director ofthe Moore Center for the Prevention ofChild Sexual         ence in their sexual development. Others have behavioral regu-
     Abuse at Johns Hopkins University. "It's very easy to call them        lation problems, and their compulsiveness can extend toward
     monsters, but doing so literally blinds us to when the people in       child abuse if the situation presents itself, even if they are not
      our lives are engaging in inappropriate behaviors."                   normally attracted to children. And many, research has shown,
           Critics also claim that the safeguards have fueled the           have pronounced feelings of humiliation, rejection, inadequacy,
      misperception that sex offenders are uniquely unstoppable. In         fear, guilt, and low self.esteem, and they abuse as a maladaptive
      reality, recidivism rates for sex offenses are lower than for all     way ofdealing with their own painful emotions.
      other major types of crime and much lower than commonly                     "There's often a cascade of negative events," Letourenau
      believed. The Department ofJustice has found that only about          says. "We see this with teachers a lot, where things are going
      3 percent of child molesters commit another sex crime within          poorly in other areas oflife, and something causes them to doubt
      three years ofbeing released from prison, and.meta-analysis of        their self.worth, and then they're spending more and more time

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with kids who have this unqualified adoration and caring for              He may start creating arguments in his head that it's OK to put
them, and they convince themselves they're falling in love. It            himself in situations with kids or to prepare children to be more
doesn't seem to be a preferential attraction. Circumstances arise         comfortable around him in what would otherwise be awkward
that are very idiosyncratic to a particular situation."                   situations. Witheachstep,hemoves toward offense behavior. Most
     As his troubling urges brewed, Eugene was too ashamed to             are able to identify a point at which there's a fork in the road."
breathe a word about them to anyone. The only silver lining afl:er              Unlike other kinds of risky behavior, however, the secret
his arrest, in fact, was that he finally felt free to open up. He saw a   nature oftheir attraction leaves no opportunity for intervention,
clinical psychologistfor six months, duringwhich time he came             let alone empathy for whatever internal struggle they may be
to realize that while he still loved Evelyn, they had grown apart         engaged in to control themselves. What's more, the profound
to the point ofleading parallel lives, leaving him emotionally            stigma that surrounds sexual attraction to children actually
adrift. He recognized how the firm institutional boundaries of            ends up abetting the very behavior it stigmatizes; amounting to
the military and the church had kept him from crossing a line             a catch-22 with abhorrent consequences. "People with a sexual
earlier, whereas as a flight instructor he was faced with a level of      interest in children don't have any reality check to bounce up
proximity and privacy with kids that he had never experienced             against," Flinton says. "We engage in sexual decision making, as
before. Theirinnocent admiration of him as a talented pilot felt          with any decision making, by communicating and interacting
intoxicating. Perhaps most important, he examined his upbring·            with others about our dilemmas. But these people are totally iso-
ing in a strict, religious family and the deep insecurity instilled       lated, which only increases their risk ofacting out. They beco111e
by his verbally and emotionally abusive father.                           entrenched in a double life that's hard to escape."
       "I was only afforded time to                                                                           The isolation is ultimately more
scratch the surface, but it was very                                                                     dangerous than the feelings them-
helpful," he says. "I wish I'd known                                                                     selves, says Joan Tabachnick, co-
even asmall partofwhatl learned in                                                                       chair of the prevention committee
my brieftime in counseling before I                                                                      ofthe Association for the Treatment
did what I did."                                                                                         ofSexualAbusers: "Sexabusethrives
      Levenson says that while                                                                           in isolation, and shame sets the isola-
there are countless routes to sexual                                                                     tion in concrete," she says. "Ifwecan
offending; and the majority of men                                                                       begin to breakapartthatshame and
with low self.worth are certainly not                                                                    isolation, we'll be much more likely
destined to become child molesters,                                                                      to intervene earlier in the cycle. The
there's often a common denomina-                                                                         environment that allows sex abuse
tor in men who feel fundamentally                                                                        to thrive would be eroded."
bad about themselves and go on to
develop close emotional connec-
tions with minors.
      "Many don't have very good
avenues for self-esteem, and they                                                                            IN MARCH 2010, Eugene
seem to fall in love with a particular                                                                  appeared before a judge at the
child who makes them feel special                                                                       county courthouse and accepted a
andimportant and doesn't have                                                                           plea agreement. He was sentenced
the same kinds of expectations and                                                                      to eight to 20 years in prison. He
judgments an adult would," she says. "I'm not excusing or con-            was also designated a sexually violent predator-based on a
doning it, but it's important to realize that the pathway is really       12-minute interviewwith a forensic expert-which means that
similar to the way the rest of ils experience relationships. It's         after his release, at age 73 at the earliest, he will be on the sex
about emotional intimacy that gets sexualized."                           offender registry for the rest of his life.
      Most offenders are stopped only after they've careened all                Gathered in the courtroom were his family and friends,
the way down that path and children have been harmed. The                 including fellow pilots and Methodist clergy who had known
challenge from a prevention perspective is both to recognize              him for decades and who testified that while his crimes were
that arriving at that point is not inevitable, and to offer secure        indefensible, and their hearts ached for his victims, the Eugene
off.ramps before they get there.            ·                             they knew was a fundamentally virtuous person who had done
      "Things don't 'just happen,"' says Charles Flinton, a foren-        incalculable good in the six decades prior to his offenses and had,
sic psychologist in San Francisco who provides court-mandated             one friend said, a "deep desire to defeat this illness." The last to
therapy to sex offenders and conducts evaluations to determine            stand and speak on his behalfwas Evelyn.
their risk status. "It builds up over time. Let's say somebody finds            "I could have easily abandoned my husband, like some
himself sexually attracted to children. He may start by looking           would," she said. "Our family stands by his side today because of
at magazines or catalogs with kids in bathing suits. He's a little        a lesson I have learned in life. We all make mistakes. We all have
nervous, and then he becomes desensitized to that nervousness.            compulsions. We all have a side of us that we're afraid to show

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     others, and we all need compassion and forgiveness."                at pictures ofchildren in bathing suits in a Macy's catalog,' that's
           The dense mass ofstigma surrounding sexual abuse not only     not usually somethingthatwould have to be reported," Levenson
     deflects compassion for potential abusers butit erects particular   explains. But the actual details about what requires a report-in
     barriersthatpreventthemfromgettinghelp. Levenson surveyed           many states, an identifiable child has to be endangered-tend
     convicted offenders about these barriers, and "the first thing they to be overlooked within the overall climate of vilification and
     say is that they really had no idea where to go," she says. "They   punishment, she says. People are terrified to admit to anything,
     see all these public health announcements: 'If you have a drug      whether or not their admission would reaily necessitate a report.
     problem, or a gambling problem, or you think you have HIV,          "There are absolutely people who have started down the road
     call this number.' But you never see a bus go by with an ad that    of offending who want to stop," Letourneau says. "They don't
     says: 'If you're concerned about your attractions to children,      get help, because between mandatory reporting and lifetime sex
     call this number.' Another reason is the very shame and fear of     offender registration, the consequences are too much to bear."
     judgment-'Iflopen up and tell somebody, whataretheygoing - ~                                   ·
     to think of me?'"
           People attracted to juveniles also internalize the message
     that they can't be cured. "When they opert a newspaper or turn
     on the TV, they hear the same message that you and I do-that        vention approach to sexual abuse might look like, many point
     sex offenders are monsters who will always reoffend," Levenson      to an initiative in Germany called Prevention Project Dun-
     says. "Are there people who are attracted to kids? Yes. Can we      kelfeld. Begun in 2005, the program aims to prevent abuse by
     change that attraction? For some,                                                                 offering anonymous treatment to
     no, although they can choose not to                                                               people who are sexually attracted
     act on it. But if somebody believes                                                               to pubescent and prepubescent chil-
     he can't be cured, he's not going to                                                              dren. The program is advertised in
     ask for help."                                                                                    slick niedia campaigns. In one TV
           The final obstacle cited by                                                                 spot, a series of masked men in
     almost everyone is the very real                                                                  varied dress-a suit and tie, a track-
     fear oflegal consequences. Manda-                                                                 suit, a grandfatherly sweatervest-
     tory reporting legislation requires                                                               recite a script .of internal dialogue:
     certain licensed professionals,                                                                   "It's obvious what you think of the
     including doctors, teachers, psy-                                                                 likes of me. Sicko! Pervert! Scum! I
     chotherapists, and social workers,                                                                thought so too. In therapy I learned
     to report suspected cases of child                                                                that no one is to blame for his sexual
     abuse or neglect to child welfare                                                                 preference, but everyone is respon-
     authorities. The laws are federally                                                               sible for his behavior." The last man
     mandated, and although they differ                                                                removes his mask, revealing a typi-
     somewhat among jurisdictions, the                                                                 cal looking guy. "I don't want to be
      intent and requirement are the same                                                              an offender!" he says.
     everywhere and have a clearly good                                                                      Over 5,000 people have come
      purpose: to protect children from                                                                forward seeking services, and there
      harm. In many states, the failure to                                                             are now 11 Prevention Project Dun-
     repords a misdemeanor punishable                                                                  kelfeld clinics in Germany, which
      by imprisonment and fines,                                         use cognitive behavioral methodology to teach clients how
            Mandatory reporting laws are credited with facilitating a    to control their sexual impulses. The clinic also offers psycho-
      decrease in all kinds of abuse and neglect over the past several   pharmaceutical interventions, including, when needed, tes-
      decades. In the case of sexual abuse, however, they have had       tosterone-lowering medication that dampens sexual appetite.
      the inadvertent effect of making it very hard for someone who      The project's initial results are based on very small samples but
      is attracted to children, and who may even be inching along        appear encouraging: Participants have been shown to experi-
      the pathway toward abuse-by looking at child pornography,          ence improvements in their self-regulation abilities and decreas-
      for instance; or touching a kid's thigh, as Eugene did-to ask      es in attitudes that support sexual contact with children. More
      for help without risking the infamy of being identified. "Self..   critical, Letourneau says, is what's indicated by the sheer fact of
      preservation steps in," Levenson says. "Even if they've never      those who've reached out for support: "That you have this group
      acted on them, men who are concerned about their attractions       of people who may have been white-knuckling it themselves,
      are reluctant to seekcounseling, because they're afraid they're    and who are willing to identify as wanting and needing help,
      going to be reported." .                                           supports at least the promise of prevention."
            Even admissions that fall within thelimits ofconfidentiality
      in psychological treatment are seldom voiced because ofconfu-
      sion and fear. "Ifsomeone comes in and says, 'I've been looking             SYMPATHY FOR THE DEVIANT continued on page 86

     66 Psychology Today November/December 2015                                 THER/\PISTS: Intemttdin receivi11gC011timiingEdcrtditforrrading t/Jisarticle?Visit NBCC.arg
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SYMPATHY FOR THE DEVIANT continuedji'Oln page 67                          goal is to prevent victims. You have to get these guys in the door
                                                                          to be able to do that."
      Controversially, however, there are no mandatory reporting
laws in Germany, so even someone actively abusing an identifi-                 AFTER HE WAS SENTENCED; Eugene spent two years in
able child can get help and remain anonymous. Nobody seri-                a county jail before being moved to a large state penitentiary.
ously proposes doing awaywithmandatory reporting in the U.S.,             Evelyn travels two hours to visit him there once a week, and on a
although some think it should be modified to encourage people             dazzling summer morning, I went along with her. We drove on a
to get help much earlier in the offense trajectory. But even ifhdp        narrow road lined with strip malls and industrial facilities until
were possible to pursue, it's unclear where one would get it. As          we arrived at a vast expanse of manicured grass and dogwood
Levenson points out, there are no public service announcements            trees that brought to mind a college campus. At its center was a
pointing to resources for dealing with such urges. And mental             complex ofboxy buildings surrounded by towers ofbarbed wire.
health professionals, fuzzy about theirown legal obligations and               Eugene, in a maroon jumpsuit and wire-rim glasses, beamed
nervous about their liability, have been known to shirk potential         when he walked into the visitation room and saw Evelyn. They
clients who want therapy.                                                 kissed and hugged tightly. "He's still the same person I married33
      "A lot of sex offenders I've worked with knew they had a            years ago, the same person i know and love," she said. "Justthefact
problem before they acted out illegally; they sought assistance           that we can talk about what happened is a step in the right direc-
and were turned down," Flinton says. "Therapists reject them,             tion. Ifwe're not able to talk about it, there's no way to change."
saying, 'I can't work with you' or 'You can't tell me this.' It's infu-        They made the rounds of the room's vending machines
riating, really, because a crime could                                                                  to gather their usual visiting day
have been prevented, and these guys                                                                     provisions-pretzels, chips, shrink-
could have ended up living produc-                                                                      wrapped deli sandwiches, sodas-
tive lives."                                                                                            and we settled into a corner to eat.
      In recent years, Flinton has                                                                      Eugene spoke with enthusiasm
himselfbeen contacted by more and                                                                       about his job as an inmate assistant
more men in this position: "They                                                                        in the prison's sex-offender therapy
call me saying, 'I'm having sexual                                                                      program. Having completed the
fantasies about children, and I don't                                                                   program himself, he now works
want to-what do I do?' Or it's often                                                                    with a staff psychologist several
their wife or girlfriend who calls out                                                                  days a week, helping facilitate group
of concern. They say their partner                                                                      sessions in which other offenders
isn't really present, that he's missing a                                                               detail their offense trajectories,
lot offamily time or spending hours                                                                     do exercises to cultivate empathy
a day looking at pornography and                                                                        for their victims, learn behavioral-
seems to be building a double life."                                                                    modification techniques, and craft
       In 2013, Flinton opened a Bay                                                                    relapse-prevention plans. In listen-
Area clinic called the Blue Rock                                                                        ing to their stories, and ruminat-
Institute. Although the clinic has                                                                      ing on his own, he has developed
received only about 100 clients so far,                                                                 a certain zealousness for the need
it represents a hopeful example of                                                                      to reach people before they do the
what proactive prevention ofsexual                                                                      things that land them in prison.
abuse could look like. While vigilant about making mandated                    "I take full responsibility for my actions," he said. "Yes, I
reports when required, the clinic primarily reaches men who               am a sex offender. Yes, Ilivewith this desire and will live with it
describe deviant fantasies, but who haven't yet crossed the line of       forthe rest ofmy life. But surely it must be possible to construct
illegal behavior. The treatment model is very similar to interven-        some sort of framework of help for men like me that does not
tions for addiction: As with substance abuse, Flinton explains,           end with victims and prison."
sexually abusive behavior is often something people engage in                  One place where such a framework is being attempted is
to suppress negative feelings. The clinic's therapeutic focus is on       in his own church. Eugene's face reddened and tears glazed his
addressing the underlying source ofthosefeelings, many times in           eyes as he told me about a recent phone call with a church officer
family dynamics or earlytraumaticexperiences, as well as on help-         in charge of an effort to extend confidential support to clergy
ing people work past their shame, comprehend how distorted                coping with an attraction to children-an effort that was galva-
thought patterns can reinforce unhealthy sexual behavior, and             nized in the eye-opening aftermath ofEugene's transgressions.
learn how to meet their needs in healthy ways.                            The church officer told him thata ministerandaministry student
       "We want these guys feeling safe to look at themselves and         had recently come forward for counseling. "Hearing that makes
understand their problem," Flinton says. "They often have a lot           this all worthwhile," Eugene said. "Ifmy story can in some way
of internal strengths. It's about identifying those and capital-          help prevent some terrible offense, then the journey has been
izin on them w ·             ·       ·    he men accountable. Our         worth it." [ii
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                          Exhibit 4
                     Dr. Cohen's
                        Evaluation
4
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Longwood, FL 32779                                                           RobynJ. Cohen, PhD
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               CONFIDENTIAL PSYCHOLOGICAL EVALUATION AND REPORT

Patient Name: Andrew Ryan Leslie
DOB:              (21)
Case Number: 3:16-mj-1265-MCR
Primary Language: English
Handedness: Right
Education: High School (12 years)+ IT technical school
Examiner: Robert E. Cohen, PsyD, ABPP, Rehabilitation Neuropsychologist
Referral Source: Mark Rosenblum, Esq., Assistant Federal Defender
Date ofEvaluation: 12/13/16
Location: Nassau County Jail, Yulee Florida
Date of Report: 1/9/18

BACKGROUND INFORMATION: Mr. Andrew Ryan Leslie is a 21-year-old Caucasian single right-
handed man, referred for an evaluation by defense counsel to assist in understanding his two charges of
production of child pornography (CP). He was arrested after Homeland Security received information
that an JP address belonging to Mr. Leslie was hosting a website whose primary purpose was the
viewing and distribution of child pornography. Later it was determined that he was also producing and
distributing child pornography after finding videos that he produced in the possession of another CP
collector. Mr. Leslie pled guilty to charges and has been cooperative in providing information to help
find other perpetrators. He has been housed at the Nassau County Jail since his arrest on October 181h,
2016. He has not engaged in any oppositional or problematic behaviors towards other inmates or staff
since his arrest. All information for this evaluation was provided by his federal defense team, a clinical
interview with the client, and integration of acquired psychological/neuropsychological test data.

RECORDS/EVIDENCE REVIEWED: United States District Court Middle District of Florida
Jacksonville Division - Indictment Report filed 10-27-16; United States District Court MiddleDistrict of
Florida Jacksonville Division - Criminal Complaint 10-18-16; Prosecution Supplied Packet Summary
including Criminal History Print Out of Client, Search Warrant, HSI Report 7/27 /26, Florida DAVID
printout, HSI report dated 10/21/16 (Criminal Arrest of Andrew Leslie), 10/24/16 (initial investigation
of client and his online activity), 10/31/16, and HSI investigative report detailing seizure of property and
evidence and other related evidence produced by prosecution and provided to defense; ESE report and
codes; Middleburg High Official Transcripts; Primary Care Medical Records from Dr. Bala S. Munipalli
5/11/16 and 9/21/16; Focus School Software Company- Software Engineer Employee Verification
11/14/16.

ASSESSMENT PROCEDURES: Review of all available records; clinical interview with the client
including Sexual History Questionnaire; Test of Memory Malingering (TOMM); Dot Counting Test
(DCT); Wechsler Adult Intelligence Scale - (WAIS -IV); Montreal Cognitive Assessment (MoCA);
Wide Range Achievement Test - Fourth Edition - Reading Subtest (WRAT-4); Rey Complex Figure
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Test (RCFT); Psychopathy Checklist - Revised- 2nd Edition; Structured Inventory of Malingered
Symptomology; MMPI-2RF (Minnesota Multiphasic Personality Inventory- Second Edition
Restructured Format); Beck Depression Scale- 2nd Edition (BDI-11), Beck Anxiety Inventory (BAI).

DEVELOPMENTAL/ACADEMIC/PSYCHOSOCIAL HISTORY: Mr. Leslie reported that he was
born in Jacksonville, Florida to Sharon Leslie and John Ackerman on January 16, 1995. He was raised
by his mother and did not meet his biological father until he was 12 or 13 years of age. He is an only
child but has one younger and one older half-siblings (one eight-years older half-brother James, and a
two years' younger half-sister Kori) by his father's first marriage. Mr. Leslie denied any history of
physical, sexual, or repeated verbal abuse. Mr. Leslie stated that his childhood was a happy one and he
denied being abused or bullied by classmates at school. Review of his school records revealed that in
1998 (age 3), Mr. Leslie was identified as Developmentally Delayed (Ages 0-5) in the area of language
and speech and was placed in Exceptional Student Education that year. He was dismissed from the
language impairment program a year later in 1999. By age 6 (2001 ), he was dismissed from the
Developmental Delay ESE program and by age 9 (2004), he was dismissed from the Speech Impaired
ESE program, resuming all regular curriculum at that point. He reported that from the third up through
the seventh grade, he was engaged in intensive reading and remedial math. Mr. Leslie tested out at the
end of the seventh grade. Review of his high school transcripts reveals that he was placed in in dual
enrollment in advanced English Literature and advanced central computer classes at St. Johns State
College. He graduated with a standard diploma with a weighted GPA of 3.412 and a class rank of
95/403. Mr. Leslie reported a specific interest and strength in computer programming. Extracurricular
activities included the Technical Student Associates and Skills USA Computer Club. Mr. Leslie denied
any specific behavioral problems at school including violence, truancy, or any illicit substances.
However, he admits that on weekends, he occasionally consumed alcohol with his friends. He denies
ever being suspended. He reported that, "I hung out with pretty much everyone like the goths, the
wrestlers, the band members". After graduation in May 2013, he obtained a job at Focus School
Software an IT company as a software engineer, in August of2013 until October 17th, 2016 (the time of
his arrest). An employee verification form indicated that Mr. Leslie worked remotely at his home with
an ending salary of $50,400.00. He is not eligible for rehire according to documentation. He also baby
sat children for free in his neighborhood during that time frame.

He engaged in "peeping tom" activities of watching his younger sister who was 9 and he was 11. He
started watching pornography at age 8 while surfing online and he began masturbation at the age of 9, at
the frequency of 1-2x a day. Mr. Leslie stated that he began to develop a pornography addiction at an
early age. He first viewed child pornography at age 10 and his last viewing of child pornography was the
night before his arrest. He has never purchased CP but reported that he traded videos online with others
and with another individual whom he travelled to Tennessee to meet in person. He confided that while
he did not have problems with bed wetting, he enjoyed wearing diapers and children's panties between
the ages of 8 and 12. He stated that he would take them from kids in the neighborhood as he was playing
with them at their home. Mr. Leslie reported that his first sexual encounter was at age of 13, when he
fondled a family friend's infant daughter while changing her diaper.

His first time of sexual intercourse was at age 19 with female of similar age and has since had a total of
three reported sexual encounters (intercourse) with individuals of legal age. He admits to one
                                                                                                     AL      2
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homosexual experience with a similar aged man. That same year he recalls engaging in sexual
intercourse with a 2.5-year-old toddler that he was babysitting. He freely admits to inappropriate sexual
contact with underage children. He reported that he made about 10 pornography videos and took at least
150 pictures. He reported having at least 1 gig worth of child porn stored on his personal equipment. He
stated that he felt "bad" about engaging in sex acts with children less than five years old but felt "less
bad" about children aged 10 and up since he believed it was more consensual. Initially, he became
interested in children aged 6-10 but then, as he desensitized to the content, his age interest widened to
children aged 0-12. In total, Mr. Leslie reported the following victims 1) a nine-year-old- daughter of a
women he was dating, 2) and her seven-year-old sister, 3) a five-year-old, 4) 5) and 6) three- two-year-
old toddlers, 7) three babies (ages 0-6 months old), and 8) a four-year-old boy. Mr. Leslie admitted that
he sometimes scolded the children when they did not do what he wanted. Mr. Leslie also admits to
watching and downloading other forms of pornography including bestiality, S&M, pregnant women,
golden showers and others. He admits to engaging in sexual acts with canines on more than one
occasion. Mr. Leslie stated that as a young teen, he realized he had sexual feelings toward other
children. He felt confused and guilty. He reported, "There is nowhere to go and no one to talk to about
having these urges and feelings without fears of getting in trouble or being seen as a monster".

He reported to this examiner that he informed a close friend/ex-girlfriend, Kennedy (similar age) that he
was engaging in these acts. According to Mr. Leslie, he and Kennedy dated and were minimally
sexually active. He stated that she herself was a victim of sexual abuse as a child. She would send her
pictures of her kids and then watch him masturbate to them. However, Kennedy did not allow her own
children to be molested by Mr. Leslie. He reported to this examiner that he loves all the children he has
molested and that he cares about their lives more than his own. He reported that he would like to be a
parent himself one day, specifically as a mother after he has his sexual reassignment.

LEGAL IDSTORY: Prior to the current charges, no legal history is documented.

MEDICAL IDS TORY: According to brief primary care records, he has a history of acute bronchitis,
chronic back pain (received physical therapy), hand pain (received nerve conduction studies), and
seasonal allergies. There is no surgical history.

FAMILY IDS TORY: Cancer, Type I diabetes, Heart Disease, hypertension.

CURRENT MEDICATION: He has been prescribed Prozac 20mg (for depression) and Risperdal 0.5
mg for intrusive thoughts.

PSYCIDATRIC/PSYCHOLOGICAL IDSTORY: Mr. Leslie reported that at an early age (between 5
and 8), his parents knew that he enjoyed pretending he was a girl and verbalized that he did not like
having a penis. He stated that his parents were relatively supportive/non-judgmental about this. His
stepmother Robin and Mr. Leslie have a relatively close relationship. He has confided in them that he
was hoping to obtain a sex change in the future and that he had a referral and appointment to see a
transgender pre-op psychiatrist specialist the day of his arrest. Mr. Leslie reported that he first became
aware of bouts of sadness/depression starting at age 9 or 10. According to review of a medical office
visit with Dr. Bala S Munipalli, Mr. Leslie was formally diagnosed with depression in 2011. His
                                                                                                     AL      3
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symptoms included short bursts of chest pain lasting 10 seconds to 2 minutes. He does not clearly meet
the criteria for panic attack or panic disorder. His depressive episodes lasted a few weeks and have led to
suicidal thoughts (without plan or attempt) first reported at age 10 and again at 15. By age 15, he had
been treated briefly with Prozac but did not remain compliant since he reported feeling better off the
medication due to side effects. He reported to his primary care doctor that he was experiencing
generalized weakness and memory loss due to poor sleep, significant weight reduction, relationship
issues with his girlfriend over a six-month period. After moving out, his mood improved and he gained
weight back. Currently, Mr. Leslie reported that the Risperdal minimizes his intrusive thoughts about
sexual acts on children. At the time of his evaluation, Mr. Leslie was on solitary confmement (for his
safety) and was on suicide watch after telling the jail therapist that he was planning to kill himself.

BEHAVIOR OBSERVATIONS: Mr. Leslie was brought to the testing area by a guard and he
presented as alert and oriented, dressed in a green self-protection suit since he was currently on suicide
watch. He was a man of shorter stature, thin build, long brown hair, acne, and he wore glasses. Mr.
Leslie had painted toe nails and his finger nails were trimmed low for self-protection. His teeth were
brown. Mr. Leslie's mood was bright and euthymic without evidence of depression or anxiety. He
denied current suicidal ideation and stated that when he thinks about the rest of his life behind bars, he
becomes hopeless. He was pleasant, and very cooperative with the evaluation, making no complaints or
verbalizations outside of what was being asked. His eye contact was appropriate. His speech was
slightly pressured and revealed reciprocal conversation. Mr. Leslie seemed of at least average
intelligence. He was not overly guarded and did not appear to dodge any questions or topics. In fact, he
was extremely candid and forthcoming about his previous behaviors and sexual acts. Mr. Leslie stated,
"I am actually really happy to tell you all of this and get it off my chest ... ! want to know why I did what I
did'. Mr. Leslie reported that he was most interested in knowing how he was caught. He believes that
his making of his website and then attempts to make a "porn stars listing index" to help others find the
child porn star they wanted, may have been the final straw. He stated, "the thing I am most sad about is
hurting the kids .. .I never meant to hurt them ... I am also sad about being stuck in jail forever." Mr.
Leslie only verbalized his understanding that "harm" to the children was from a physical stand point
only and not from an emotional or psychological standpoint. He seemed honest and genuine in his
presentation. Mr. Leslie's memory for recent events seemed adequate and he did not exhibit any obvious
neurological signs of impairment. There was no evidence of manipulative behavior, obvious
inconsistencies with the records, or impression management noted. He appeared to put forth effort on all
measures during our five-hour visit.

TEST RESULTS

ASSESSMENT OF EFFORT: Mr. Leslie was administered the Test of Memory Malingering (TOMM)
and the Dot Counting Test (performance validity indicators), of which there was no evidence of poor or
low effort. On the Structured Inventory of Malingered Symptomology (SIMS), he did not endorse an
elevated number of infrequent symptoms suggestive of malingering. On Minnesota Multiphasic
Personality Inventory - 2nd Edition, Restructured Format (a measure that includes several symptom
validity indicators), Mr. Leslie endorsed many psychiatric and neurological symptoms but these are
relatively consistent with his history and his current mental state and predicament. He did not reveal
concerns of inconsistency in reporting, guardedness, odd or unusual symptoms, or portraying himself in
                                                                                                         AL   4
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a non-genuine light (feigning cognitive symptoms nor under or over-reporting of psychiatric or
neurological symptoms). Given his behavioral presentation, clinical history, and review of the records, it
is believed that the results below can be viewed as a valid portrayal of his neuropsychological
functioning.

COGNITIVE STATUS EXAM: On the Montreal Cognitive Assessment (MoCA), a composite
screening of global cognitive functioning, Mr. Leslie obtained 27 out of 30 possible points (2:. 26 is
considered a normal score,+ 1 point added for educational adjustment). No obvious deficits were
revealed in visuospatial functioning, naming, repeating, verbal fluency, immediate simple attention, and
orientation. There were minor short-term retrieval deficits and with prompting he obtained more
information. He was oriented to person, place, time, and current station in life. On the RCFT, Mr.
Leslie's ability to copy and organize a complex two-dimensional figure was in the average range.

CURRENT INTELLECTUAL FUNCTIONING: On a measure of intellectual functioning (WAIS-
IV), Mr. Leslie' Verbal Comprehension (an index made up of subtests assessing his fund of word and
factual knowledge and his ability to verbalize abstract concepts) was in the average range compared to
 others his age. His Perceptual Reasoning (an index made up of subtests measuring timed and un-timed
 visuospatial reasoning and problem solving) was also in the average range. The difference of four points
 between his VCI and PRI on the current assessment was not statistically significant. His Working
Memory Index (an index made up of tests assessing his immediate auditory attention and his ability to
 utilize his visual sketchpad) was in the low-average range and his Processing Speed Index (an index
 measuring his speeded processing, decision-making, and graphomotor speed) was in the superior range
 compared to others his age (and a relative cognitive strength). Mr. Leslie' Full Scale IQ, was in the
 average range (FSIQ SS = 100, 50%ile) compared to others his age. These scores are consistent with his
 academic background and occupational success.


                                          Composite             Percentile              Confidence              Qualitative
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                                                                    11                  63
  Information                                                        8
                                                                  Scaled
                Subtest                                           Score                Rank




                                                                                                                                                AL   5
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 Visual Puzzles                                                                                                          .1::,.":.."'.:',''::"::.,.'.c:·".:·.:···Jcc·::Tc
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PSYCHOLOGICAL TEST RESULTS: On the Psychopathy Checklist- Revised- 2nd Edition (PCL-
R), Mr. Leslie was engaged in a guided interview honing in on his life history and how he has engaged
with others. The PCL-R attempts to predict psychopathic and antisocial traits by honing in on trends of
behavior that predict these diagnoses. This information, in addition to other sources of data, were scored
on a 0-2 scale (0 = no evidence exists or no offenses in a particular category, 1 = maybe or minor
offense in a particular category, and 2 = Yes or major offense in a particular category). Mr. Leslie's
overall score was a 7 out of 40 points suggests no real concern of psychopathic tendencies or clear
pattern of antisocial behaviors as defined by this scale. While his behavior of pedophilia is culturally
and legally reprehensible, it is not globally manifest in other areas of his life to suggest psychopathic or
sociopathic tendencies. Consistent with his history and presentation, Mr. Leslie has no history of
glibness/superficial charm, a grandiose sense of self-worth, routine pathological lying, lack of remorse
or guilt, shallow affect, lack of empathy, a parasitic lifestyle, early behavioral problems, significant
irresponsibility (as defined by the manual), failure to accept responsibility, juvenile delinquency, or
criminal versatility. He does have characteristics of being moderately prone to boredom, mildly to
moderately impulsive, has a questionable sense of empathy, and promiscuous sexual behavior.

On the BDI-II, a questionnaire examining cognitive and somatic/physical symptoms of depression
experienced over the last two weeks, Mr. Leslie endorsed 29/63 points (moderate to severe symptoms).
This is consistent with his presentation ( on suicide watch) as well as his current predicament. He
endorsed sadness, pessimism, feelings of failure, loss of pleasure, feelings of guilt, feelings of
punishment, self-dislike, self-criticalness, loss of interest, worthlessness, loss of energy and sleep, mild
irritability, concentration difficulties, increased appetite, and significantly reduced libido. He indicated,
"I would like to kill myself". He denied thoughts of harm to others. On the Beck Anxiety Inventory
(BAI), Mr. Leslie indicated severe symptoms (BAI= 26/63) of physiological and cognitive symptoms of
anxiety, endorsing severe symptoms of "fears of the worst happening", and more moderately unpleasant
symptoms of wobbliness in his legs, being unable to relax, heart pounding and racing, fears oflosing
control of himself, and feeling scared. He also endorsed mildly bothersome physical symptoms of
stomach indigestion, having difficulty breathing, hands trembling, sweating and others.

On the MMPI-2 RF, a 338 item true false questionnaire designed to measure psychopathology and
personality disorder, Mr. Leslie answered questions in a very consistent manner without evidence of the
under or over reporting of symptoms nor evidence of a denial of common faults or overt guardedness.
He did endorse that he is experiencing significant elevation in his emotional distress, also consistent


                                                                                                                                                                                                                                    AL   6
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with his predicament, charges, and the clinical interview. Overall, Mr. Leslie provided a profile that can
be interpreted as a reasonably valid indication of his psychological and personality functioning.

His profile revealed that Mr. Leslie is in a great deal of emotional distress and he acknowledges that his
behavior put him in his current situation. His history of major depressive disorder with suicidal ideation
is known. He is very nervous, sad and unhappy to the point of suicidality (T = 100, >99 .99%ile), and he
is experiencing odd, troubling, or strange thoughts (non-delusional) but bordering obsessive/ruminative
in quality. Mr. Leslie has difficulty controlling his depressive/suicidal thoughts and emotions and he
experiences them as intrusive racing thoughts. He states that his use ofRisperdal and Lexapro has aided
in reducing these thoughts. He is not sleeping well due to his current worry and racing thoughts and as a
result, he believes his memory and thinking abilities are slower than usual. Mr. Leslie feels helpless to
control his thoughts and his current situation especially without his use of medication. Feelings and
thoughts of aggression are very low but he is acutely aware of the negative thoughts that others think of
him. As a result, since being in jail, he feels that others would like to hurt him and so he has strong
desire to socially avoid. Overall, these findings are consistent with the clinical interview, behavioral
observations, and history.

SUMMARY OF FINDINGS: Mr. Leslie is a 21-year-old man who is current incarcerated since
October 2016 at Nassau County Jail on charges of child pornography production. Mr. Leslie has a
history of Major Depressive Disorder with suicidal ideation, as well as anxiety disorder with
accompanied chest pain, difficulty sleeping, and shakiness. He has a history of gender dysphoria
wishing for many years to undergo sexual reassignment. Mr. Leslie has taken Lexapro in the past and is
currently on a combination ofLexapro and Risperdal since incarcerated. Mr. Leslie was seen today to
obtain a better understanding of his behavioral and psychological functioning. A lengthy clinical
interview reveals a cooperative but emotionally unstable young man who readily discussed his past
problem behaviors which include pornography and sexual addictions in the relative absence of any
identifiable pervasive developmental delay or early childhood abuse. His identified language and speech
issues appeared to resolve early on and he performed well academically and socially.

Today on testing, Mr. Leslie provided both cognitive effort and no evidence of symptom exaggeration.
In other words, he was genuine and appeared honest in his presentation (as per MMPI-2RF, DCT, and
TOMM results). His intellect tested in the average range and is consistent with his academic
performance. No obvious cognitive dysfunction was measured on today's evaluation. Psychologically,
Mr. Leslie is suffering from worsened mood problems characterized by racing intrusive thoughts, poor
sleep, worry, sadness, helplessness, and general malaise. He does not have a history or current
presentation consistent with elevated levels of psychopathy or antisocial personality disorder and is not
an outwardly aggressive young man. However, Mr. Leslie based on all evidence recovered from his
possession, his verbalized strong sexual interest in only prepubescent children, his engagement in sexual
relations with minors, his creation and distributed child pornography, and repeated patterns of behavior,
a paraphilic diagnosis of pedophilia is rendered. Given his history and current presentation as someone
who is experiencing worsened symptoms of emotional, cognitive, and physical symptoms (as a result of
his emotional disturbance), Mr. Leslie should continue to be followed by psychiatry and remain on an
antidepressant/anxiolytic and atypical anti-psychotic medication to assist in symptom management. I
would also strongly recommend, given his current presentation of cooperation and insight into his
                                                                                                      AL     7
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behavior, that he be engaged in weekly individual therapy to help minimize, as much as possible, to help
control and understand his maladaptive thoughts and behaviors. He would benefit from a federal bureau
of prisons (BOP) sex offender program or a state housing program such as one at Coalinga State
Hospital in California that caters explicitly to the long term treatment of sex offenders.

DIAGNOSES:
   1) Pedophilic Disorder (F65.4)
   2) Gender Dysphoria Disorder (F64.0)
   3) Major Depressive Disorder, with symptoms of anxiety, moderate to severe, with suicidal
      ideation (current at time of evaluation) (F32.0)




Robert E. Cohen, PsyD, ABPP
Board Certified in Rehabilitation Psychology
Licensed Psychologist, FL PY7151
N eurocognitive Consultants of Orlando, LLC

CC:    Mark Rosenblum, Esq, Assistant Federal Defender




                                                                                                   AL      8
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                         United States v. Andrew Ryan Leslie

                           Case No. 3:16-cr-154-J-39JBT




                       Exhibit 5
                          Letters
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                     Marshall

 -
 Butler, TN 37640




  October 11, 2017



   The Honorable Judge Davis U.S. District Court, Middle District of Florida
  Jacksonville Division 300 North Hogan Street Jacksonville, FL 32202



  Dear Honorable Judge Davis,




  I am writing this letter to provide the court with additional information on Andrew Leslie for the
  upcoming sentencing hearing and in hope that it will be helpful to your honor.




  My name is Kimberly Marshall. I am 43 years old. I now live in Butler TN, but resided in
  Middleburg FL for many years. I am disabled from a debilitating disease that requires me to
  have surgery several times a year. I have two girls, one 23, one 17. I have been the
  neighborhood mom for many throughout the years, including Mr. Leslie. All the kids refer to me
  as Momma B.




  I am aware the Mr. Leslie plead guilty to a federal charge. I am absolutely shocked beyond
  belief that this is the same person I love as my own. It breaks my heart to know such a loving kid
  has broken the law.




  Andrew Leslie came into my life through my oldest daughter in middle school. He would come
  to the house and read for hours. He would hang out with the other kids his age and was very
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 well adjusted. Later in high school when I was getting weaker he would show up and help
 me around the house with things I couldn't do myself. He was always a joy to have in my
 home. Since we have moved to Tennessee, he has been to visit and is still part of or extended
 family. He will always be one of Momma B's kids no matter what happens.



 Andrew Leslie is a kind hearted, loving,and caring person. He has came to my aid to help clean
 cabinets when no other kid would. I had to climb on a chair after surgery. Andrew showed up
 and refused for me to do it. He had me sit and direct him on how I wanted everything done. He
. has rescued me from being stranded on side of the road. He has sat and talked to me for hours
  when I was feeling down. He has volunteered to help around my house when I was sick. He has
  ran to the store for me. He has been there to help when no one else would. After I had surgery
  another time Andrew came by and realized I was alone. He sat with me all day till someone else
  showed up making sure I had my drink filled and something to eat. He helped me get up and
  back to the couch when needed and was a blessing to have there. Please consider this when
  you go forward to the sentencing hearing.

  Best regards,




  Kimberly Marshall
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                                                          Sharon L Leslie


                                                          Jacksonville, Fl 32218


  The Honorable Judge Brian Davis
  U.S. District Court, Middle District of Florida
  Jacksonville Division
  100 North Hogan Street
  Jacksonville, Florida 32204
                                                           January 12, 2018


  Dear Judge Brian Davis,


     I am writing you on behalf of Andrew Leslie. My name is Sharon Leslie and I am
  Andrew's mom. I am a 53 year old single mother of 2. I have worked for the USPS for
  the past 31 years. I am currently staying with my boyfriend in Oceanway and I own a
  home in Clay Hill which Andrew's step dad is residing while he is recovering from
  Cancer.
     Now let me tell you about Andrew. On the day he was born I went into labor around 6
  a.m. and was seen by my doctor around 9. At that time i was told to get everything I
  needed taken care of and go to the hospital. By the time I was checked into the hospital
  and the doctor arrived it was 3:30. By 4pm I was being rushed in for an emergency
  C"section due to Andrew being in distress.
      When I returned to work after 2 months Andrew was watched by a babysitter. He
  remained with the same babysitter until he started Jr. High School. Between the ages of
  1 to 3 his vocabulary was only a few words which had his doctor worried. On the
  weekends when he was growing up he would spend time at my sister's house. On one
  of his weekend visits I found out later that his uncle was using him to see how deep the
  holes where. So he would life Andrew and place him in each hole with his arms raised
  so Bruce could see how deep the hole was. On another occasion I was told about the
  girls dressing him in their dresses and performing a fashion show for them. My sister got
  him in 4H and started teaching him to barrel race and we purchased a horse for him. As
  they learned together and started competing they won ribbons together. Until Breeze
  kicked him in the face. When Andrew was 8 his grandparents went on a cross country
  trip and his grandfather suffered a stroke and his grandmother had a cyst burst in her
  back which left her bed ridden and In and out of the hospital until her death on
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  Christmas Eve in 2013. Then when Andrew was 10 him and his brother talked me into
  allowing them to have paintbal! guns. After a few months they decided to go into the
  woods without any adults and play war. David decided that since Andrew wasn't good at
  cocking his gun then he would let Andrew shoot his which was an automatic. Somehow
  David's mask came off and when he yelled for Andrew to hold up Andrew thought he
  was ready and started shooting hitting David in the face. David then chased Andrew all
  the way to my sister's house threatening to kill him. My nieces called me and his dad to
  come quickly. We rushed David to the fire department and then to the hospital leaving
  Andrew with his cousins. After a week in the hospital David was released having lost
  partial sight in his left eye. After starting Jr High he came home telling me about some
  kids bullying him and others in the gym locker room. I wanted to go talk with his
  teachers but he asked me not to. So I contacted his dad and his dad told me the same
  thing. After a few weeks of me being in contact with his dad Andrew started asking
  questions about his dad and if he could meet him. After a couple of weeks they met for
  the first time, it was unnerving how after never seeing each other before how much their
  mannerism and facial features were so much alike. As Andrew started High School he
  had a couple of football players in his computer class which he helped out and when
  they found out about the bullying they made sure no one else bullied him. Also during
  his High School years he asked if he could see a physiatrist. We made an appointment
  with a doctor and Andrew saw them for a few months but discontiued due to he did not
  think she was helping and the meds she had put him on. During his Senior year I was
  sent to see a therapist through EAP and decided it might be good for Andrew also. We
  both saw the therapsit until I switch facilities and Andrew started missing too much time
  from school due to having to drive his self from Middleburg to Southside every week. At
  that time the doctor made some suggestions we do to help him.


       Now for some better things for Andrew, when he was 3 he started PreK3 which
  helped him learn to communicate and taught him sign language and introduced him to
  computers. He seemed to flourished there until the fire alarm went off one day. After that
  it took us awhile to get him to feel safe in class. By kindergarden he had started barrel
  racing which he was excellarating at. After Andrew stopped riding due to him becoming
  afraid of his horse I bought the family our first computer. Andrew already had a
  fascination for computers from school and everyone was telling me he was a natural
  and everyone would need to know about computers. He began diagnosing computers
  for the family, friends and even sometimes the school when they couldn't get the repair
  guys out to fix them. The more time he spent on the computer the more he taught
  himself about computer langauges and repairs, I was worried about him spending too
  much time in his room but I had been the same way myself and his grades where
  staying up. Everyone just kept telling what a natural he was with the computer. During
  his Junior High school years he started competing in TSA and continued thru
  graduation. In Senior High he also began competing in Skills USA where he was taking
   1st place in his competitions locally and state wide all 3 years. During his 1st year
  competing Nationally he took 2nd place in computer repairs and the 2nd year that he
  went to Nationals he took 1st place in computer repairs. During his Senior year
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  competing at Nationals he took 3rd place in Computer Diagnostics. During his Senior
  year also he made it to National Technical Honor Society. During this time he was
  holding down a parttime job with Clay County Property Appraissor's office and he was
  driving other students to and from school so they could also participate in Skills USA.
  After graduation he became full time with the Property Appraiser's office until he
  received a job offer from FOCUS Software in Tampa, Florida . Upon accepting the job
  offer with FOCUS he moved to New Port Richey with his dad and step mother where he
  resided until he purchased his home in Middleburg Florida. After moving back to
  Middleburg he continued to work for FOCUS, now working from home. He has had
  numerous friends and family move in with him when they had no where else to go.
  Some of which I disagreed with but he was always the one to put others ahead of
  himself and always there to lend a helping hand to everyone that needed it.
      After moving into his new home he has taught himself how to cook. And I was
  always proud of him every Wednesday when I would come by and he had found a new
  recipe that he thought I would like (which was no easy feat since I am a really a picky
  eater) and have it ready for me. After I started quilting with Quilting with Compassion
  group he started going with me and learned how to quilt and also fixed a couple of their
  sewing machines. He continued with me every Wednesday night until he let a cousin of
  a friend move in with him that needed a place to stay. She moved In and I understood
  him wanting to help but things seemed to esclate. After she had her baby her brother
  moved in for a while and then her mother. All the while Andrew was the sole support
  even when she was getting food stamps she was using them for herself and her family.
  After months of her living there and lying to him and leaving her chi ld there with him he
  asked her to leave. I helped him pack her and her baby's stuff up and I took him and the
  baby to where she was at and retrieved his car. A few months after that her cousin and
  her family needed a place to stay and called Andrew and he then allowed them to move
  in. Now he had 2 adults and 3 kids living off him. Again I voiced my concerns but he
  stated they were only staying until th ey got back on their feet. After they moved out they
  continued to call him to baby sit and another of their cousins started having him pick up
  her kids cause she was pregnate and couldn't handle them . During all this time I would
  come by every Wednesday bringing dinner for everyone to make sure he was getting at
  least 1 meal a week. We would talk on the phone almost every day . On the night before
  Andrew was arrested we met for dinner at Chik FHA. Up until Andrew's arrest I was
  concerned with everyone dropping their children off so they could do their own thing and
  not have to worry about their kids.

      I know that there is no way Andrew can ever make up to these children any of the
  things that he may have done and I know it is your job to see that he does. I hope that
  you can see that Andrew can be rehabilitated with the proper medical help and
  medicines. I also know that he must pay for the crimes that he has committed. I am truly
  sorry for everything that he has done to his victims and their families but ask that you
  find a way to help bring him back home to me and his family.
                                                             Sincerely,

                                                          ~~~ ~. ,Jki )~
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                                            Mr. & Mrs. Richard G Lundy


                                          Jacksonville, FL 32216-9125


 The Honorable Judge Brian Davis
 U.S. District Court, Middle District of Florida
 Jacksonville Division
 300 North Hogan
 Jacksonville, FL 32202


 October 24, 2017


 Dear Judge Davis,


         I am writing this letter to discuss my relationship with Andrew Leslie. I ~ould also like to explain
 why I believe he can still be a productive and useful member of society.
         I am a 61 year old male, the cousin of Andrew's mother, Sharon Leslie. I served 37 years for the
 City of Jacksonville Fire and Rescue Department, retiring as a district fire chief.
         I understand that Andrew has made a plea of guilty to two charges of sexual child abuse and
 using the children to produce child pornography. I personally am taken back by the seriousness of this
 crime and feel that this never should have happened. I cannot image the pain and horror the parents of
 t hese children must have and are experiencing, in addition to the impact on the children themselves.
         We have known Andrew since he was young seeing him at many family·functions and family get
 togethers multiple times each year. Andrew has always been courteous and helpful. He has helped us
 with questions regarding cell phones and electronics. He has won several awards at major computer
 competitions. I believe he would be an asset to almost any company utilizing computer skills.
         From all my interactions with Andrew he has always been quiet, soft-spoken and appropriate.
 His mother has told us that Andrew has expressed to her his desire to have professional help to change
 his thinking and behavior. Andrew is young and I would believe that with help he can be a productive
 member of so~iety. I would like to see him have a chance at some point in his life to live as normal a life
 as possible. He has a mother, father and brother along with extended family members willing to help
 him.
         Thank you for the difficult job you do.
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                                                              Benjamin M Lundy




 The Honorable Judge Brian Davis
 U.S. District Court, Middle District of Florida
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                                                              Maxville, Florida 32234 .



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 Jacksonville Division
 100 North Hogan Street
 Jacksonville, Florida 32202
                                                            January 7, 2018
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 The Honorable United States District Judge Brian Davis,

    I am writing you concerning n,y grandson Andrew Leslie in his upcoming sentencing. I am an
 83 year old retired truck driver a.nd I live in Clay County. I am aware that Andrew has plead
 guilty and it truly upsets me that he could harm a child in this way.

     When Andrew was growing up he used to help me with programming my remotes and
 televisions. He would go to church with me until he reached high school. At that point l didn't
 see him as much but still called upon when I needed his help and saw him when he stopped by.
 We have gone on two cross country trips in which he would help keep us on the right routes and
 out of bad weather along the way. Over the years I have depended on his for looking up
 information for me and doing any research that I have needed.

    Andrew grew up with his mom, brother and step dad. He used to barrel race when he was
 younger. Then he moved on to spending a lot of time working on his computers and helping
 others when their computers needed attention. I have always felt that his mom was making a
 mistake letting him spend so much tlme in his room and on his computer but in his High School
 years he made us all very proud with his accomplishments in Skills USA at the local, state and
 national levels. Always finishing first in local and state levels and the top 3 at the National level
 with a 161 place finish his 2nd year competing. While in high school he took a part time Job with
 the county and upon graduation he went on to work for FOCUS softwarre in Tampa Florida.

    During the time that he was in Tampa he lived with his father and I didn't get to see him as
 much. Upon his return from Tampa he bought a house in Middleburg and continued to work for
 FOCUS from home. There were times when I didn't agree with his cho1ice of friends. He was
 always there lending a helping hand to whoever needed it if he could help.

    I am very disappointed in the choices he has made and want him 10 pay for what he has
 done, but I do not want him to pay for more than he has done. I ask that he is provided with the
 help that he needs to rehabilitate himself to become a better person I feel like he can be and be
 able to rejoin society.




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                                                                Thomas Wilfrid




 The Honorable Judge Brian Davis
 U.S. District Court1 Middle District of Florida
                                                               -Maxville, Florida 32234




 Jacksonville Division
 100 North Hogan Street
 Jacksonville, Florida 32202
                                                              January 7, 2018



 The Honorable United States District Judge Brian Davis,

    I would like to talk to you about Andrew Leslie. My name is Thomas Wilfrid and I have had
 the honor and privilege of being Andrew's stepdad for the 23 years. I am 62 years old and
 disabled and retired. I became sick 2 years ago with stage 4 cancer in which I lost my left eye.
 He has given me nothing but pride and joy during this time. He is a loving, caring and honest
 young man. He has atways been there helping his family and others. He has always put his
 family and friends first. During the time when I was first diagnosed with cancer Andrew drove
 home from helping a friend out of state back to Maxville so he could take me to the hospital and
 stay with me whne biopsies were being done. He has given me the will to fight and survive.

    He always did well in school and took pride in representing his school in TSA and Skills USA,
 He got a part time job with Clay County Property Appraiser's Office while in high school.
 After high school the job became full time until he was offered a job with FOCUS Sottware
 Company Out Of Tampa Fl were he became a programmer and supervisor. At the age of 20 he
 purchased his first house back here in Middleburg and began working from home. Which was a
 blessing to me when I became sick and he was here to take me to and from doctor
 appointments until his arrest.

     I don't know what happened with the crimes he committed and I am sad for the victims and
 the families involved. But that is not the person that person I know and I know you must seek
 justice for them but I am asking that you seek justice for Andrew also. I feel that there Is an
 illness involved and that he needs help not prison. Please give him the chance to make things
 right and redeem himself and to get the help that is needed. He has never been in trouble
 before. It is to my understanding that he is working with Homeland Security trying to help stop
 this from happening to any other children. Please give us the chance to see that he gets the
 help that he needs . Let him prove to all of us that thls is wrong and that this will never happen
 again. There is so much good ln him, please help him find his way back to u.s.

     I pray for hlrn and the victims and their families as I pray for you to for your help in finding
  justice for all.


                                                                  God bless and thank you,
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                                                                        January 11, 2018


  Dear Judge Davis,

        My, intent for this document, is to provide additional information for consideration
  concerning the sentencing hearing for Andrew Ryan Leslie .

        I am Benjamin Joseph Lundy 58, Andrew's uncle. I live at
  Clay Hill, Fl. 32234. I am currently employed by the Clay County School Board, as a bus
  mechanic. I am Also a 23 yr veteran of the United States Armed Forces.

         Although I Have not been privileged to any of the evidence Andrew was
  convicted of, I understand that Andrew plead guilty to federal charges.

          Andrew, as a child and teen demonstrated respect and compassion others, and
  the ability to determine the difference between right and wrong. Andrew, to the best of
  my knowledge, was always a well-mannered student and maintained good grades.
  During high school, Andrew's main interest was computer science and was a member of
  the Middleburg High Computer Club. After graduation, Andrew moved to Tampa for a
  period. Upon Andrew's return to Clay County, Andrew purchase a home and worked for
  a IT firm.
  Approximately 3 years ago, I began racing go karts and Andrew would attend the races
  with me about twice a month for about a year. During this time Andrew was well liked by
  everyone at the events, and would try to help anyone he could. Andrew stopped going
  to the races when the local track closed.

  In my opinion, it would take a severely disturbed individual to do the things that Andrew
  confessed to, and it is my hope that he receives the psychological help he needs. It is
  also my hope that, the legal system uses the information from this case and Andrew's
  skills and abilities to help stop as much of this type of criminal activity as possible.
 , In closing I would like to express my sincere apology and sympathy to the families
   affected by my nephew1s actions.
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 Linda Swagel                                                                 January 29,   iorn




 Dear Judge Davis



 I am writing this letter to provide the court with information about Andrew Ryan Leslie for the upcoming
 sentencing hearing.

 My name is Linda Swagel, I live in Jacksonville, FL, I work for the U.S. Postal Service, been there for 30 years.
 I am friends with Andrew's mom Sharon Leslie, I have know-her for 30 years,. we work in the same building.
 I've known Andrew since he was born. His mother and I car pooled for several years, I was with
 her when she would drop Andrew off at the baby sitters house and when she picked him up. I've been
 to her home in Middleburg where they lived.

 Andrew has always been a quiet and shy boy, always well mannered and polite. Always did what his
 mom asked of him, always with a yes ma'am or no ma'am response.

 I am aware that Andrew Ryan Leslie pleaded guilty to a federal charge. I was shocked when his mom
 told me what he was chargd with, knowing the Andrew I knew, I couldn't believe it. I know what he did
 was wrong, I do not condone this at all, I know he will have to serve time for his crime, I'm asking the
 court for leniency for his sentencing.




· Linda Swagel
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                                                             William Hough




  The Honorable Judge Brian Davis
  U.S. District Court, Middle District of Florida
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                                                             Jacksonville, Florida 32218


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  Jacksonville Division
  100 North Hogan Street
  Jacksonville, Florida 32202
                                                            January 7, 2018



  The Honorable United States District Judge Brian Davis,

    My name is William Hough and I work as a truck driver for the United States Post Office. I
  am writing on behalf of Andrew Leslie. I have known him through him mom for around 15 years.
  During that time I have had the occasion to meet him and get to know him.

     Over the years he has helped me with my computer when It needed fixing and I have always
  heard good things about him from his mom. I have never heard of him getting into trouble or
  anything else bad about him. Over the years I have become his mom's boyfriend and I helped
  him on his move into the house he purchased in Middleburg. During which time he was always
  polite and very helpful.

      Over the next couple of years I saw the way he helped others and was always there no
  matter what they needed. I have seen him open up his home to friends who had nowhere else
  to go and even go above and beyond for them. I did become concerned when it seemed like
  everyone wanted him to babysit for them so they could all do thelr thing. Even when some of the
  families where living with him he was always the one caring for the kids. My observations were
  always of how much he loved them and was trying to help them. As he was raised to be a kind
  and ioving person I could not foresee anything wrong with that. Yes I am understanding that he
  took the love he had for these children and took it too far and it's not right with what he has
  done. I am asking that you see he has made a very bad choice, but with his age he can be
  redeemed and with proper treatment he can truly learn the difference in between love and what
  is right and wrong. I understand that he is going to do time but ask that you see the real Andrew
  can be redeemed and try to make things right.
USCA11 Case: 18-11183              Document: 17                           Date Filed: 06/08/2018   Page: 94 of 205




  To The Honorable United States District Judge Brian Davis

  The purpose of this letter is about Andrew Ryan Leslie an9 I am hoping and praying that the
  outcome of the decision you will impose on Andrew will be just and linient.

  My name is Danny Del Pilar and I live now at Panama City FL. I am currently working as a Utility
  worker for a transit company . I am 63 years old and have been working far too long as I can
  remember. I have lived in Jacksonville from 1995 up until 2012 working for the Post Office and
  have known Andrew since then because of working with his mother. When I first heard of
  Andrew's case, I felt shocked, confused and bewildered because this isn't the boy I saw grow up
  to be. I can not condone what he has done and I believe in the law. I still can not believe how
  this boy who was raised by his mother become the person he is.

  I worked°with his mother, Sharon L Leslie, while ~orking for the Post Office and have known
  Andrew for 13 years and saw him growing up. He was a very good student while going to school,
  getting good grades, perfect attendance, and very much into computers. He was in a computer
  club in school and use to compete with other schools in the country which his mother always
  attended. They did so well , that the school went into nationals that he won ribb?ns and
  trophies. We always worked together building computers. I had spare pa1rts and he use to come
  over and work on them to build them and program them. I believe his ambition was in computer
  science and his intentions was to major that in college.His upbringing was normal because his
  mother always made sure that he did well in school. His home envirement as far as I could see
  was great. Family gatherings during holidays, his mother always attending his schools funtions.
  Andrew ls very close to his brother David, who always did things together as a family. I
  remember one time when I got involved in a major car accident that his mother came to the
  scene with him and when he saw me he hugged me, seeing that I was ok_ I love Andrew as if he
  is my own son. Thats why I can not believe that the boy I saw grow up is the person he is now.

  Judge, the law is the law and I don't know if there is any linency to the crime he has committed
  b.ut I do know in my heart that Andrew is a very good kid. I am sure that Andrew is aware of
  what.he-pid is wrong and he is paying the price of the mistake he has done. i just hope and pray
  that Andrew has learned from the mistake he has done. Forgive me for my ramblings but I can
  not wrap my head around this.

  h.gai~ Jud~-~ D~vj~! I ~poligi?'7 for Andrew'.s misconduq. j 9m truly sorry. ·
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Case 3:16-cr-00154-BJD-JBT Document 49-5 Filed 02/22/18 Page 14 of 14 PageID 830
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  For The Honorable Judge Davis U.S. District Court, Middle District of Florida Jacksonville
  Division 300 North Hogan Street Jacksonville, FL 32202



          I am writing this letter to provide the court with additional information about Andrew
  Leslie for his upcoming sentencing hearing and I hope it will be helpful to the Honorable Judge
  Davis. My name is Kennedy Bates Compton I am a 23 year old certified nursing assistant,
  criminal justice student and mother to three children. I have been made aware of the charges
  that Andrew has plead guilty to. Although these charges are the last that anyone would have
  expected from him, I am also aware that they are very serious federal charges.
          Andrew is not the person that anyone would foresee these actions from, he is kind and
  giving. He is the person that when everyone else abandons you, still stands beside you. I say
  these things because I have seen him help others without regard for himself more times than I
  can count in the roughly eight years I have been in his life. For example, he has drove 800 miles
  to help me after surgery, and defend me when everyone else tried to condemn me because I
  was a teenage mother. He was also the only person to help my disabled mother move when
  she was evicted he went as far as to help her cover the costs and make sure she had food for
  her and my sister. He is the only person in my life that I have never seen abandon nor harm
  anyone, which is what made the charges hard to accept. He has been my best friend longer
  than I have been my own friend.
          Aside from the things he has done for me, I have seen him help mutual friends out of
  abusive relationships, give people who had nowhere to go a place to stay, put himself in debt to
  help those who only tried to hurt him, as well as support people that were never able to make
  the choice to help themselves. In short he has made more selfless choices than I can say I am
  capable of and put himself aside to do the right thing even when advised that it would only hurt
  him in the long run. I understand that he has also made some really bad choices leading to this
  point, but I sincerely hope that this letter helps shed some light onto the person that we all know
   and love him as being.

                                                       Kennedy Bates Compton
                                                                        Elizabethton TN 37643
                             Case 3:16-cr-00154-BJD-JBT Document 49-6 Filed 02/22/18 Page 1 of 6 PageID 831



                                                     United States v. A 11tfre w Ryall Leslie

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                                                   Exhibit 6
Date Filed: 06/08/2018




                                                        Photos
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                            United States v. Andrew Ryan Leslie
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                          Exhibit 7
            School Transcript
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                                                                                 Middleburg High                                                                                                                                   ~Enter Dale=---·



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                                                                                 MIDDLEBURG.FL 32063                                                    LesJie, Andrew Ryan                                                        Diploma Type; Standard RS Diploma [W06)
                                                                                 (904) 336-80?5                                                                                                                                    Diploma Designation:.
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                            United States v. Andrew Ryan Leslie

                              Case No. 3:16-cr-154-J-39JBT




                          Exhibit 8
                 Verification of
                  Employment


4
Case 3:16-cr-00154-BJD-JBT Document 49-8 Filed 02/22/18 Page 2 of 2 PageID 840
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                                      Focus School Software
                                              PO Box 2194 St. Petersburg, FL 33701
                                                    Phone: (81.3) 45$-1956




Employee Name: Andrew Leslie
Employment Number: 1111

Position Title: Software Engineer

Address:                        , Middleburg, FL 32068

Telephone: Business NIA     Home ( 9 0 4 -




Work location: Employee worked remotely at his home at address listed above

Date of Hire: 07/29/2013

Date of Termination: 10/17/2016

Ending Salary: $50,400.00

Reason for Termination: No show

Eligible for Rehire: No

Comments:  ·--------------------------




                                                                         Date
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                        Tab 53
                                                                                                                       Page 1 of 6
          Case 3:16-cr-00154-BJD-JBT Document 53 Filed 03/07/18 Page 1 of 6 PageID 1251
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                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

V
                                                                          Case Number: 3:16-cr-154-J-39JBT

ANDREW RYAN LESLIE                                                        USM Number: 67789-018

                                                                          Mark Rosenblum, FPD
                                                                          Suite 1240
                                                                          200 W Forsyth St
                                                                          Jacksonville, FL 32202

                                             JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One and Two of the Indictment. The defendant is adjudicated guilty of these
offenses:

                                                                                            Date Offense             Count
            Title & Section                           Nature of Offense                      Concluded             Number{s)

    18 U.S.C. §§ 2251 (a) and (e)       Production of Child Pornography                     October 2016               One

    18 U.S.C. §§ 2251 (a) and (e)       Production of Child Pornography                     October 2016               Two

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant's economic circumstances.




                                                              BRIAN J. DAVIS
                                                              UNITED STATES DISTRICT JUDGE
                                                                            -ti,
                                                              March   5 ,2018




AO 2456 (Rev. 11/16) Judgment in a Criminal Case
                                                                                                                Page 2 of 6
         Case 3:16-cr-00154-BJD-JBT Document 53 Filed 03/07/18 Page 2 of 6 PageID 1252
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Andrew Ryan Leslie
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                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of SEVEN HUNDRED AND TWENTY (720) MONTHS, this term consists of THREE HUNDRED AND SIXTY
(360) MONTHS on each of counts One and Two of the Indictment, all such terms to run consecutively.

         The Court makes the following recommendations to the Bureau of Prisons:
             • Defendant enroll in a mental health program specializing in sexual offender treatment.
             • Defendant receive mental health treatment
             • Defendant be permitted to participate in any efforts to prevent and/or treat pedophilia, with approval from
                 and under the supervision of the BOP.

         The defendant is remanded to the custody of the United States Marshal.




                                                       RETURN

I have executed this judgment as follows:




Defendant delivered on _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


a t - - - - - - - - - - - - - - - - - - - - ' with a certified copy of this judgment.




                                                                             UNITED STATES MARSHAL


                                                         By:------------------
                                                                Deputy U.S. Marshal




AO 245B {Rev. 11/16) Judgment in a Criminal Case
                                                                                                                   Page 3 of 6
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Andrew Ryan Leslie
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                                                    SUPERVISED RELEASE

     Upon release from imprisonment, you will be on supervised release for a LIFE-TERM, this term consists of LIFE-
TERMS as to Counts One and Two of the Indictment, all such terms to run concurrently..


                                                   MANDATORY CONDITIONS

1.       You must not commit another federal, state or local crime.
2.       You must not unlawfully possess a controlled substance.
3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15
         days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            • The mandatory drug testing requirements of the Violent Crime Control Act are waived, however, the Court
                 orders the defendant to submit to random drug testing not to exceed two (2) tests per week.

4.       You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
         et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency
         in the location where you reside, work, are a student, or were convicted of a qualifying offense.

         The defendant shall comply with the standard conditions that have been adopted by this court {set forth below).

         The defendant shall also comply with the additional conditions on the attached page.




AO 2456 (Rev. 11/16) Judgment in a Criminal Case
                                                                                                                       Page 4 of 6
         Case 3:16-cr-00154-BJD-JBT Document 53 Filed 03/07/18 Page 4 of 6 PageID 1254
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Andrew Ryan Leslie
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                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72
         hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
         office or within a different time frame. After initially reporting to the probation office, the defendant will receive
         instructions from the court or the probation officer about how and when the defendant must report to the probation
         officer, and the defendant must report to the probation officer as instructed.
2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer
         about how and when you must report to the probation officer, and you must report to the probation officer as
         instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
         permission from the court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about
         your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
         before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
         you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
         probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
         view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
         excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
         unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
         your work (such as your position or your job responsibilities), you must notify the probation officer at least 1O days
         before the change. If notifying the probation officer at least 1O days in advance is not possible due to unanticipated
         circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
         change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
         has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
         the permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
         (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
         another person such as nunchucks or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
         informant without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation
         officer may require you to notify the person about the risk and you must comply with that instruction. The probation
         officer may contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation.officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.


Defendant's Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __                                   Date: _ _ _ _ _ _ _ _ _ _ __




AO 245B (Rev. 11/16) Judgment in a Criminal Case
                                                                                                                      Page 5 of 6
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                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE


1.       Defendant shall participate in a mental health treatment program (outpatient and/or inpatient) and follow the
         probation officer's instructions regarding the implementation of this court directive. Further, defendant shall
         contribute to the costs of these services not to exceed an amount determined reasonable by the Probation Office's
         Sliding Scale for Mental Health Treatment Services.

2.       Defendant shall participate in a mental health program specializing in sexual offender treatment and submit to
         polygraph testing for treatment and monitoring purposes. Defendant shall follow the probation officer's
         instructions regarding the implementation of this court directive. Further, defendant shall contribute to the costs of
         such treatment and/or polygraphs not to exceed an amount determined reasonable by the probation officer based
         on ability to pay or availability of third party payment and in conformance with the Probation Office's Sliding Scale
         for Treatment Services.

3.       Defendant shall register with the state sexual offender registration agency(s) in any state where defendant resides,
         visits, is employed, carries on a vocation, or is a student, as directed by the probation officer.

4.       The probation officer shall provide state officials with all information required under Florida sexual predator and
         sexual offender notification and registration statutes (F.S. 943.0435) and/or the Sex Offender Registration and
         Notification Act (Title I of the Adam Walsh Child Protection and Safety Act of 2006, Public Law 109-248), and may
         direct the defendant to report to these agencies personally for required additional processing, such as
         photographing, fingerprinting, and DNA collection.

5.       Defendant shall have no direct contact with minors (under the age of 18) without the written approval of the probation
         officer and shall refrain from entering into any area where children frequently congregate including: schools, daycare
         centers, theme parks, playgrounds, etc.

6.       Defendant is prohibited from possessing, subscribing to, or viewing, any images, video, magazines, literature, or
         other materials depicting children in the nude and/or in sexually explicit positions.

7.       Without the prior written approval of the probation officer, the defendant is prohibited from either possessing or
         using a computer (including a smart phone, a hand-held computer device, a gaming console, or an electronic
         device) capable of connecting to an online service or internet provider. The prohibition includes a computer at a
         library, an internet cafe, the defendant's place of employment, or an educational facility. Also, defendant is
         prohibited from possessing an electronic data storage medium (including flash drive, a compact disk, and a floppy
         disk) or using any data encryption technique or program. If approved to possess or use a device, the defendant
         must permit routine inspection of the device, including the hard drive and any other electronic data storage medium,
         to confirm adherence to this condition. The United States Probation Office must conduct the inspection in a manner
         no more intrusive than necessary to ensure compliance with this condition. If this condition might affect a third
         party, including the defendant's employer, the defendant must inform the third party of this restriction, including the
         computer inspection provision.

8.       Defendant shall submit to a search of your person, residence, place of business, any storage units under your
         control, computer, or vehicle, conducted by the United States Probation Officer at a reasonable time and in a
         reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
         release. Defendant shall inform any other residents that the premises may be subject to a search pursuant to this
         condition. Failure to submit to a search may be grounds for revocation.

9.       Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or obligating
         yourself for any major purchases without approval of the probation officer.

10.      Defendant shall provide the probation officer access to any requested financial information.

                                            CRIMINAL MONETARY PENALTIES

AO 2458 (Rev. 11/16) Judgment in a Criminal Case
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        The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.
                        Assessment                      JVTA Assessment 1                                                  Restitution
TOTALS                     $200.00                                $0.00                        $0.00                     Undetermined

        The victims' losses are undetermined and the Court shall set a date for the final determination of the victims'
losses within 90 days from the date of the sentencing.

                                                      SCHEDULE OF PAYMENTS

The Special Assessment in the amount of $200.00 is due in full and immediately.

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

Based on the financial status of the defendant, the Court waives the imposition of a fine. The Court finds that the defendant
is indigent and the $5,000.00 special assessment pursuant to 18 U.S.C. § 3014, is not imposed.

Unless the court has expressly ordered. otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial Responsibility Program,
are made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of
prosecution and court costs.




1
  Justice for Victims ofTrafficking Act of 2015, Pub. L. No. 114-22.
- Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
  September 13, 1994, but before April 23, 1996.

AO 245B (Rev. 11/16) Judgment in a Criminal Case
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                        Tab 57
Case 3:16-cr-00154-BJD-JBT Document 57 Filed 03/21/18 Page 1 of 1 PageID 1311
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA

   v.                                         Case No. 3:16-cr-154-J-39JBT

   ANDREW RYAN LESLIE
   _________________________________/

                                    NOTICE OF APPEAL

          NOTICE IS HEREBY GIVEN that Andrew Ryan Leslie, Defendant above named,

   hereby appeals to the United States Court of Appeals for the Eleventh Circuit from the final

   Judgment in a Criminal Case entered in this action on March 7, 2018.

          DATED this 21st day of March, 2018.

                                               DONNA LEE ELM
                                               FEDERAL PUBLIC DEFENDER

                                               s/ Mark Rosenblum
                                               Mark Rosenblum - Florida Bar No. 0289175
                                               Assistant Federal Defender
                                               200 West Forsyth Street, Suite 1240
                                               Jacksonville, Florida 32202
                                               Telephone: 904-232-3039
                                               Fax: 904-232-1937
                                               E-Mail: mark rosenblum@fd.org

                                  CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on March 21, 2018, I electronically filed the foregoing with the

   Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

   all counsel of record.

                                           s/ Mark Rosenblum
                                           Mark Rosenblum
                                           Assistant Federal Defender
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                        Tab 65
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      1                        UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
      2                           JACKSONVILLE DIVISION

      3   UNITED STATES OF AMERICA,            Jacksonville, Florida

      4                Plaintiff,              Case No. 3:16-cr-154-J-39JBT

      5   -vs-                                 Friday, October 6, 2017

      6   ANDREW RYAN LESLIE,                  2:06 p.m.

      7              Defendant.          Courtroom 5A
          _________________________________________________________
      8

      9                    DIGITALLY RECORDED CHANGE OF PLEA
                          BEFORE THE HONORABLE JOEL B. TOOMEY
     10                      UNITED STATES MAGISTRATE JUDGE

     11

     12                           A P P E A R A N C E S

     13   GOVERNMENT COUNSEL:

     14          Rodney Brown, Esquire
                 U.S. Attorney's Office
     15          300 North Hogan Street, Suite 700
                 Jacksonville, FL 32202
     16

     17   DEFENSE COUNSEL:

     18          Mark Rosenblum, Esquire
                 Federal Defender's Office
     19          200 West Forsyth Street, Suite 1240
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     21   OFFICIAL COURT REPORTER:

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     24
                       (Proceedings   recorded   by   electronic   sound   recording;
     25                                      transcript    produced   by   computer.)
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      1                            P R O C E E D I N G S

      2   Friday, October 6, 2017                                        2:06 p.m.

      3                                    -    -   -

      4               COURT SECURITY OFFICER:           All rise.   United States

      5   District Court in and for the Middle District of Florida is now

      6   in session, the Honorable Joel B. Toomey presiding.

      7               Please be seated.

      8               THE COURT:    This is the case of the United States

      9   versus Andrew Ryan Leslie, Case No. 3:16-cr-154.

     10               And the defendant's present, along with his attorney,

     11   Mr. Rosenblum, and Mr. Brown's here for the government.

     12               And I've been provided with a written plea agreement.

     13   Is it the defendant's intention to enter a plea pursuant to

     14   this agreement?

     15               MR. ROSENBLUM:    Yes, Your Honor.

     16               THE COURT:    All right.      Mr. Leslie, if you can come

     17   up here to the podium with your attorney.

     18               Madam Clerk, if you could swear in the defendant.

     19               COURTROOM DEPUTY:        Do you solemnly swear that the

     20   answers you will give during these proceedings will be the

     21   truth, the whole truth, and nothing but the truth?

     22               THE DEFENDANT:    Yes, ma'am.

     23               COURTROOM DEPUTY:        And please state your name for the

     24   record.

     25               THE DEFENDANT:    Andrew Ryan Leslie.
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      1               THE COURT:    And you've just taken an oath to tell the

      2   truth.   If you do not tell the truth or if you omit or leave

      3   anything important out, your testimony could form the basis of

      4   a prosecution for perjury or making a false statement, which

      5   are felonies.

      6               In addition, your testimony can be used against you

      7   in any proceedings if you challenge the taking of the plea, the

      8   judgment, the conviction, or the sentence.

      9               So do you understand what I've explained and the

     10   importance of having been placed under oath?

     11               THE DEFENDANT:    Yes, sir.

     12               THE COURT:    And are you a United States citizen?

     13               THE DEFENDANT:    Yes, sir.

     14               THE COURT:    It is your right to plead guilty to these

     15   charges.    However, before the Court may accept a plea of

     16   guilty, it's necessary that the Court find that your plea is

     17   made freely and voluntarily and that there's a factual basis

     18   for your plea.     It's therefore necessary for me to ask

     19   questions about the offenses to which you plead.

     20               If you don't understand the questions or the words

     21   that I use, feel free to ask that they be explained.

     22               You may consult with your lawyer about any matter

     23   during the questioning.      If necessary, I will recess the

     24   proceedings and allow you as much time as you need to meet

     25   privately with your lawyer.
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      1               THE DEFENDANT:    Yes, sir.

      2               THE COURT:    Do you understand that?

      3               THE DEFENDANT:    Yes, sir.

      4               THE COURT:    And has the government complied with the

      5   Crime Victims' Rights Statute?

      6               MR. BROWN:    Yes, Your Honor.

      7               THE COURT:    Now, I'm a magistrate judge, and your

      8   case is also assigned to a district judge.

      9               You have the right to have your guilty plea taken by

     10   a district judge, or you could consent to have it taken by a

     11   magistrate judge, such as myself.

     12               Even if you consent to have your guilty plea taken by

     13   me, the magistrate judge, the district judge will still decide

     14   whether to accept your plea, and if it is accepted, the

     15   district judge will be the one who imposes sentence.

     16               So if you consent to having me, the magistrate judge,

     17   take your plea, you're also waiving or giving up your right to

     18   have the district judge take your plea.

     19               So do you understand your right to have the district

     20   judge take your plea?

     21               THE DEFENDANT:    Yes, sir.

     22               THE COURT:    And do you want to waive that right and

     23   allow me, the magistrate judge, to take your plea?

     24               THE DEFENDANT:    Yes, sir.

     25               THE COURT:    Did you sign a consent form allowing me
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      1   to do that?

      2               THE DEFENDANT:    I did, sir.

      3               THE COURT:    And, Mr. Rosenblum, did you sign it as

      4   well and explain it to your client?

      5               MR. ROSENBLUM:    Yes, Your Honor.

      6               THE COURT:    And has anybody threatened you in any way

      7   or promised you anything in order to get you to waive this

      8   right?

      9               THE DEFENDANT:    No, sir.

     10               THE COURT:    Is it your own independent decision to

     11   waive this right?

     12               THE DEFENDANT:    Yes, sir.

     13               THE COURT:    I find the defendant has made a willing

     14   and voluntary waiver of his right to have the district judge

     15   take his plea and freely and voluntarily consented to allowing

     16   me, the magistrate judge, to take his plea.

     17               Now I need to ask you some background questions

     18   again.

     19               What was your full name?

     20               THE DEFENDANT:    Andrew Ryan Leslie.

     21               THE COURT:    And what's your date of birth?

     22               THE DEFENDANT:    January 16th, 1995.

     23               THE COURT:    And how far did you go in school?

     24               THE DEFENDANT:    I graduated high school.

     25               THE COURT:    And so can you read, write, and
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      1   understand English?

      2               THE DEFENDANT:    Yes, sir.

      3               THE COURT:    And are you currently under the influence

      4   of any drugs, alcohol, or other intoxicants?

      5               THE DEFENDANT:    No, sir.

      6               THE COURT:    Are you currently under the influence of

      7   any medications?

      8               THE DEFENDANT:    Yes, sir.

      9               THE COURT:    What medications have you taken?

     10               THE DEFENDANT:    Lexapro and Zyprexa.

     11               THE COURT:    And what are -- are those prescribed

     12   medications?

     13               THE DEFENDANT:    Yes, sir.

     14               THE COURT:    And what are they prescribed for?

     15               THE DEFENDANT:    Lexapro's an antidepressant and

     16   Zyprexa is an antipsychotic and mood stabilizer.

     17               THE COURT:    It's a what, now?

     18               THE DEFENDANT:    Antipsychotic and mood stabilizer.

     19               THE COURT:    And have you had those within the last 48

     20   hours?

     21               THE DEFENDANT:    Yes, sir.

     22               THE COURT:    Did you take them in the prescribed

     23   dosages?

     24               THE DEFENDANT:    Yes, sir.

     25               THE COURT:    And do those medications have any
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      1   negative impact on your ability to understand these

      2   proceedings?

      3               THE DEFENDANT:    No, sir.

      4               THE COURT:    And so you are currently receiving either

      5   medical or mental health care?

      6               THE DEFENDANT:    Yes, sir.

      7               THE COURT:    And what are you receiving care for?

      8               THE DEFENDANT:    Depression and overwhelming thoughts.

      9               THE COURT:    All right.    What was the second one?

     10               THE DEFENDANT:    Overwhelming thoughts.

     11               THE COURT:    Overwhelming thoughts.

     12               And what type of doctor is treating you?

     13               THE DEFENDANT:    A psychiatrist.

     14               THE COURT:    Are you being treated for anything else?

     15               THE DEFENDANT:    No, sir.

     16               THE COURT:    All right.

     17               THE DEFENDANT:    I take that back, Your Honor.        I'm

     18   being treated for back pain, but that's not mental illness.

     19               THE COURT:    Okay.   Are you taking any medications for

     20   the back pain?

     21               THE DEFENDANT:    Ibuprofen.

     22               THE COURT:    And have you taken that in the last 48

     23   hours?

     24               THE DEFENDANT:    Yes, sir.

     25               THE COURT:    Is that prescribed also?
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      1                THE DEFENDANT:   Yes, sir.

      2                THE COURT:   And did you take that in the prescribed

      3   dosage?

      4                THE DEFENDANT:   Yes, sir.

      5                THE COURT:   And does that have any impact on your

      6   ability to understand these proceedings?

      7                THE DEFENDANT:   No, sir.

      8                THE COURT:   Other than what you mentioned, have you

      9   ever been treated for or suffered from any mental or emotional

     10   illness?

     11                THE DEFENDANT:   Well, at 16 I was diagnosed with

     12   depression also.

     13                THE COURT:   Okay.   And how long were you treated for

     14   that?

     15                THE DEFENDANT:   For a year.

     16                THE COURT:   And any other mental health treatment?

     17                THE DEFENDANT:   No, sir.

     18                THE COURT:   And right now do you clearly understand

     19   where you are, what you're doing, and the importance of this

     20   proceeding?

     21                THE DEFENDANT:   Yes, sir.

     22                THE COURT:   And, Mr. Rosenblum, do you have any

     23   concern regarding the defendant's competency to enter a plea at

     24   this time?

     25                MR. ROSENBLUM:   No, Your Honor.
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      1                THE COURT:    Any other questions you'd like me to ask?

      2                MR. BROWN:    No, Your Honor.

      3                THE COURT:    All right.   You can have a seat back at

      4   the table.

      5                Now, you have a right to plead not guilty, as you've

      6   previously done, and to persist in that plea.          If you maintain

      7   your plea of not guilty, you have the following rights under

      8   the Constitution and laws of the United States:

      9                You have the right to a speedy and public trial and

     10   to be tried by a jury of 12 persons, or by the judge if you

     11   waive a jury trial.       If you're tried by a jury, all 12 of the

     12   jurors must unanimously agree on your guilt before you can be

     13   convicted.

     14                You're presumed innocent.     Before you can be found

     15   guilty, the burden of proof is on the government to prove your

     16   guilt by competent and sufficient evidence beyond a reasonable

     17   doubt.   You do not have to prove that you're innocent.

     18                You have the right to have the assistance of an

     19   attorney at the trial and at every stage of these criminal

     20   proceedings.

     21                At your trial witnesses for the government have to

     22   come into court and testify in your presence.          You have the

     23   right to confront these witnesses against you, meaning to see,

     24   hear, question, and cross-examine the witnesses.

     25                Your attorney can object to evidence offered by the
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       1   government and offer evidence on your behalf.

       2               At trial you may present witnesses in your own

       3   defense, and if they will not appear voluntarily, I can issue

       4   orders to make them come to the trial.

       5               You need not make any statement about the charges,

       6   and you may not be compelled to incriminate yourself or testify

       7   at trial.   On the other hand, if you wish to testify at your

       8   trial, you could do so.      The choice is entirely up to you.

       9               Now, if you plead guilty, there will be no further

     10    trial of any kind, and on your plea the Court will find you

     11    guilty and convict you.

     12                A plea of guilty admits the truth of the charges, but

     13    a plea of not guilty denies the charges.

     14                Has this been explained to you by your lawyer?

     15                THE DEFENDANT:    Yes, sir.

     16                THE COURT:   If you choose to plead guilty, you must

     17    give up the right not to incriminate yourself because I have to

     18    ask you questions about the crimes to which you plead guilty to

     19    satisfy myself that there's a factual basis for your plea.

     20                By pleading guilty, you also waive and give up your

     21    right to trial, to confrontation and cross-examination of

     22    government witnesses, and to compulsory process for attendance

     23    of defense witnesses at trial.

     24                So there will be no trial.      The next step would be

     25    sentencing.
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       1              Now, you may have defenses to the charges, but if you

       2   plead guilty, you waive and give up your right to assert any

       3   possible defenses.

       4              Has your lawyer discussed with you any defenses that

       5   may be available to you?

       6              THE DEFENDANT:     Yes, sir.

       7              THE COURT:    By pleading guilty you also waive and

       8   give up your right to challenge the way the government obtained

       9   any evidence, statement, or confession.

     10               In addition, by pleading guilty you may lose the

     11    right to challenge on appeal any rulings which the Court has

     12    made in your case.

     13               By pleading guilty to these felonies, you may lose

     14    certain civil rights, such as your right to vote, to hold

     15    public office, to serve on juries, and to own and possess

     16    firearms and ammunition.

     17               A felony conviction may also prevent you from

     18    obtaining or keeping certain occupational licenses.

     19               So do you fully understand all the rights that you

     20    have and the rights that you waive and give up by pleading

     21    guilty?

     22               THE DEFENDANT:     I do, Your Honor.

     23               THE COURT:    The federal sentencing guidelines apply

     24    to your case.

     25               Have you discussed the sentencing guidelines with
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       1   your attorney?

       2               THE DEFENDANT:    Yes, sir.

       3               THE COURT:   I won't go into too much detail about the

       4   guidelines since you've discussed them with your lawyer, but I

       5   do have to make sure you understand certain things about how

       6   the sentencing process works.

       7               The Court will not be able to determine your

       8   guideline sentence until after the presentence report has been

       9   completed by the probation office.

     10                After it's been determined what guidelines apply to

     11    your case, the district judge still has the authority to impose

     12    a sentence that is either more severe or less severe than the

     13    sentence called for by the guidelines.        So the guidelines are

     14    only advisory.    The district judge can impose any sentence up

     15    to the maximum permitted by law.

     16                In determining a sentence, the district judge is

     17    obligated to calculate the guideline range and to consider that

     18    range and also consider possible departures under the

     19    guidelines and other sentencing factors that are listed in a

     20    statute, 18, U.S. Code, Section 3553(a).

     21                Also, under some circumstances the government may

     22    have the right to appeal any sentence that the district judge

     23    imposes and ask a higher court to impose a more severe

     24    sentence.

     25                Parole's been abolished, and if you're sentenced to
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       1   prison, you'll not be released on parole.

       2              So as we sit here today, nobody can tell you what

       3   your sentence is going to be.       The sentence imposed could be

       4   different than any estimated sentence your attorney or anyone

       5   else has given you.

       6              It could be more severe than you expect, but even if

       7   that happens, you'll still be bound by your guilty plea and

       8   will not have the right to withdraw it.

       9              Do you understand that?

     10               THE DEFENDANT:     Yes, sir.

     11               THE COURT:    And do you understand all the things I've

     12    just explained about sentencing?

     13               THE DEFENDANT:     Yes, sir.

     14               THE COURT:    And did you receive a copy of the

     15    indictment in your case?

     16               THE DEFENDANT:     I did, sir.

     17               THE COURT:    And have the charges been read and

     18    explained to you by your attorney?

     19               THE DEFENDANT:     Yes, sir.

     20               THE COURT:    And the charges against you in both

     21    Counts One and Two charge you with production of child

     22    pornography, in violation of 18, U.S. Code, Sections 2251(a)

     23    and 2251(e).

     24               Do you fully understand the charges contained in the

     25    indictment?
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       1              THE DEFENDANT:     Yes, sir.

       2              THE COURT:    Do you have any questions about the

       3   charges?

       4              THE DEFENDANT:     No, sir.

       5              THE COURT:    Now, the necessary elements the

       6   government must prove beyond a reasonable doubt in order for

       7   you to be convicted on these charges are as follows, and

       8   they're listed on page 3 of your plea agreement:

       9              First, that an actual minor, that is, a real person

     10    who is less than 18 years old, was depicted;

     11               Second, that you employed, used, persuaded, induced,

     12    enticed, or coerced a minor to engage in sexually explicit

     13    conduct for the purpose of producing visual depictions of the

     14    conduct; and

     15               Third, that such visual depictions were produced

     16    using materials that had been mailed, shipped, or transported

     17    in interstate or foreign commerce.

     18               So do you understand the elements of the charge which

     19    the government would have to prove beyond a reasonable doubt

     20    for you to be convicted?

     21               THE DEFENDANT:     Yes, sir.

     22               THE COURT:    Do you have any questions --

     23               THE DEFENDANT:     No, sir.

     24               THE COURT:    -- about the elements?

     25               Now, this crime is punishable by the following
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       1   minimum and maximum penalties, which are listed on pages 1

       2   through 3 of your plea agreement:

       3                They're each -- each count's punishable by a

       4   mandatory minimum term of imprisonment of not less than 15

       5   years and not more than 30 years, a fine of $250,000, or both

       6   the imprisonment and the fine, a term of supervised release

       7   after prison of not less than five years up to life, a special

       8   assessment of a hundred dollars, and $5,000 on any nonindigent

       9   defendant.

     10                 And then if the Court sentences you on each count

     11    consecutively, you're looking at a total cumulative sentence of

     12    a minimum mandatory term of imprisonment of not less than 30

     13    years and not more than 60 years, fines totaling $500,000, or

     14    both the imprisonment and the fine, a term of supervised

     15    release after prison of not less than five years up to life,

     16    special assessments of either $200 or $10,000.

     17                 And then, once you're on supervised release, if

     18    you're required to register under the Sex Offender Registration

     19    and Notification Act, which you will be, and then you commit

     20    any criminal felony offense under 18, U.S. Code, Chapters 109A,

     21    110, or 117, or Sections 1201 or 1591, then the Court shall

     22    revoke your term of supervised release and sentence you to a

     23    term of imprisonment of not less than five years and up to life

     24    per count.

     25                 If you violate your supervised release in any other
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       1   way, it's punishable by a term of imprisonment of up to three

       2   years, and you can get an additional term of supervised

       3   release.

       4                And then the Court will also order you to make

       5   restitution to any victims of the offenses and provide notice

       6   of the conviction to victims of the offense.

       7                The Court also may require you to forfeit certain

       8   property to the government.

       9                Have I accurately stated the minimum and maximum

     10    penalties?

     11                 MR. BROWN:   Yes, Your Honor.

     12                 THE COURT:   Mr. Rosenblum, do you agree?

     13                 MR. ROSENBLUM:   Yes, Your Honor.

     14                 THE COURT:   So do you understand the minimum and

     15    maximum penalties you face for each count?

     16                 THE DEFENDANT:   Yes, sir.

     17                 THE COURT:   Do you understand the total cumulative

     18    minimum and maximum penalties you face for both counts?

     19                 THE DEFENDANT:   Yes, sir.

     20                 THE COURT:   And do you understand that these maximum

     21    penalties are a possible consequence of your guilty plea?

     22                 THE DEFENDANT:   Yes, sir.

     23                 THE COURT:   And do you have any questions about

     24    anything I've explained thus far?

     25                 THE DEFENDANT:   No, sir.
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       1              THE COURT:    Have you fully discussed all these

       2   matters with your lawyer?

       3              THE DEFENDANT:     Yes, Your Honor.

       4              THE COURT:    And do you understand that there have

       5   been discussions between the attorney for the government and

       6   your attorney which have resulted in a written plea agreement?

       7              THE DEFENDANT:     Yes, sir.

       8              THE COURT:    Give that to Mr. Rosenblum.

       9              MR. ROSENBLUM:     Mr. Leslie, I'm showing you a

     10    document that is titled Plea Agreement, and there are initials

     11    on each page of this plea agreement, and on page 18 there is a

     12    signature that purports to be your signature.

     13               So two questions:     First of all, is that your

     14    signature on page 18?

     15               THE DEFENDANT:     Yes, sir.

     16               MR. ROSENBLUM:     And is that your initials on every

     17    page of this plea agreement?

     18               THE DEFENDANT:     Yes, sir.

     19               MR. ROSENBLUM:     And did you and I review this plea

     20    agreement together?

     21               THE DEFENDANT:     Yes, we did.

     22               MR. ROSENBLUM:     And did you indicate to me at the

     23    time that you understood it?

     24               THE DEFENDANT:     Yes.

     25               MR. ROSENBLUM:     And that you wanted to enter into it?
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       1              THE DEFENDANT:     Yes, sir.

       2              MR. ROSENBLUM:     And are you indicating that today?

       3              THE DEFENDANT:     Yes, sir.

       4              THE COURT:    Mr. Rosenblum?

       5              MR. ROSENBLUM:     Your Honor, I can tell you that's my

       6   signature on the plea agreement.

       7              MR. BROWN:    Your Honor, I have the original plea

       8   agreement that was negotiated between the parties through

       9   counsel in this case, and on page 18 of the plea agreement, I

     10    recognize the signatures on the right-hand side of the page.           I

     11    also recognize Mr. Rosenblum's signature, having worked with

     12    him for years.

     13               But the two on the right-hand side of the page, one

     14    belongs to me.    I've signed on behalf of the United States

     15    because I'm the prosecutor on this case, but also I've signed

     16    for my co-counsel, Lauren Britsch, and with her authority to do

     17    so.

     18               Lastly, the signature that appears on the page at the

     19    bottom is that of Kelly Karase, and she's our deputy chief and

     20    is authorized to enter into plea agreements on behalf of the

     21    United States.

     22               Additionally, on the first page of the plea

     23    agreement, Your Honor, I recognize the initials of Bonnie

     24    Glober in the lower right-hand portion of the page in a section

     25    called -- that's referred to as AF approval.         That stands for
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       1   asset forfeiture.

       2                Assistant United States Attorney Bonnie Glober is our

       3   asset forfeiture specialist and has also approved this plea

       4   agreement.

       5                THE COURT:   Mr. Leslie, did you read the entire plea

       6   agreement before signing it?

       7                THE DEFENDANT:   I did, Your Honor.

       8                THE COURT:   And did you understand your entire plea

       9   agreement?

     10                 THE DEFENDANT:   Yes, sir.

     11                 THE COURT:   Do you have any questions about it?

     12                 THE DEFENDANT:   No, sir.

     13                 THE COURT:   Even though you don't have any questions,

     14    I'm still going to go over some of the provisions of the plea

     15    agreement, but I'm not going to go over all of them.           But, of

     16    course, you are bound by the entire plea agreement.

     17                 You understand that?

     18                 THE DEFENDANT:   Yes, sir.

     19                 THE COURT:   Now, your plea agreement contains a

     20    provision, on page 3, in which the government is agreeing not

     21    to charge you with any other federal criminal offenses known to

     22    them that relate to the conduct giving rise to the plea

     23    agreement.

     24                 The district judge can only accept a plea agreement

     25    that involves an agreement not to pursue other charges if the
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       1   district judge finds that the remaining charges that you plead

       2   guilty to adequately reflect the seriousness of your actual

       3   offense behavior and that accepting the agreement will not

       4   undermine the statutory purpose of sentencing.

       5              You understand that?

       6              THE DEFENDANT:     Yes, sir.

       7              THE COURT:    Also, in this plea agreement --

       8   restitution is normally limited to the conduct in the counts to

       9   which you plead guilty.      Here, you've waived this limitation

     10    and agreed to make restitution to any of your minor victims.

     11               You've also agreed not to oppose a bifurcation of the

     12    sentencing hearing if the victims' losses are not ascertainable

     13    prior to sentencing.

     14               Do you understand that?

     15               THE DEFENDANT:     Yes, sir.

     16               THE COURT:    Also, your plea agreement contains some

     17    recommendations that the government's agreeing to make about

     18    your sentence, in the event no adverse information is received.

     19               As your plea agreement states, the government's

     20    recommendations are not binding on the district judge.           If the

     21    judge does not accept the government's sentencing

     22    recommendations in your plea agreement, you'll still be bound

     23    by your guilty plea and will not have a right to withdraw it.

     24               You understand that?

     25               THE DEFENDANT:     Yes, sir.
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       1              THE COURT:    And in your plea agreement, you're

       2   agreeing to cooperate with the government.         In exchange, the

       3   government's merely agreeing to consider whether any

       4   cooperation you provide qualifies as substantial assistance

       5   such that they may file some type of motion or make some type

       6   of recommendation about your sentence.

       7              But you've agreed that that determination is solely

       8   in their discretion, and you're not going to challenge it in

       9   any way.

     10               Do you --

     11               THE DEFENDANT:     Yes, sir.

     12               THE COURT:    -- understand that?

     13               Do you understand that?

     14               THE DEFENDANT:     Yes, sir.

     15               THE COURT:    You've agreed to forfeit the assets that

     16    are listed in the plea agreement.

     17               Do you understand that?

     18               THE DEFENDANT:     Yes, sir.

     19               THE COURT:    And you've agreed and acknowledged that

     20    you'll -- that you'll have to comply with the Sex Offender

     21    Registration and Notification Act.

     22               Do you --

     23               THE DEFENDANT:     Yes, sir.

     24               THE COURT:    -- understand that?

     25               Also, in paragraph B.7, which starts on page 14,
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       1   you've agreed to waive your right to appeal your sentence,

       2   except in the circumstances that are listed.

       3              Normally you'd have a right to appeal your sentence

       4   on any ground that you think's appropriate, including an

       5   incorrect application of the sentencing guidelines.          Under this

       6   plea agreement, however, you're waiving and giving up your

       7   right to appeal your sentence except in the specific

       8   circumstances that are listed.

       9              So you could still appeal your sentence on the

     10    following grounds:     First, on the ground that your sentence

     11    exceeds your applicable guideline range, as that range is

     12    determined by the Court; or second, that your sentence exceeds

     13    the statutory maximum penalty; or third, that it violates the

     14    Eighth Amendment to the Constitution; or fourth, if the

     15    government appeals your sentence, then you can appeal it also.

     16               But other than in those circumstances, you're waiving

     17    your right to appeal your sentence.

     18               So do you understand what you're waiving and giving

     19    up in this portion of the plea agreement?

     20               THE DEFENDANT:     Yes, sir.

     21               THE COURT:    Did you make this waiver freely and

     22    voluntarily?

     23               THE DEFENDANT:     Yes, sir.

     24               THE COURT:    Are there any other provisions of the

     25    plea agreement you'd like me to discuss?
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       1              MR. BROWN:    No, Your Honor.

       2              THE COURT:    Mr. Rosenblum?

       3              MR. ROSENBLUM:     No, Your Honor.

       4              THE COURT:    Mr. Leslie, are there any other

       5   provisions of the plea agreement you'd like me to discuss with

       6   you?

       7              THE DEFENDANT:     No, sir.

       8              THE COURT:    And do you understand all the provisions

       9   of the plea agreement?

     10               THE DEFENDANT:     Yes, sir.

     11               THE COURT:    Are you willing to be bound by the

     12    provisions of the plea agreement?

     13               THE DEFENDANT:     Yes, sir.

     14               THE COURT:    Have any promises or assurances been made

     15    to you by anyone that are not reflected in the plea agreement?

     16               THE DEFENDANT:     No, Your Honor.

     17               THE COURT:    And do you fully understand all the other

     18    matters we've covered up to this point in the hearing?

     19               THE DEFENDANT:     Yes, sir.

     20               THE COURT:    And how do you plead, guilty or not

     21    guilty, to Counts One and Two of the indictment?

     22               THE DEFENDANT:     Guilty, Your Honor.

     23               THE COURT:    Are you pleading guilty because you are

     24    guilty?

     25               THE DEFENDANT:     Yes, sir.
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       1              THE COURT:    Do you now admit that you committed the

       2   acts set forth in those charges?

       3        (No audible response.)

       4              THE COURT:    Do you now admit that you committed the

       5   acts set forth in those charges?

       6              THE DEFENDANT:     Yes, Your Honor.

       7              THE COURT:    Do you understand that a plea of guilty

       8   admits the truth of the charges against you?

       9              THE DEFENDANT:     Yes, Your Honor.

     10               THE COURT:    Is your plea entered with an

     11    understanding of what you're doing here today?

     12               THE DEFENDANT:     Yes, sir.

     13               THE COURT:    Now we'll hear from the prosecutor a

     14    proffer of facts that the government must prove beyond a

     15    reasonable doubt in order for there to be a conviction in your

     16    case.

     17               Please listen carefully because I will ask if you

     18    agree with what the prosecutor says.        It's also important

     19    because this information will be used by the probation office

     20    in preparing your presentence investigation report.

     21               Mr. Brown?

     22               MR. BROWN:    If this case were to proceed to trial,

     23    the United States would, through testimony and evidence, prove

     24    the following facts beyond a reasonable doubt:

     25               In 2015, agents with the United States Department of
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       1   Homeland Security, Homeland Security Investigations, or HSI,

       2   began an investigation into certain websites known to host

       3   images and videos depicting child pornography.          This

       4   investigation targeted individuals who were users of such

       5   websites where child pornography was exchanged.

       6              In 2016, Defendant Andrew Ryan Leslie was identified

       7   as a member of one of those websites.        Further investigation

       8   revealed that Leslie resided in Middleburg, Florida.

       9              On October 18, 2016, HSI agents and other law

     10    enforcement officers executed a federal search warrant at

     11    Leslie's residence in Middleburg, Florida.         Upon entry into the

     12    residence, agents observed Leslie as Leslie emerged from the

     13    master bedroom.    Leslie stated in substance that a minor female

     14    child, referred to by Leslie as a toddler, had been in bed with

     15    Leslie when the agents arrived.

     16               During the execution of the search warrant, HSI

     17    agents located, on a nightstand located next to Leslie's bed in

     18    the master bedroom, a Canon PC1737 Powershot A3400 IS digital

     19    camera bearing serial No. 432061019849 that was manufactured in

     20    China.

     21               Contained within the camera was an SD adapter and a

     22    micro SD card.    This micro SD card was a Toshiba 8GB HC Micro

     23    SD card bearing serial No. 1403RP4801P that was manufactured in

     24    Taiwan.   This camera and this SD card each were shipped and

     25    transported in or affecting interstate and foreign commerce.
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       1              During a forensic preview, agents discovered that the

       2   SD card contained a series of pornographic images depicting

       3   Leslie with two different minor female children.          In several

       4   images, the same prepubescent minor child, or Child 1, who was

       5   approximately two years old at the time, was in a bed -- was in

       6   the bed with Leslie that morning was depicted.          Other images

       7   depicted a different infant female child, Child 2, who was

       8   approximately seven months old at the time.

       9              These images depicted, among other things, Child 1

     10    being vaginally and orally penetrated by Leslie's penis.           There

     11    were also images depicting the lascivious exhibition of child

     12    2's genitalia.

     13               In several images Leslie's depicted gripping his own

     14    penis and contacting the genitalia of Child 1 with it.           All the

     15    images on the Toshiba SD card, 42 in total, were produced by

     16    Leslie on October 14, 2016, using the Canon Powershot digital

     17    camera.

     18               HSI agents also seized numerous items of computer

     19    media from Leslie's residence, including several laptop

     20    computers, computer hard disk drives, tablets, cell phones, and

     21    cameras.

     22               Forensic analysis of these items revealed that Leslie

     23    had produced, received, distributed, and -- produced, received,

     24    distributed, and possessed numerous images and videos depicting

     25    child pornography.
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       1              Moreover, logs of online conversations between Leslie

       2   and other individuals were recovered that demonstrate, among

       3   other things, that Leslie had discussed engaging in sexual

       4   activity with several minor -- minor children.

       5              Leslie acknowledges that there exists a sufficient

       6   nexus for purposes of forfeiture between the items specified

       7   herein and the criminal conduct set forth above.

       8              THE COURT:    And is that what you did?

       9              THE DEFENDANT:     Yes, Your Honor.

     10               THE COURT:    Do you admit the truth of the factual

     11    basis and that all of the elements thereof are true and correct

     12    as they pertain to you?

     13               THE DEFENDANT:     Yes, Your Honor.

     14               THE COURT:    I'm going to ask you the personalization

     15    of elements from your plea agreement.

     16               Do you admit that an actual -- this is as to Count

     17    One.   Do you admit that an actual minor, that is, a real person

     18    who was less than 18 years old, was depicted?

     19               THE DEFENDANT:     Yes, Your Honor.

     20               THE COURT:    In or about October 14th, 2016, in the

     21    Middle District of Florida, did you employ and use a Child 1 to

     22    engage in sexually explicit conduct, that is, genital to

     23    genital and oral to genital sexual intercourse, for the purpose

     24    of producing visual depictions of such conduct?

     25               THE DEFENDANT:     Yes, Your Honor.
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       1              THE COURT:    Do you admit that you produced such

       2   visual depictions using materials that had been mailed,

       3   shipped, and transported in interstate and foreign commerce,

       4   that is, a Canon PC1737 Powershot A3400 IS digital camera

       5   bearing serial No. 432061019849 that was manufactured in China

       6   and a Toshiba 8GB HC Micro SD card bearing serial No.

       7   1403RP4801P that was manufactured in Taiwan?

       8              THE DEFENDANT:     Yes, Your Honor.

       9              THE COURT:    As to Count Two do you admit that an

     10    actual minor, that is, a real person who was less than 18 years

     11    old, was depicted?

     12               THE DEFENDANT:     Yes, Your Honor.

     13               THE COURT:    On or about October 14th, 2016, in the

     14    Middle District of Florida, did you employ and use Child 2 to

     15    engage in sexually explicit conduct, that is, the lascivious

     16    exhibition of the minor's genitals, for the purpose of

     17    producing visual depictions of such conduct?

     18               THE DEFENDANT:     Yes, Your Honor.

     19               THE COURT:    Do you admit that you produced such

     20    visual depictions using materials that had been mailed,

     21    shipped, and transported in interstate and foreign commerce,

     22    that is, a Canon PC1737 Powershot A3400 IS digital camera

     23    bearing serial No. 432061019849 that was manufactured in China,

     24    and a Toshiba 8GB HC Micro SD card bearing serial No.

     25    1403RP4801P that was manufactured in Taiwan?
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       1              THE DEFENDANT:     Yes, Your Honor.

       2              THE COURT:    I find a factual basis for the plea.

       3              Is your plea free and voluntary?

       4              THE DEFENDANT:     Yes, Your Honor.

       5              THE COURT:    Is your plea of guilty your own

       6   independent decision?

       7              THE DEFENDANT:     Yes, Your Honor.

       8              THE COURT:    Has anyone threatened you, forced you,

       9   coerced you, or intimidated you in any way regarding your

     10    decision to plead guilty?

     11               THE DEFENDANT:     No, Your Honor.

     12               THE COURT:    Has anyone made any promises or

     13    assurances to you of any kind to induce you to plead guilty,

     14    other than those stated in your plea agreement?

     15               THE DEFENDANT:     No, Your Honor.

     16               THE COURT:    Are you relying on any other agreement or

     17    promise about what sentence will be imposed if you plead

     18    guilty, other than what's stated in your plea agreement?

     19               THE DEFENDANT:     No, Your Honor.

     20               THE COURT:    At this time do you know what sentence

     21    you will receive?

     22               THE DEFENDANT:     No, Your Honor.

     23               THE COURT:    And has anyone promised that you will

     24    receive a light sentence or be otherwise rewarded by pleading

     25    guilty, other than what's stated in your plea agreement?
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       1              THE DEFENDANT:     No, Your Honor.

       2              THE COURT:    Let me ask each attorney, do you assure

       3   the Court that as far as you know, no assurances, promises, or

       4   understandings have been given the defendant as to a

       5   disposition of his case which are different or contrary to

       6   what's in the plea agreement?

       7              MR. BROWN:    I can assure the Court of that, Your

       8   Honor.

       9              MR. ROSENBLUM:     Yes, Your Honor.

     10               THE COURT:    You've been represented by Mr. Rosenblum.

     11               Have you discussed your case fully and explained

     12    everything you know about it to him?

     13               THE DEFENDANT:     Yes, Your Honor.

     14               THE COURT:    Have you had enough time to talk with

     15    your lawyer, or anyone else you care to, about your case?

     16               THE DEFENDANT:     Yes, Your Honor.

     17               THE COURT:    Are you satisfied with your lawyer and

     18    the way he's represented you in this case?

     19               THE DEFENDANT:     Yes, Your Honor.

     20               THE COURT:    Do you have any complaints about the way

     21    he's represented you?

     22               THE DEFENDANT:     No, Your Honor.

     23               THE COURT:    Do you have any complaints about the way

     24    you've been treated by the Court or anyone else which is

     25    causing you to plead guilty?
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       1               THE DEFENDANT:    No, Your Honor.

       2               THE COURT:   Has anyone coached you or suggested that

       3   you answer untruthfully any of the questions asked of you by

       4   the Court today?

       5               THE DEFENDANT:    No, Your Honor.

       6               THE COURT:   Have you told the truth today?

       7               THE DEFENDANT:    Yes, Your Honor.

       8               THE COURT:   And do you fully understand all the

       9   rights and procedures that you waive and give up by pleading

     10    guilty?

     11                THE DEFENDANT:    Yes, Your Honor.

     12                THE COURT:   And having heard everything I've said, is

     13    it your final desire to plead guilty to Counts One and Two of

     14    the indictment, pursuant to the terms of your plea agreement?

     15                THE DEFENDANT:    Yes, Your Honor.

     16                THE COURT:   And now is your last chance to speak up

     17    or ask questions before I recommend to the district judge that

     18    he accept your plea.

     19                Do you have any questions or anything you want to say

     20    at this point?

     21                THE DEFENDANT:    No, Your Honor.

     22                THE COURT:   Is the government satisfied with the

     23    colloquy?

     24                MR. BROWN:   Yes, Your Honor.

     25                THE COURT:   Is the defense satisfied?
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       1              MR. ROSENBLUM:     Yes, Your Honor.

       2              THE COURT:    Mr. Rosenblum, are you satisfied that

       3   your client knows what he's charged with, that you've had

       4   sufficient time to counsel with him, and that he is pleading

       5   guilty freely and voluntarily, with full knowledge of the

       6   consequences of his plea?

       7              MR. ROSENBLUM:     Yes, Your Honor.

       8              THE COURT:    Mr. Leslie, I'm going to make certain

       9   findings that pertain to you and then ask if you agree with

     10    them.

     11               I find that you are now alert and intelligent, that

     12    you understand the nature of the charges against you and the

     13    possible penalties, and you appreciate the consequences of

     14    pleading guilty.

     15               I also find the facts which the government is

     16    prepared to prove and which by your plea of guilty you admit

     17    state all the essential elements of the crimes to which you

     18    have pleaded guilty.

     19               I further find that your decision to plead guilty is

     20    freely, voluntarily, knowingly, and intelligently made and that

     21    you've had the advice and counsel of a competent lawyer, with

     22    whom you say you are satisfied.

     23               Do you agree with these findings?

     24               THE DEFENDANT:     Yes, Your Honor.

     25               THE COURT:    I will make a written report to the
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       1   district judge recommending that he accept your guilty plea.

       2               Each side has 14 days to object to that

       3   recommendation, or that time period can be waived.

       4               MR. BROWN:   United States will waive.

       5               MR. ROSENBLUM:    Your Honor, in this case we're not

       6   going to waive it.

       7               THE COURT:   A presentence report will be prepared by

       8   the probation office to assist the district judge in sentencing

       9   you.    You'll be required to furnish information for this

     10    report.

     11                Your attorney will represent you in the preparation

     12    of this report and at sentencing.             You and your attorney will

     13    be given an opportunity to speak on your behalf at the

     14    sentencing hearing.

     15                You and your attorney will be permitted to read the

     16    presentence report before the sentencing hearing and to make

     17    objections to it, if you have objections.

     18                Anything further to take up?

     19                MR. BROWN:   No, Your Honor.

     20                MR. ROSENBLUM:    No, Your Honor.         Thank you.

     21                THE COURT:   Okay.       Court will be in recess.

     22                COURT SECURITY OFFICER:           All rise.

     23           (The proceedings were concluded at 2:41 p.m.)

     24                                     -    -   -
     25
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       1                 CERTIFICATE OF OFFICIAL COURT REPORTER

       2

       3

       4   UNITED STATES DISTRICT COURT )

       5   MIDDLE DISTRICT OF FLORIDA       )

       6

       7              I, court approved transcriber, certify that the

       8   foregoing is a correct transcript from the official electronic

       9   sound recording of the proceedings in the above-entitled

     10    matter.

     11

     12               DATED this 1st day of May, 2018.

     13

     14                                      s/Shelli Kozachenko_____________
                                             Shelli Kozachenko, RPR, CRR, CRC
     15                                      Official Court Reporter

     16

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      1                        UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
      2                           JACKSONVILLE DIVISION

      3   UNITED STATES OF AMERICA,            Jacksonville, Florida

      4                Plaintiff,              Case No. 3:16-cr-154-J-39JBT

      5   -vs-                                 Thursday, March 1, 2018

      6   ANDREW RYAN LESLIE,                  2:05 p.m.

      7              Defendant.          Courtroom 12C
          __________________________________________________________
      8

      9                         TRANSCRIPT OF SENTENCING
                          BEFORE THE HONORABLE BRIAN J. DAVIS
     10                       UNITED STATES DISTRICT JUDGE

     11

     12                           A P P E A R A N C E S

     13   GOVERNMENT COUNSEL:

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     17   DEFENSE COUNSEL:

     18          Mark Rosenblum, Esquire
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     22          Shelli Kozachenko, RPR, CRR, CRC
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     24
                                         (Proceedings   reported   by    stenography;
     25                                      transcript    produced     by   computer.)
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      1                     T A B L E     O F    C O N T E N T S

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      3   COMMENTS IN ALLOCUTION:                                      Page No.

      4    SHARON LESLIE..................................                   19

      5    DEFENDANT LESLIE...............................                   20

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      7   VICTIM STATEMENTS:                                           Page No.

      8     TRACEY SAYLES.................................                   39

      9     DARREN BAKER..................................                   41

     10

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     12

     13        G O V E R N M E N T       E X H I B I T S      R E C E I V E D

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     15     GOVERNMENT'S EXHIBIT 1 .......................                       29

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      1                            P R O C E E D I N G S

      2   Thursday, March 1, 2018                                       2:05 p.m.

      3                                    -   -   -

      4               COURT SECURITY OFFICER:          All rise.   United States

      5   District Court in and for the Middle District of Florida is now

      6   in session, the Honorable Brian J. Davis presiding.

      7               Please be seated.

      8               THE COURT:    Good afternoon to all.

      9               ALL:   Good afternoon, Your Honor.

     10               THE COURT:    Court is convened today in connection

     11   with Case No. 3:16-cr-154.       It's United States of America

     12   versus Andrew Ryan Leslie.

     13               And our record should reflect that Mr. Leslie is

     14   present with counsel, Mr. Rosenblum, and that the government is

     15   represented today by Attorney Brown, who is present with --

     16               MR. BROWN:    If I could introduce --

     17               THE COURT:    -- Lauren Britsch?

     18               MS. BRITSCH:    Yes, Your Honor.

     19               MR. BROWN:    Yes, Your Honor.

     20               THE COURT:    With -- also an attorney, and James

     21   Greenmun with Homeland Security?

     22               AGENT GREENMUN:     Yes, Your Honor.

     23               THE COURT:    And Nathan Smith, also with Homeland

     24   Security.

     25               Welcome to all of you.
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      1               Mr. Leslie, the Court is charged today with

      2   fashioning a sentence that is sufficient but not greater than

      3   necessary to satisfy the statutory purposes of sentencing in

      4   connection with your previously entered plea of guilty to

      5   Counts One and Two of an indictment charging you with

      6   production of child pornography, in violation of Title 18,

      7   United States Code, Sections 2251(a) and 2251(e).

      8               In that connection you should have received a

      9   presentence investigation report.

     10               Did you receive that report?

     11               THE DEFENDANT:    Yes, Your Honor.

     12               THE COURT:    Did you have an opportunity to review it

     13   with your attorney?

     14               THE DEFENDANT:    Yes, sir.

     15               THE COURT:    And were all your questions about it

     16   answered?

     17               THE DEFENDANT:    Yes, sir.

     18               THE COURT:    Very good.

     19               Mr. Rosenblum, did the defense timely receive the

     20   report?

     21               MR. ROSENBLUM:    Yes, Your Honor.

     22               THE COURT:    Did the government timely receive the

     23   report?

     24               MR. BROWN:    Yes, Your Honor, we did.

     25               THE COURT:    There haven't been any objections or
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      1   exceptions filed in writing.

      2                Does the government have any today as we speak?

      3                MR. BROWN:   No, Your Honor.     However, I did speak to

      4   the probation officer earlier --

      5                THE COURT:   Yes.

      6                MR. BROWN:   -- and there was a small factual change

      7   that needed to be made.

      8                THE COURT:   I think it was brought to my attention as

      9   well.

     10                On page 9?

     11                MR. BROWN:   I believe that's correct, Your Honor.

     12   Page . . .

     13                THE COURT:   Page 9, paragraph 44?

     14                MR. BROWN:   That is correct, Your Honor.

     15                THE COURT:   Was it brought to Mr. Rosenblum's

     16   attention?

     17                MR. BROWN:   I'm not sure.

     18        (Brief pause.)

     19                MR. BROWN:   Mr. Rosenblum has been consulted and

     20   notified, and I would just recommend that the Court consider

     21   allowing the change in paragraph 44, page 9, striking the word,

     22   on the last line there, "penis" and inserting the word "hand."

     23                THE COURT:   That was my understanding of the

     24   correction to be made, and without objection, it will be made

     25   to the presentence investigation report.
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      1               Mr. Rosenblum, does the defendant have any objections

      2   or exceptions it wishes to make today?

      3               MR. ROSENBLUM:    No, Your Honor.

      4               THE COURT:    Very good.

      5               Mr. Leslie, I'm sure that Mr. Rosenblum has explained

      6   to you that one of the obligations of the Court is to consider

      7   the sentencing guidelines in fashioning a sentence for the

      8   crimes you committed.

      9               The guidelines are advisory.       They're not mandatory,

     10   but the Court is required to consider them, and in that

     11   connection, it is required to determine if they are accurately

     12   calculated.

     13               And that requires an examination of the facts of the

     14   case and your criminal history.        The guideline uses both the

     15   seriousness of offenses and the seriousness of criminal

     16   histories to recommend punishment for similarly situated

     17   defendants.

     18               In other words, if there was a defendant in the state

     19   of Oregon charged as you are charged, with a criminal history

     20   similar to yours, then the guidelines are designed to help

     21   courts treat those defendants similarly in terms of the length

     22   and character of sentence that they are -- they're given so

     23   that there isn't a significant disparity between how people

     24   who've done similar criminal behavior with similar criminal

     25   histories are treated.
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      1               In this instance the guidelines treat the base

      2   offense, the production of child pornography, as a serious

      3   offense in and of itself.       Without more, there are 32 levels of

      4   punishment recommended, and that corresponds to a certain

      5   length of time.

      6               Without more, 32 levels results in a recommendation

      7   of 121 to 151 months in prison in the 2016 guidelines.

      8               All right.    Thank you.

      9               And then in addition to that level, the offenses'

     10   characteristics are examined a little more closely, and the

     11   more harmful they become, generally, the more punishment is

     12   associated with the guideline calculation.

     13               And in this instance, with respect to Count One, the

     14   offense involved a minor who had not attained the age of 12,

     15   and specifically, in this instance, a two-year-old.           The

     16   guidelines recommends that an additional 4 levels be added.

     17               And then additionally, because there was sexual

     18   contact between the minor in this instance, 2 additional levels

     19   were added.

     20               Because the production materials that were involved

     21   in your crime included sadistic or masochistic conduct,

     22   additional levels were also added under the guidelines, 4

     23   additional levels.

     24               And because the offense involved your supervisory

     25   care or custody of a victim, additional -- you were babysitting
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      1   for some of the victims -- for this one victim in particular, 2

      2   additional levels were added.       So if you do that math, it will

      3   come to 44 points.

      4                And essentially the same kind of calculation was done

      5   for the second count.      Actually, it was slightly different.        It

      6   included a 4-level increase in the base-level offense because

      7   of the age of the child involved, and it also included sexual

      8   conduct and, in that regard, an additional 2 points or 2 levels

      9   were added.    And in this instance, again, because of your

     10   supervisory control, an additional 2 points were added.

     11                So that also resulted in a 44 -- actually, I may have

     12   misstated.    Yeah, that resulted in less of a calculation

     13   because one of the factors present in the first count was not

     14   present in the second, so that there was an adjusted offense

     15   level for that count of 40.

     16                And because the counts were multiple, they were -- an

     17   adjustment is added under the guidelines so that the greater of

     18   the two levels is considered in the balance of the guidelines,

     19   but there's an increase involved.        And there were 2 levels

     20   appropriately added to the 44 so that the combined adjusted

     21   offense level was 46.

     22                There was a pattern of activity involved in your

     23   conduct, and that is considered under the guidelines as well.

     24   If you think of it, it has to do with the guidelines being

     25   sensitive to the seriousness of the offenses generally, and a
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      1   pattern of offenses is more serious than a single offense or

      2   the lack of a pattern.

      3                In this instance the behavior did include a pattern,

      4   so an additional 5 points was added.        That adjusted the level

      5   to 51.

      6                And because you accepted responsibility and actually

      7   avoided the necessity of a trial, you get some credit for that.

      8   Three points were deducted so that it turns out that the total

      9   offense level that you receive is 43.         Forty-six less 3 is 43.

     10                Using that data, along with your criminal history,

     11   which was none whatsoever -- you have not been in trouble at

     12   all except for this charge and one that is pending that doesn't

     13   result in any increased points or levels being added under the

     14   guideline.

     15                But the Court is aware of a pending charge out of the

     16   Middle District of Tennessee involving some similar allegations

     17   at this point.     When you consider the guidelines calculation,

     18   the recommendation results in a recommendation of life

     19   imprisonment.

     20                Because the statutory maximum that could be imposed

     21   for these offenses is less than life imprisonment, that is, a

     22   total of 60 years, the guidelines require that the Court

     23   consider the statutory maximums so that the guidelines in this

     24   case do result in a recommendation that you receive between --

     25   that you receive 720 months incarceration, that the range of
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       1   supervised release recommended is five years to life per count.

       2              You're not eligible for probation.        There is a 50,000

       3   to $250,000 fine determined to be appropriate, and a special

       4   assessment of $200, as well as another assessment of $5,000 per

       5   count.

       6              The Court will find that the guidelines are properly

       7   calculated, and its recommendations will be considered by the

       8   Court in fashioning a sentence.

       9              So in addition to that consideration, the Court has

     10    received and considered the sentencing memorandum filed by your

     11    attorney that talks about your personal history in a little

     12    more detail than the -- and from a different perspective than

     13    the presentence investigation report, and also includes a

     14    number of letters from people that know you personally and have

     15    known you all of your life, probably most important from your

     16    mother and several other family, friends, and acquaintances.

     17    The Court has considered that as well.

     18               It is your attorney's opportunity today to make an

     19    argument on your behalf, if he wishes to, and for you to

     20    additionally make an argument or a statement to the Court as to

     21    things you wish the Court to consider in fashioning a sentence,

     22    and that might include other witnesses and other documents as

     23    well.

     24               And the government has an opportunity to do that, as

     25    well as offer testimony of victims or statements of victims and
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       1   other information that would be useful to the Court in

       2   fashioning a sentence.

       3              So having said that, Mr. Rosenblum, if you wish, you

       4   are welcome to make an argument, present any testimony or

       5   evidence that you would have the Court consider at this time.

       6              MR. ROSENBLUM:     Thank you, Your Honor.

       7              THE COURT:    You're welcome.

       8              MR. ROSENBLUM:     Your Honor, the way I intend to

       9   proceed is to make some statements on behalf of Mr. Leslie,

     10    then I'm going to call his mother forward.         She would like to

     11    address the Court.     And then I think Mr. Leslie himself would

     12    like to address the Court.

     13               THE COURT:    Very good.

     14               MR. ROSENBLUM:     Your Honor, this is a tragic case for

     15    all concerned.    It's tragic for the victims and their families,

     16    who I believe are well represented in the courtroom.           It is

     17    tragic for Mr. Leslie himself, and it's tragic for Mr. Leslie

     18    and his family.

     19               Mr. Leslie has a sickness, and that sickness is

     20    called pedophilia.     That's the bad news.      The good news is that

     21    he's crying out for help, and he is committed to change.

     22               It's unfortunate that it took the event of his arrest

     23    to bring it to the surface and bring it to light where he will

     24    be forced now to get some help, but the fact of the matter is

     25    that Mr. Leslie has wanted to get help for this sickness that
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       1   he knows that he has for a very long time.

       2              Since he's been arrested, he has done everything in

       3   his power to try to right this wrong.        Now, we all know that it

       4   can never be righted, but it does speak well of Mr. Leslie that

       5   he is trying to do what he can.

       6              And you start off with the fact that he was extremely

       7   candid with me and with my staff when we first met him and were

       8   trying to figure out what the case was about.

       9              I know the Court has probably prosecuted and, as a

     10    judge, has adjudicated many cases involving sexual offenses of

     11    this nature.    And it was highly unusual that Mr. Leslie was as

     12    forthcoming with us when we first started out.

     13               Then Mr. Brown reached out to me and said that this

     14    may be one of those rare cases where the government, in a child

     15    pornography/sexual exploitation/child production type of case,

     16    might be interested in actually meeting with Mr. Leslie in

     17    order to try to gain intelligence about what he did, how he did

     18    it, how others were doing it, and to just get an overall

     19    picture that would be of help to law enforcement in the fight

     20    against child pornography.

     21               In that regard, Mr. Leslie provided a proffer to

     22    Mr. Brown, to Ms. Britsch, his counterpart from the Department

     23    of Justice who came into town specially for the proffer, and to

     24    these agents that are sitting in the courtroom, Agent Greenmun

     25    and Agent Smith.     And as I recall, that proffer lasted the
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       1   better part of a day.

       2               Mr. Leslie was extremely comprehensive.        He was

       3   extremely candid, and I think that we were all struck with the

       4   unusual candor that he displayed in terms of admitting what he

       5   had done.   And throughout it all, it was clear that he wanted

       6   to get help for his problem.

       7               THE COURT:   Yeah.   Let me stop you for a moment

       8   because I -- you brought to mind something that I didn't

       9   mention that I did consider which was Mr. Leslie's letter to

     10    the Court, among the other letters that the Court received.

     11                And what triggered my memory about it was what you've

     12    described the proffer involved, was his candor and openness in

     13    discussing his crime.

     14                MR. ROSENBLUM:    Yeah.

     15                THE COURT:   So I want the record to reflect that the

     16    Court's taken particular note of that as well.

     17                MR. ROSENBLUM:    Yes.    I'm glad that you brought that

     18    up, Your Honor, because that was another indication of

     19    Mr. Leslie's candor, the letter that he wrote to the Court.

     20                I know the Court has read a lot of letters from a lot

     21    of offenders who are about to be sentenced, and I hope the

     22    Court will agree that Mr. Leslie's letter was especially

     23    truthful in terms of what he had done, how he feels about

     24    himself, and what his intentions are for the future.

     25                There was also the psychological evaluation with
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       1   Dr. Cohen, and in his meeting with Dr. Cohen, he didn't pull

       2   any punches at all.     He was extremely truthful with Dr. Cohen.

       3   And it helped, I think, in terms of allowing Dr. Cohen to

       4   formulate a report that will hopefully be helpful to the Court

       5   in terms of fashioning a sentence.

       6              I mentioned the proffer that Mr. Leslie provided, and

       7   the fact of the matter is that the cooperation, as Mr. Brown, I

       8   expect, will tell you, or Ms. Britsch, whichever one, will tell

       9   you, did not rise to the level, as far as the government is

     10    concerned, of substantial assistance that would lend itself to

     11    a traditional 5K1.1 motion.

     12               But in terms of the 3553 factors, I think that the

     13    proffer and the information Mr. Leslie gave was extremely

     14    valuable to law enforcement.

     15               And it did not stop with just the one-day proffer

     16    that we all attended.     Mr. Leslie, on a number of occasions,

     17    either met with or, through phone calls or other

     18    communication -- sometimes I was the middleman -- would provide

     19    information to the government agents as they continued

     20    investigating the crime.

     21               I mentioned Dr. Cohen's report, and I just wanted to

     22    quote very briefly from the report.        On page 4 Dr. Cohen said,

     23    "He was not overly guarded and did not appear to dodge any

     24    questions or topics.     In fact, he was extremely candid and

     25    forthcoming about his previous behaviors and sexual acts.
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       1   Mr. Leslie stated, 'I am actually really happy to tell you all

       2   of this and get it off my chest.       I want to know why I did what

       3   I did.'"

       4               And I would submit to the Court that while we all

       5   understand that there's going to be a significant punishment

       6   imposed here, Mr. Leslie's attitude -- and I believe that it's

       7   truthful.   I don't think that he's just making this up as he

       8   goes along in order to please the Court and get a lesser

       9   sentence.   It bodes well for the future because it shows that

     10    Mr. Leslie has insight into the fact that he does have a

     11    sickness, and he genuinely wants to get help for it.

     12                The Court mentioned the letters that you received

     13    from family and friends, and those letters show a totally

     14    different side of Mr. Leslie.       There really is goodness in him,

     15    and there really is a lot to be admired about Mr. Leslie.

     16                And he has a good heart, and he really has tried to

     17    help people.    And he is going to try to help himself beat this

     18    demon that lives inside of him.

     19                One of the things that we provided to the Court was

     20    the article from Psychology Today, and I think that report

     21    gives terrific insight into --

     22                THE COURT:   And let me say, because I did not mention

     23    the attachments to your memo that included both Dr. Cohen's and

     24    the letters -- I did mention the letters.

     25                I did read the article, and I did read Dr. Cohen's
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       1   report, with much interest, by the way, so thank you for

       2   sharing both of those with the Court.

       3              MR. ROSENBLUM:     And I think that the article from

       4   Psychology Today really is helpful to all of us that deal with

       5   these cases, at whatever level we deal with them, to understand

       6   what someone who has this sickness goes through in terms of the

       7   frustrations about getting help.

       8              Just to quote briefly from the article, and it is on

       9   page -- it's actually page 86 of the article, page 3, I think,

     10    of the attachment.     It says, "The dense mass of stigma

     11    surrounding sexual abuse not only deflects compassion for

     12    potential abusers, but it erects particular barriers that

     13    prevent them from getting help.       Dr. Levenson surveyed

     14    convicted offenders about these barriers, and the first thing

     15    they say is that they really had no idea where to go.

     16               "They see all these public health announcements:            'If

     17    you have a drug problem, or a gambling problem, or you think

     18    you have HIV, call this number.'       But you never see a bus go by

     19    with an ad that says:     'If you're concerned about your

     20    attractions to children, call this number.'         Another reason is

     21    the very shame and fear of judgment -- 'If I open up and tell

     22    somebody, what are they going to think of me?'"

     23               So there are people that have this sickness, and,

     24    again, not to beat a dead horse here, but I think that

     25    Mr. Leslie is prepared to dedicate the rest of his life not
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       1   only to try to better himself and make sure that he never

       2   reoffends but also to help other people who suffer from

       3   pedophilia.

       4              There are resources available.        When he goes to

       5   prison, Mr. Leslie will have the opportunity to take advantage

       6   of sex offender treatment, which we would recommend be as

       7   intensive as possible, and that's what Mr. Leslie wants, and

       8   whatever counseling is available to him.

       9              And on the day that he gets out of prison, he would

     10    like to continue with those programs.        He wants to do whatever

     11    he can to right this wrong.

     12               It occurs to me that if ever there comes a time --

     13    and Ms. Britsch from the Department of Justice may have a

     14    better handle on this, or the agents for Homeland Security, or

     15    perhaps Mr. Brown, but if ever there came a time where there

     16    was a study that was made of people who are admitted --

     17    admittedly suffering from pedophilia and they are looking for

     18    volunteers to participate in that study in order to try to

     19    eradicate this problem and this sickness, Mr. Leslie would be

     20    the first volunteer.

     21               The Court noted the Tennessee case, and it's no

     22    secret to the Court, I'm sure, that when we get done here,

     23    Mr. Leslie will face some very serious charges in Tennessee.

     24               And the fact of the matter is that I think that the

     25    charges in Tennessee are related to the charges in this case.
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       1   My understanding is that this is the discrete production

       2   charges, whereas the case in Tennessee is a more wide-ranging

       3   enterprise charge.     But Mr. Leslie will not be done when he

       4   gets done with the Middle District of Florida.          He'll still

       5   have to face another serious charge.

       6              Your Honor, I know that what I have said, what Sharon

       7   Leslie, his mom, is going to say, what Mr. Leslie says cannot

       8   change what has happened.      And let me say this.      I know the

       9   Court is about to hear a dramatic and heartbreaking rendition

     10    from the prosecution.

     11               I expect the prosecution may call forward families of

     12    victims of Mr. Leslie, and we realize that that will certainly

     13    affect the judgment of the Court.

     14               But on -- on behalf of Mr. Leslie and his family, the

     15    only thing that we can ask the Court to do is to impose a

     16    sentence that will allow Mr. Leslie to see the light at the end

     17    of the tunnel.

     18               THE COURT:    All right.    Thank you very much,

     19    Mr. Rosenblum.

     20               MR. ROSENBLUM:     Your Honor, if I could call Sharon

     21    Leslie forward.    I think she wanted to address the Court.

     22               THE COURT:    Sharon Leslie.

     23               MR. ROSENBLUM:     Ms. Leslie, would you tell Judge

     24    Davis who you are, how you're related to Andrew, and what you

     25    would like to say to the judge about your son.
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       1              Tell the judge a little bit about yourself in terms

       2   of what you do for a living as well.

       3              MS. LESLIE:    I work for the post office.       Andrew is

       4   my youngest son.     I would like to read a short statement on his

       5   behalf.

       6              I want you to know that it haunts me about everything

       7   that he has done and everything that these children have gone

       8   through.   And I hope and pray that you will see in your heart

       9   to get him the treatment that he most desperately needs,

     10    that -- there are so many things that could have happened that

     11    I know now that I've missed something in his life that I did

     12    not catch and did not help him with.

     13               And I know that only with help, treatment, love, and

     14    forgiveness will he ever be able to return.         I know that he has

     15    to face his punishment, and I want the Court to know that I

     16    will be here to help him in any way that he needs or the Court

     17    needs for me to be here to help him face his punishment and

     18    help the treatment that he needs.

     19               I know there's no way I can ever make it up to

     20    families or the children or even my family for the things he

     21    has done, and I know it's going to be hard for him to make it

     22    up to any of them.     But I pray that you will give him the

     23    chance to do that.

     24               Thank you.

     25               THE COURT:    Thank you, ma'am.
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       1               MR. ROSENBLUM:    Thank you.

       2               Your Honor, I think Mr. Leslie wanted to address the

       3   Court.

       4               Does the Court want him to talk now or after the

       5   prosecution gets done with its presentation?

       6               THE COURT:   He can speak now if he likes.

       7               THE DEFENDANT:    First of all, I would like to

       8   apologize to my victims and their families.         I never meant to

       9   harm them, and I hate myself for the things that I've done.

     10                I'm sorry for taking advantage of their trust and

     11    their children.    I understand that they may never forgive me,

     12    and honestly, I don't expect them to.        I wouldn't if I was in

     13    their shoes.

     14                For the future it is my hope to get a degree in

     15    psychology and to start an organization for those attracted to

     16    children.   My organization would help them deal with their

     17    problems and their urges safely and with no harm to others.

     18                While being in jail I learned that there are

     19    treatment programs for this.       I wish I would have known that

     20    before.   But I will make it more -- I will make this more known

     21    to others and to offer it before they offend.

     22                As for my sentencing, I deserve 60 years and more,

     23    but please, Your Honor, allow me to spend time with my mother

     24    before she passes.     As well, allow me the time to start a new

     25    career if I'm allowed to use computers or the time to relearn
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       1   if I'm not.

       2              I understand -- or I will be happy to accept any

       3   extra conditions, including castration, even though I still

       4   want to have children myself.

       5              I understand this is quite a bit to ask considering

       6   the offenses, but please, if not for me, for my mom.           This has

       7   been harder on her than me.

       8              THE COURT:    All right.    Thank you, Mr. Leslie.

       9              MR. ROSENBLUM:     That's all we have, Your Honor.

     10               THE COURT:    Thank you, Mr. Rosenblum.

     11               Mr. Brown?

     12               MR. BROWN:    May it please the Court.

     13               On behalf of my co-counsel, Lauren Britsch, and the

     14    HSI agents who are not only here at counsel table as case

     15    agents but also here in the courtroom, I echo Mr. Rosenblum's

     16    statement that this is a very, very serious case, and there are

     17    no winners in the courtroom.       In fact, in a way we're all

     18    losers.

     19               And the reason why we're here is because of choices

     20    that this defendant made.      And I understand, to some extent --

     21    although I'm not an expert, I understand pedophilia.           I

     22    understand the points made in the article.         I understand the

     23    compulsions that some offenders like Mr. Leslie feel.

     24               But while one could legitimately talk about how a

     25    defendant, quote, suffers from pedophilia, what I would like to
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       1   point out is the other side of the coin and point out how

       2   victims suffer from pedophilia, that is, the victims that are

       3   assaulted and molested as a result of individuals who are

       4   pedophiles, as this defendant is.

       5              A little bit of background, Your Honor.         This case is

       6   well advised by the presentence investigative report, but this

       7   case -- the investigation has been going on for a number of

       8   months and a few years into a website on the dark web, which I

       9   won't name here in court.

     10               I know this Court is familiar, at least in general,

     11    with how the dark web works, but as the Court knows, the dark

     12    web is a place where individuals can go for anonymity.

     13               And that anonymity can be good if you are a political

     14    dissident in Iran or North Korea, but that anonymity can be

     15    used for bad if you are a drug dealer or a person who does

     16    identity theft or a person who steals credit cards or a person

     17    who molests children and trades in child pornography.

     18               So this -- this website was established on the Tor

     19    network, which is The Onion Router Network, at a particular --

     20    and it was difficult to get to unless you knew how to get to it

     21    by probably word of mouth from another pedophile.

     22               Members of this would create posts that other members

     23    could comment on, and the typical nature of the posts contained

     24    a preview of an image, a link to a password, and perhaps a

     25    password to open certain password-protected archives.
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       1              Now, it's important to note that when a person, a

       2   guest, came on to this, that their status was elevated to

       3   registered, quote, acting -- or awaiting activation, not

       4   member.

       5              To become a member, an administrator of the website

       6   or the server would have to approve that member, and the only

       7   way to apply for full membership was by creating a post

       8   containing child pornography.

       9              And so this had to be not just child pornography that

     10    had been around out on the Internet for years, which is

     11    horrible in and of itself.      But usually what was required was

     12    production of new material, that is, things that had not been

     13    seen before.

     14               And the way to produce that type of material is to

     15    molest the children and then produce it yourself.          And I would

     16    submit to you that that's what Mr. Leslie, and others, did to

     17    gain access to that server and that website.

     18               And guests are able to navigate to various postings.

     19    They're able to get to chat functions.        In fact, there's a

     20    real-time textual chat function feature that any user,

     21    including nonregistered guests, could get on and communicate

     22    and share links containing child pornography.

     23               And so there was essentially the ability to have a

     24    chat log wherein Mr. Leslie was able to speak to other members

     25    about child pornography and share and exchange child
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       1   pornography as well.

       2              In the meantime, HSI had another investigation into a

       3   particular website that Mr. Leslie was running himself.           And at

       4   the time that they got on to that website, they were able to

       5   get some electronic surveillance authority from the Court here

       6   in this building to do pen registers, but at that very time,

       7   that website was taken down by Mr. Leslie.

       8              And he explained the reasons why he did that in the

       9   proffer.   But in any event, it was taken down.         And so there

     10    was not a lot of information that was gathered during about a

     11    five- to six-month period.

     12               The break came when three individuals were arrested.

     13    And the presentence investigative report does a good job of

     14    pointing this out on page 5 and 6.

     15               In October of 2016, HSI agents were able to, with law

     16    enforcement partners, arrest three individuals who were

     17    involved in child pornography offenses, including two that came

     18    into the Eastern District of Virginia to meet and molest a

     19    child.

     20               They were arrested, and one of those -- at least one

     21    of those individuals was interviewed and talked about a

     22    face-to-face meeting with an individual that he referred to as

     23    having met on the website that I mentioned before, on Tor,

     24    called, quote, TheAwesomeOne.       That is Andrew Leslie.      That is

     25    the username that Mr. Leslie named himself.
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       1              And during that interview, this individual was able

       2   to tell law enforcement about meeting with Mr. Leslie in

       3   Tennessee and about how Mr. Leslie was able to meet with that

       4   individual and then they were able to share child pornography

       5   that Mr. Leslie had produced.       And they got together, and they

       6   viewed that in a hotel room and gratified themselves.

       7              And one of those video files shows Mr. Leslie engaged

       8   in anal intercourse with an infant.        And so Mr. Leslie had told

       9   that individual about access that he had to children through

     10    babysitting down in Florida.

     11               Using that information and a forensic review of

     12    certain material, HSI was able to get enough information to not

     13    only find Mr. Leslie, through various sources, but also to

     14    establish probable cause to get a search warrant for his

     15    residence, and they executed that warrant on October 18 of

     16    2016.

     17               And what happened on that day -- and some of the

     18    agents -- not only the agents who are at counsel table but

     19    there are other agents in the courtroom who were there.           What

     20    they found was Mr. Leslie essentially in bed with a

     21    two-year-old child.

     22               And Mr. Leslie was cooperative.        That female child

     23    was referred to by Mr. Leslie as a toddler.         And I should say

     24    they didn't actually pull him out of bed.         He referred to

     25    himself as "just been in bed with the toddler."
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       1              And so they executed the search warrant.         Mr. Leslie

       2   chose not to speak with them at that time.         And they executed

       3   the search warrant and got a number of electronic and computer

       4   digital devices from his residence, which the Court can see

       5   listed out but have now been administratively forfeited.           That

       6   was done by consent.     And so jumping ahead to the end, there's

       7   no need for the Court to do an order of forfeiture in this

       8   case.

       9              Mr. Leslie, I would submit, when he produced child

     10    pornography, he would then upload it to these various websites.

     11    But in this particular case, Mr. Leslie had not had the time to

     12    do that because there was a camera which was on his bedside

     13    table.   And that camera, when it was examined by law

     14    enforcement, it was found to contain child pornography,

     15    including the two victims that are set forth in the charged

     16    offenses in this case, the counts of conviction.

     17               One was a two-and-a-half-year-old child, and the

     18    other was approximately a six-month-old infant.          And there were

     19    other images and videos that were recovered from his

     20    collection, if you will.

     21               Specifically, the presentence investigative report

     22    correctly recounts that there were approximately 33,000 images

     23    of both -- images and videos of child pornography.

     24               And as the Court knows that some of the family

     25    members are -- of the victims are in court at this time, and
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       1   I'm going to be a little specific in one of my descriptions to

       2   the Court.    And I'd like to offer those family members the

       3   opportunity to leave the courtroom if they don't wish to hear

       4   this description.

       5                And I'll offer them that opportunity now.

       6                They want to stay, Your Honor.

       7                THE COURT:   That's fine.

       8                MR. BROWN:   One of the videos, Your Honor, that we

       9   reviewed depicted Mr. Leslie straddling an infant child and

     10    forcing his penis into that child's mouth.

     11                 Another showed, as I've mentioned before, the

     12    defendant engaged in anal intercourse with a very, very young

     13    child.

     14                 And essentially we were able to identify, through

     15    capturing -- through that process, we were able to identify

     16    approximately four -- well, not approximately.          Four children

     17    were able to be identified, two of whom their family members

     18    are present in court, and I think the Court may hear from some

     19    of them later.

     20                 And so one of the things that's important is for --

     21    in this type of case is that the Court know the nature of the

     22    offense.   That is, that's one of the 3553(a) factors.          And

     23    while not being gratuitous, I wanted the Court to know that

     24    that is the type of material that we're talking about.

     25                 You know, oftentimes people think of child
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       1   pornography as, you know, 15- and 16-year-old girls topless on

       2   some French beach somewhere.       That's not what this defendant

       3   was doing.    That's not what this defendant liked.

       4                And, of course, the Court is well aided by his

       5   statement and the psychological report and the extraordinary

       6   candor that the defendant has given.        But candor and

       7   truthfulness only go so far.       There has to be punishment, and

       8   there has to be consequences, and there has to be -- equally as

       9   important, there has to be justice for victims.

     10                 And so that's part of what the United States is

     11    seeking here today, justice for the victims.         And that includes

     12    just punishment and the other factors that are set forth in

     13    3553(a).

     14                 As I mentioned, the agents were able to recover chat

     15    logs from the defendant's computer, and one of the chat logs I

     16    brought to court.     And I'm going to call this, with the Court's

     17    permission, and I'll offer it as Government's Exhibit No. 1.

     18                 And may I approach, Your Honor?

     19                 THE COURT:   You may.

     20                 Thank you.

     21                 MR. BROWN:   Your Honor, this was a chat log that was

     22    obtained from some of the computer media that was obtained from

     23    the forensic examiner, who is here at counsel table, James

     24    Greenmun.

     25                 And it is a document that is approximately 47 pages
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       1   in length.    And I'm not going to go through all of it, but I

       2   wanted to highlight a few of the lines there.

       3                What this is, this is a discussion between

       4   TheAwesomeOne and an individual known as crazymonk, who was one

       5   of the individuals who was arrested in Virginia who has now

       6   pled guilty and who -- I'll talk about his sentence in just a

       7   moment.

       8                But what this shows is that on the dark web,

       9   Mr. Leslie and this other purveyor of child pornography were

     10    having discussions and trading child pornography in real time.

     11                 So this chat log shows -- and, again, the defendant

     12    is TheAwesomeOne, and I would point out that the defendant not

     13    only referred to himself as TheAwesomeOne, but he referred to

     14    some of the victims with the "awesome" moniker as well,

     15    including TheAwesomeTot and TheAwesomeBaby.

     16                 On page 1 of -- well, let me first move to introduce

     17    Government's Exhibit No. 1.

     18                 MR. ROSENBLUM:   No objection.

     19                 THE COURT:   It will be marked and admitted.

     20         (Government's Exhibit 1 was received in evidence.)

     21                 MR. BROWN:   And may I also -- my colleague reminds me

     22    to ask the Court to place Government's Exhibit No. 1 under

     23    seal, and I would so move that, Your Honor.

     24                 THE COURT:   Government's No. 1 under seal without

     25    objection?
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       1                MR. ROSENBLUM:   Yes.

       2                THE COURT:   It will be marked and admitted.

       3                MR. BROWN:   Your Honor, on page 1, line 24 there,

       4   crazymonk says, "Downloading CP is always a great option, and

       5   don't share these."

       6                And Mr. Leslie responds, "Which one is this?"

       7                And then crazymonk describes exactly what is being

       8   depicted there, and I'll let the Court read that.

       9                THE COURT:   Let me address your request that the

     10    Court look at a video that's under seal.

     11                 Is that what you just did?

     12                 MR. BROWN:   No, Your Honor.    No, Your Honor.     I'm

     13    simply -- I'm asking if the Court will seal this chat log.

     14    We're not offering any videos.

     15                 THE COURT:   Oh, so your request was that I seal this

     16    chat log.

     17                 MR. BROWN:   Yes, Your Honor.

     18                 THE COURT:   Okay.   I misunderstood you.

     19                 MR. BROWN:   Yes.

     20                 THE COURT:   I thought you asked me to watch

     21    something.

     22                 MR. BROWN:   No, Your Honor.

     23                 THE COURT:   Okay.

     24                 MR. BROWN:   No, Your Honor.    What I'm asking you to

     25    do is just follow along as I point out a few lines of text.
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       1               THE COURT:   I'll be glad to.

       2               MR. BROWN:   Thank you.

       3               I'd be happy to -- if the Court wanted to know more

       4   about the material, I can describe it to you.

       5               THE COURT:   No.    Had you asked me to watch something

       6   that's in evidence, I was going to give you the opportunity to

       7   provide a visual -- I mean, a verbal description of it in lieu

       8   of me watching it because I'm not going to.

       9               MR. BROWN:   I understand, Your Honor.

     10                THE COURT:   Okay.

     11                MR. BROWN:   And I anticipated that, and that's why I

     12    described them in detail and offered the family the opportunity

     13    to leave.

     14                THE COURT:   All right.    Thank you.

     15                MR. BROWN:   On line 43 of page 1, Mr. Leslie says,

     16    about one of the persons -- or one of the children depicted in

     17    the videos, quote, "She's less than a week old, and her mom

     18    told me I can steal her whenever I want."

     19                This is a person that he was referring to hopefully

     20    having some future activity with.

     21                Page 2 of Government's Exhibit No. 1, line 51.         I'll

     22    let the Court read that.       That is spoken by TheAwesomeOne,

     23    i.e., Mr. Leslie, and it gives his intentions of what he was

     24    going to do into the future -- in the future.

     25                Moving over to page 4, line 167, Mr. Leslie stated,
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       1   quote, "I need to figure out how to use Kik over Tor," and then

       2   he was -- which is -- Kik is a communication -- online

       3   communication service.      Tor is the -- essentially the dark web.

       4              And then he says, quote, "There are a few groups

       5   there for sharing porn."

       6              Next, page 5.     And crazymonk says, quote -- there on

       7   line 211, quote, "Was oddly nice to see each other getting off

       8   to little babies and toddlers."

       9              And then Mr. Leslie responds, "Nice, ha ha."          And

     10    then he goes on, at line 217, quote, "Once I remove the Exif, I

     11    have pictures for you."

     12               Next line, "But I have a video I need you to edit,"

     13    closed quote.

     14               What he refers to there is removing the Exif data or

     15    the embedded data from the images so that it can't be traced

     16    back to him in -- and his devices.

     17               Later on that page, 261 and 263, he says, quote, "The

     18    pics really don't need editing.       I need the video edited.

     19    Otherwise it would point back to Sweet Baby October."

     20               Sweet Baby October is a child pornography series that

     21    he created with one of the victims in this case.

     22               Page 6, line 276, Mr. Leslie states there -- and I'll

     23    let the Court read that.

     24               And then later on -- at line 334 on page 6, crazymonk

     25    says, quote, "Is that the only one you're babysitting alone?"
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       1              Mr. Leslie says, "Yes."

       2              And then crazymonk, on 345, gives his opinion about

       3   how fortunate Mr. Leslie, that is, TheAwesomeOne, is to be

       4   alone with that child.

       5              And the last one I'll point out is on page 7, line

       6   431.   Mr. Leslie says, quote, "Everyone doesn't believe when

       7   people call me a pedo."

       8              And then crazymonk responds, "And here you are" --

       9   and you can see that line there.

     10               And Mr. Leslie responds, "New baby at one month."

     11               And so the reason why we introduced the chat logs is,

     12    I mean, there's no question that it appears that the defendant

     13    has shown remorse after being arrested.        There's no question

     14    that he has been candid with not only law enforcement and

     15    apparently also his psychologist and his lawyer and maybe even

     16    his family, and that's all good.

     17               But that's only part of it, because what's also

     18    important to see is, what did Mr. Leslie say when he thought

     19    nobody was looking?     What did Mr. Leslie say when he was online

     20    with other pedophiles who were looking to victimize children

     21    and to use that as essentially currency to gain access to these

     22    websites and membership in these websites?

     23               It is true that Mr. Leslie made efforts at

     24    cooperation.    There's no question about it.       It is true that

     25    the agents and the lawyers spent roughly five or six hours with
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       1   him, the better part of a day.       It is true he appeared to be

       2   candid and truthful.     No question about that.

       3              It is true that he subsequently contacted law

       4   enforcement with efforts to provide additional information or

       5   additional passwords.

       6              What the defendant did was provide passwords to his

       7   encrypted media, even though he knew that whatever was found

       8   could be held against him.      But he did that.     That is laudable,

       9   no question about it.     That is cooperative.      There's no

     10    question about it.

     11               But it did not result -- while it was valuable, and

     12    Mr. Rosenblum is absolutely correct, it did not result in the

     13    arrest of other individuals.       It did not further the

     14    prosecution.    Mr. Leslie was one of the last involved, and so

     15    he was in the unenviable position, which sometimes the Court

     16    may have seen in drug cases, of having to be one of the last

     17    ones in.

     18               And so despite his efforts, which are laudable, it

     19    didn't result in 5K consideration under our policy.          But, as I

     20    told Mr. Rosenblum and as Mr. Rosenblum told the Court, that

     21    is -- certainly should be considered by this Court.

     22               But only when weighed against the magnitude of the

     23    harm to the victims and their family, which substantially, in

     24    our position, outweighs the efforts at cooperation, even though

     25    they were full -- they were fully attempted by the defendant.
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       1               The psych report that was contained in the --

       2   attached to the sentencing memorandum, the Court knows that

       3   oftentimes the United States will object to the admission of

       4   reports.

       5               We didn't object to the admission of the report this

       6   time for several reasons, not the least of which it contained

       7   inculpatory statements which -- which, like under the evidence

       8   code, when someone says something that inculpates them, it's

       9   presumed to be truthful, which is why hearsay on that ground is

     10    admissible.    So there doesn't appear to be a lot exculpatory in

     11    it, and so therefore, that's one of the reasons why we didn't

     12    object.

     13                And so one assumes that when a defendant admits to

     14    committing crimes, that he's telling the truth.          And so I would

     15    point out, on page 3 of that report, which is attached to the

     16    memorandum, it talks in detail -- it indicates, quote, "He

     17    freely admits to inappropriate sexual contact with underage

     18    children.

     19                "He reported that he had made ten pornography videos

     20    and took at least 150 pictures.       He reported having at least

     21    one gig worth of child porn stored on his personal equipment.

     22    He stated that he felt bad about engaging in sex acts with

     23    children less than five years old but felt less bad" -- that's

     24    in quotes -- "about children age ten and up since he believed

     25    it was more consensual.
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       1                "Initially he became interested in children age six

       2   to ten, but then, as he desensitized to the content, his age

       3   interest widened to children age zero to 12."

       4                Zero to 12.   And, I might add, it goes on to talk

       5   about the following victims that he reported, and there were

       6   ten victims that he self-reported there, including the four

       7   that we knew about prior to his arrest.

       8                One of those victims -- it is the Sweet Baby October

       9   series -- has now become a popular series on the Internet with

     10    other pedophiles.

     11                 Mr. Leslie is smart.    He has great expertise in

     12    computers.    He was able to do fantastic things with encryption,

     13    do fantastic things with servers.       He knew his way around, and

     14    even he -- in his mitigation speech, he indicated hopefully

     15    being able to get back involved in computers someday.

     16                 On page 4 of that report, reading from the part that

     17    Mr. Rosenblum -- picking up from where Mr. Rosenblum left off,

     18    it says, quote, "Mr. Leslie reported that he was most

     19    interested in knowing how he was caught."         Most interested in

     20    knowing how he was caught.

     21                 "He believes that his making of his website and then

     22    attempts to make a 'porn stars listing index' to help others

     23    find the child porn star they wanted may have been the final

     24    straw.   He stated, 'The thing I am most sad about is hurting

     25    the kids.    I never meant to hurt them, and I'm also sad about
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       1   being stuck in jail forever.'

       2              "He only verbalized his understanding that harm to

       3   the children was from a physical standpoint and not from an

       4   emotional or psychological standpoint."

       5              That statement strikes me as a bit tone-deaf because

       6   it ignores the psychological and emotional trauma that the

       7   victims' families must feel for having been violated -- their

       8   trust been violated and their children, the most valuable

       9   members of their families, being violated as well.

     10               The other thing that struck the United States, both

     11    counsel, about this report was that nowhere -- and if I did

     12    miss it, I'm sure Mr. Rosenblum will point it out to me, but

     13    nowhere does it talk about recidivism.

     14               Usually, in psychological reports in child

     15    pornography cases -- and this Court has seen them -- the expert

     16    will talk about risk of recidivism.        And usually -- because

     17    it's something that is being presented as a mitigation, usually

     18    it points out low risk of recidivism.        This report is silent on

     19    recidivism.

     20               On page 7 it points out that, quote, the bottom

     21    paragraph, "Mr. Leslie, based on all evidence recovered from

     22    his possession, his verbalized strong sexual interest in only

     23    prepubescent children" -- I'll repeat that -- "his verbalized

     24    strong sexual interest in only prepubescent children, his

     25    engagement in sexual relations with minors, his creation and
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       1   distributed child pornography, and repeated patterns of

       2   behavior, a paraphilic diagnosis of pedophilia is rendered."

       3              So there's no question this is not a case where

       4   anybody doubts that we're dealing with a pedophile.          And so I

       5   would submit to you that because there's no reference to low

       6   risk of recidivism, that I would imagine a person with this

       7   type of deep-seated -- Mr. Rosenblum calls it sickness.           I call

       8   it a condition.    I also call it criminal conduct -- that I

       9   would submit because it's so deep-seated, this defendant can

     10    never be trusted around children again, ever, and should never

     11    be trusted around children again.

     12               And the United States submits and hopes that the

     13    Court's sentence will recognize and affirm that principle.

     14               I also add, Your Honor, that there were a number of

     15    restitution claims that were made in the case, not by anyone

     16    who's in the courtroom today, but there were a number of

     17    restitution claims that were made based upon items that were in

     18    Mr. Leslie's collection, that is, the 33,000 images and videos.

     19    And they're listed in the presentence investigative report.

     20               I have personally spoken with the lawyers that

     21    represent the victims in each of those series, and I told

     22    Mr. Rosenblum this as well, that they each, in light of the

     23    fact that this is a hands-on offender who has produced child

     24    pornography, both lawyers who represent those six or seven

     25    different victims, series of victims, have withdrawn their
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       1   restitution claims, and that part of the case needs no further

       2   action by the Court.

       3              Your Honor, I wanted to recognize anyone in the

       4   victim -- the child victims' families who would like to be

       5   heard at this time.     I know there are families from two

       6   different victims who are here, and with the Court's

       7   permission, I'll invite them up, if they wish to come.

       8              THE COURT:    You may.

       9              MR. BROWN:    May I have just a moment to confer?

     10               THE COURT:    You may.

     11               Good afternoon, ma'am.

     12               MR. BROWN:    Your Honor, with the Court's permission,

     13    may I stand next to her?

     14               THE COURT:    You may.

     15               Will you please introduce yourself to the Court,

     16    please.

     17               MS. SAYLES:    My name is Tracey Lindy Sayles.        I'm his

     18    aunt.

     19               THE COURT:    Welcome.

     20               MS. SAYLES:    It's hard for me to stand here.        Of

     21    course, I'm sure everybody realizes that.         I've know him since

     22    he was born.    He was always a sweet child, a little different,

     23    but everybody is a little different.        Everybody has their own

     24    peculiars and personality traits.

     25               He was especially close with my youngest daughter.
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       1   They were closer in age.      Our parents -- my parents would take

       2   the two -- she would take two grandchildren at a time during

       3   the summer months, you know, and they were the two that wanted

       4   to go together.    They were close.

       5               He was a sweet child.     He could -- he was an

       6   intelligent child.     But as he got older, some peculiars, you

       7   know, became more pronounced, but nothing that you'd -- you

       8   know, "That's just Andrew.      That's just the way he is," you

       9   know.    No more different than you like chocolate ice cream and

     10    he likes vanilla, you know.      Just their personalities.       If the

     11    whole world was the same, what a boring place it would be.

     12                But as you -- but now come to light with all this, I

     13    would say he's a chameleon.      His personality fit whatever

     14    situation or people he was with.

     15                It's hard for me and for my family to believe what he

     16    has done.   However, there's no disputing it.        The evidence is

     17    there.

     18                My concern is for the victims.       It's no longer --

     19    he's no longer my concern.      I have no concern for him

     20    whatsoever.    I'm sorry for his mother and all that she's going

     21    through, and I love her.      She's my sister, but I'm not

     22    concerned for him.

     23                And if he wants to further his education on the

     24    government's dime, I consider that totally reprehensible.              We

     25    have suffered enough.     These children have suffered and will
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       1   continue to suffer.

       2                And we have no idea at what time that these

       3   children -- that they -- you know, that this will hit them

       4   psychologically.     We have no idea the damage that he has done.

       5   And for him to benefit in any way is unconscionable.

       6                Thank you.

       7                THE COURT:    Thank you, ma'am.

       8                Good afternoon.

       9                MR. BAKER:    Good afternoon.

     10                 THE COURT:    Introduce yourself to the Court, please.

     11                 MR. BAKER:    My name's Darren Baker.

     12                 THE COURT:    Yes, sir.

     13                 MR. BAKER:    I met Andrew -- it was May of 2016.         He

     14    went to school with my wife, and they'd known each other for a

     15    long time.    And it took me a little while to trust him, to feel

     16    him out.   And right about the time I felt I could trust him, I

     17    found out about this.

     18                 I've fought feelings of sadness, anger, hate toward

     19    this man since, and I ask Your Honor that leniency not be

     20    applied here.

     21                 I pray one day that I can forgive him, for my sake.

     22                 That's all.

     23                 THE COURT:    Thank you, sir.

     24                 MR. BROWN:    As I indicated, Your Honor, both of those

     25    were family members of the four victims, one of whom is
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       1   pictured -- or that are parts of the counts of conviction.

       2              I told you that I would provide the sentence for

       3   crazymonk, also known as Patrick Falte.        He was --

       4              THE COURT:    Mr. Brown.    Mr. Brown, keep your voice up

       5   just a little bit.

       6              MR. BROWN:    I'm sorry, Your Honor.      May I have just a

       7   moment?

       8              THE COURT:    You may.

       9              MR. BROWN:    Mr. Falte, who was one of the cooperators

     10    that led us to Mr. Leslie, received a life sentence.           The

     11    United States had recommended, based upon cooperation, a

     12    50-year sentence.

     13               The -- in closing, it is difficult to imagine or to

     14    fathom the horror that this defendant wrought on his victims

     15    and their families.     It's just hard to imagine.

     16               The United States asks this Court to impose a very

     17    lengthy sentence to provide not only for just punishment but

     18    also to protection -- for protection of children.

     19               It's our position that the only way of stopping him

     20    is to keep him either behind bars or to keep him on strict

     21    supervision.

     22               The United States is mindful of the attempts at

     23    cooperation, and while we declined to make any formal motion

     24    for downward departure, it is our position that the Court can

     25    consider that, for whatever it's worth.        But under no
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       1   circumstance would we ever urge or expect the Court to sentence

       2   the defendant in this case to less than 50 years.

       3              With regard to supervision, I will -- the Court

       4   already knows, probably, what I'm going to say but it should be

       5   life, whatever period of life remains for him.          He should never

       6   be allowed to be around children again.

       7              May I confer just a moment, Your Honor?

       8              Thank you, Your Honor.

       9              THE COURT:    Thank you.

     10               Mr. Brown, is there any legal reason why sentence

     11    should not now be pronounced?

     12               MR. BROWN:    There's no legal bar to sentencing, Your

     13    Honor.

     14               THE COURT:    Mr. Rosenblum?

     15               MR. ROSENBLUM:     No, Your Honor.

     16               THE COURT:    I don't recall having a case in which the

     17    horror associated with the crime committed and the harm done is

     18    as palpable as it is in this case and is acknowledged by

     19    everybody, including the defendant.

     20               And that really does speak to the seriousness of the

     21    offense -- offenses that were committed.         They are

     22    reprehensible, unimaginable, unbearable.         Descriptions that can

     23    be used to describe the horror fail to capture it.

     24               And I don't think there's anyone in this courtroom or

     25    in the community that would disagree, at least not anyone who
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       1   has not suffered from -- perhaps those that suffer from a

       2   psychiatric illness that this has to be a manifestation of or

       3   the condition, as you describe it, or perhaps the criminal

       4   conduct, as you describe it, Mr. Brown.        Only those who embrace

       5   that thinking might be unaffected by the horror.

       6               So it -- the need to prevent it is clear to the

       7   Court, and I -- and the necessity of the prevention being

       8   complete is clear.

       9               That's not the only thing that the Court has to

     10    consider.   I'm required to consider whether there are any --

     11    whether there's anything that appropriately should suggest a

     12    tempering, if you will, of the completeness of the punishment

     13    as it relates to the seriousness of the offense.

     14                And I'll tell you, one thing that's been offered,

     15    which is Mr. Leslie's willingness to acknowledge his

     16    proclivities and to suggest that he could not do anything about

     17    them -- despite the psychologist's argument, Mr. Rosenblum, I

     18    don't believe it.

     19                Anyone who is sophisticated enough to hide this

     20    conduct in the ways that your client hid this conduct is smart

     21    enough, resourceful enough to find help if he truly wanted it.

     22    And had he found help, we wouldn't be here.

     23                I hear family members expressing rage, and I hear

     24    family members expressing regret, and I hear the possibility of

     25    some guilt being associated with not detecting, not preventing,
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       1   not protecting.    That's misplaced guilt.

       2               There is not a way, I don't think, for a mother or

       3   aunt to have reasonably identified the extent of this

       4   difficulty we're faced with, and you shouldn't beat yourselves

       5   up about it.    It's regrettable.     It happened.    It's not your

       6   fault.   You need to move on and give attention to your

       7   children.

       8               The defendant's mother as well.       I understand, as a

       9   mother, your need to, as all mothers would, I think, continue

     10    to try to assist their children.       I understand a need of the

     11    victims' parents to try to assist them, and if you want to

     12    expend energy in this matter, do it in that regard, by trying

     13    to continue to help your children.

     14                And one thing that I -- the sentence that I fashion

     15    is going to be a little unusual in one regard, because

     16    Mr. Leslie's willingness to cooperate in trying to prevent this

     17    horrible crime is unusual, and I think he's uniquely situated

     18    to do that.    So I'm going to permit him, under the supervision

     19    of the Bureau of Prisons and its psychiatric staff, to make the

     20    effort that he wants to make.

     21                If he is sincere about trying to make a difference in

     22    this horrible arena that we find ourselves in as a community,

     23    as a society, I'm going to give him the opportunity to do that,

     24    if the Bureau of Prisons can manage it.        I think it's laudable

     25    and would be helpful.
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       1               So to the extent that you, Mr. Leslie, need to leave

       2   here having some sense of self that is not as you described it,

       3   monstrous, there's an opportunity for you.         And if it can be

       4   achieved, I hope that it will be, because it perhaps can help

       5   us not be here in someone's life.

       6               I've considered the factors required by the statute,

       7   and I've considered the materials that have been presented to

       8   the Court and the statements of everyone that has an interest

       9   in this case today, so -- and there not being any legal reason

     10    for sentence not now to be pronounced, I will have you,

     11    Mr. Leslie, stand before the Court for that purpose, with your

     12    attorney.

     13                Andrew Ryan Leslie, on October 6th, 2017, you entered

     14    a plea of guilty to Count One and Count Two of the indictment,

     15    each charging you with production of child pornography, in

     16    violation of Title 18, United States Code, Sections 2251(a) and

     17    (e).

     18                The Court previously accepted your plea of guilty and

     19    has adjudged you guilty of those offenses.         There is no legal

     20    bar to sentencing at this time.

     21                The Court has considered the argument of counsel,

     22    defense counsel, its sentencing memorandum and its attachments,

     23    the presentence investigation report, the argument of the

     24    government, the testimony of family members and of victims, and

     25    has considered, pursuant to Title 18, United States Code,
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       1   Sections 3551 and 3553, those matters required thereunder.

       2              It is the judgment of the Court that you, Andrew Ryan

       3   Leslie, be committed to the custody of the Bureau of Prisons to

       4   be imprisoned for a term of 720 months, 60 years.          This term

       5   consists of terms of 360 months on Count One and Two, all such

       6   terms to run consecutively.

       7              Upon release from imprisonment, you shall serve a

       8   lifetime term of supervised release.        This term consists of

       9   lifetime terms as to Counts One and Two and are to run

     10    concurrently.

     11               While on supervised release, you shall comply with

     12    the standard conditions adopted by the Court in the Middle

     13    District of Florida, and in addition, you shall comply with the

     14    following special conditions:

     15               You shall participate in mental health treatment

     16    programs, outpatient and/or inpatient, and follow your

     17    probation officer's instructions regarding the implementation

     18    of this Court's directive.

     19               Further, you shall contribute to the cost of these

     20    services not to exceed an amount to be determined reasonable by

     21    your probation officer's sliding scale for mental health

     22    treatment services.

     23               You shall participate in a mental health program

     24    specializing in sexual offender treatment and submit to

     25    polygraph testing for treatment and monitoring purposes.           You
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       1   shall follow your probation officer's instructions regarding

       2   implementation of this court order.

       3              Further, you shall contribute to the cost of such

       4   treatment and/or polygraphs, not to exceed an amount determined

       5   to be reasonable by your probation officer based on your

       6   ability to pay or availability of third-party payments and in

       7   conformance with your probation officer's sliding scale for

       8   treatment services.

       9              You shall register with the state sexual offender

     10    registration agencies in any state where you reside, visit, are

     11    employed, carry on a vocation, or are a student, as directed by

     12    your probation officer.

     13               The probation officer shall provide state officials

     14    with all information required under Florida's sexual predator

     15    and sexual offender notification and registration statutes,

     16    specifically Florida Statutes 943 -- Section 943.0435 and/or

     17    the Sexual Offender Registration and Notification Act, commonly

     18    known as Title I of the Adam Walsh Child Protection and Safety

     19    Act of 2006, Public Law 109-248.

     20               Your probation officer may direct that you report to

     21    these agencies personally for required additional processing,

     22    such as photographing, fingerprinting, and DNA collection.

     23               You shall have no direct contact with minors under

     24    the age of 18 without the written approval of your probation

     25    officer and shall refrain from entering into any area where
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       1   children frequently congregate, including schools, daycare

       2   centers, theme parks, playgrounds, and the like.

       3              You are prohibited from possessing, subscribing to,

       4   or viewing any images, video, magazines, literature, or other

       5   materials depicting children in the nude and/or in sexually

       6   explicit positions.

       7              Without prior written approval of your probation

       8   officer, you are prohibited from either possessing or using a

       9   computer, including a smartphone, a handheld computing device,

     10    a gaming console, or an electronic device capable of connecting

     11    to an online service or an Internet service provider.

     12               This prohibition includes a computer at a public

     13    library, an Internet café, your place of employment, or an

     14    educational facility.

     15               You are prohibited from possessing any electronic

     16    data storage medium, including flash drives, compact discs, or

     17    floppy discs, or using any data encryption technique or

     18    program.

     19               If approved to possess or use such a device, you must

     20    permit routine inspection of the device, including the hard

     21    drive and any other electronic data storage medium, to confirm

     22    adherence to this condition.

     23               The United States Probation Office must conduct the

     24    inspection in a manner no more intrusive than necessary to

     25    ensure compliance with this condition.        If this condition might
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       1   affect a third party, including your employer, you must inform

       2   the third party of this restriction, including the computer

       3   inspection provision.

       4              You shall submit to a search of your person,

       5   residence, place of business, any storage units under your

       6   control, computer, or vehicle conducted by your probation

       7   officer at a reasonable time, in a reasonable manner, based

       8   upon reasonable suspicion of contraband or evidence of a

       9   violation of a condition of release.

     10               You shall inform any other residents that the

     11    premises or -- and occupants of vehicles that they may be

     12    subject to search, pursuant to this condition.          Your failure to

     13    submit to a search may be grounds for revocation.

     14               You shall be prohibited from incurring new credit

     15    charges, opening additional credit lines, or obligating

     16    yourself for any other major purchases without approval of your

     17    probation officer.

     18               You shall provide your probation officer access to

     19    any requested financial information.

     20               You have been convicted of a qualifying felony, so

     21    you shall cooperate in the collection of DNA, as directed by

     22    your probation officer.

     23               The mandatory drug testing requirements of the

     24    Violent Crime Control Act are waived.        However, the Court

     25    orders that the defendant submit to random drug testing, not to
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       1   exceed two tests per week.

       2              The victims' losses are undetermined, and the Court

       3   shall set a date for the final determination of victim losses

       4   within 90 days of today's date.

       5              Based on your financial status, the Court waives

       6   imposition of a fine.

       7              Matters for forfeiture have been handled

       8   administratively.

       9              It is further ordered that you pay the United States

     10    a special assessment totaling $200, which is due immediately.

     11    And the Court finds that your indigency and the 500 -- excuse

     12    me, $5,000 -- in light of your indigency, that the $5,000

     13    special assessment, pursuant to 18, United States Code, Section

     14    3014, is not imposed.

     15               After considering the advisory sentencing guidelines

     16    and all the factors identified in Title 18, United States Code,

     17    Section 3553(a)(1) through (7), the Court finds that the

     18    sentence imposed is sufficient but not greater than necessary

     19    to satisfy the statutory purposes of sentencing.

     20               It's also the Court's recommendation that the Bureau

     21    of Prisons, under its supervision and with its approval, permit

     22    the defendant to participate in efforts to prevent and/or treat

     23    pedophilia.

     24               The Court's accepted your plea agreement, Mr. Leslie,

     25    because it's satisfied that the agreement adequately reflects
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       1   the seriousness of the actual offense behavior and that by

       2   accepting the plea agreement, that the statutory purposes of

       3   sentencing will not be undermined.

       4              To the extent permitted by your plea agreement, you

       5   have the right to appeal from the judgment and sentence of this

       6   Court within 14 days.     Your failure to do that within the

       7   14-day period will be treated as a waiver of your right to

       8   appeal.

       9              The government may file an appeal from the sentence

     10    if it wishes.

     11               You're also advised that you're entitled to the

     12    assistance of counsel in taking an appeal.         And if you are

     13    unable to afford a lawyer, one will be provided for you.

     14               If you are unable to afford the filing fee associated

     15    with taking an appeal, the clerk of the court will be directed

     16    to accept your notice of appeal without a fee.

     17               The Court having pronounced sentence, does counsel

     18    for the defendant or government have any objections to the

     19    sentence or the manner in which the Court has pronounced

     20    sentence, other than those previously stated for the record?

     21               MR. BROWN:    No objection from the United States, Your

     22    Honor.

     23               MR. ROSENBLUM:     Your Honor, from the defendant,

     24    objection is made to the Court's failure to adequately take

     25    into account the mitigating 3553 factors that were brought up
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       1   on behalf of Mr. Leslie.

       2              THE COURT:    Very good.     Your objection's noted for

       3   the record.    It will be overruled.        The Court's sentence will

       4   be as stated.

       5              Thank you.

       6              We're in recess.

       7              COURT SECURITY OFFICER:          All rise.

       8        (The proceedings were concluded at 3:34 p.m.)

       9                                   -   -   -

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       1                 CERTIFICATE OF OFFICIAL COURT REPORTER

       2

       3

       4   UNITED STATES DISTRICT COURT )

       5   MIDDLE DISTRICT OF FLORIDA       )

       6

       7              I hereby certify that the foregoing transcript is a

       8   true and correct computer-aided transcription of my stenotype

       9   notes taken at the time and place indicated therein.

     10

     11               DATED this 2nd day of May, 2018.

     12

     13                                      s/Shelli Kozachenko_____________
                                             Shelli Kozachenko, RPR, CRR, CRC
     14                                      Official Court Reporter

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 8th day of June, 2018, a true and correct copy of

the foregoing Appendix was filed with the Clerk of the Court using the CM/ECF

system, which will send notice of the electronic filing to AUSA Yvette Rhodes;

and a copy of the Sealed Appendix was served via U.S. Mail to the Clerk of the

Court and a copy was hand-delivered to AUSA Yvette Rhodes, 400 N. Tampa

Street, Suite 3200, Tampa, Florida 33602.

                                             /s/ Adeel Bashir
                                             Adeel Bashir
                                             Assistant Federal Public Defender
